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                             Exhibit 10
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            015079 Bahnsen, Wendy, et al v. Boston Scientific
                       Disbursement Summary
Sum of Base Amt
Disbursement Code   Disbursement Description                                    Total
  AIR               Air Travel                                                     8,301.71
  CCOPY             Color Photocopies                                                 68.00
  CERT              Certified Copies of Documents                                     90.00
  CPRINT            Color Prints                                                  20,122.00
  CTRPT             Court Reporter Expense                                           218.25
  DATA              Data Storage ‐ Outside Service                                49,001.70
  DEPEXP            Deposition Expenses                                           43,192.73
  EXPERT            Expert Fees                                                  440,272.44
  FFEE              Filing Fees                                                    4,458.00
  GROUND            Ground Transportation (Taxis, car service)                     4,785.84
  HCMSGR            Messenger/Delivery Services                                    5,967.19
  HCTELE            Telephone & Calling Card Expenses                                329.32
  HOTEL             Hotels (Travel)                                                8,013.04
  Meals             Meals                                                          2,784.51
  MEDFEE            Mediation Fees and Expenses                                   47,887.50
  MILEAG            Mileage (Travel)                                                  16.35
  OSPHOT            Outside Photocopy Services                                    34,067.15
  OSRSCH            Online Research Services                                      77,928.75
  PARKIN            Parking                                                           30.00
  PHOTO             B/W Photocopies                                                  250.10
  POST              in‐House Postage Charges                                          10.05
  PRINT             B/W Prints                                                     5,559.70
  RESRCH            Research charges                                              73,898.45
  SECOT             Secretarial Overtime                                             130.00
  SPWT              Subpoena Witness Fees                                          1,562.05
  TRANS             Ground Transportation (taxi, rental, car service, Travel)        579.96
  TRAVEL            Travel Expenses                                               78,845.04
  TRIALX            Trial and Trial Prep Expenses                                    213.50
Grand Total                                                                      908,583.33




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                                                           015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                        Disbursement Detail
Disb ID Date      Orig_Per Disb Code   Disb Desc                                   Matter Base Amt     Tkpr TKPR Name            Narrative                                             Fees
2399870 12/21/2015 201512 RESRCH       Research charges                            015079     $156.76 3315 Subramanian, Arun     WESTLAW ‐ Research charges; 12/21/2015
2399871 12/5/2015 201512 RESRCH        Research charges                            015079    $1,035.99 3315 Subramanian, Arun    WESTLAW ‐ Research charges; 12/5/2015
2399872 12/6/2015 201512 RESRCH        Research charges                            015079     $209.61 3315 Subramanian, Arun     WESTLAW ‐ Research charges; 12/6/2015
2399873 12/7/2015 201512 RESRCH        Research charges                            015079     $146.87 3315 Subramanian, Arun     WESTLAW ‐ Research charges; 12/7/2015
2399874 12/9/2015 201512 RESRCH        Research charges                            015079    $1,155.15 3315 Subramanian, Arun    WESTLAW ‐ Research charges; 12/9/2015
2399875 12/11/2015 201512 RESRCH       Research charges                            015079     $607.26 3315 Subramanian, Arun     WESTLAW ‐ Research charges; 12/11/2015
2399876 12/29/2015 201512 RESRCH       Research charges                            015079       $39.19 3315 Subramanian, Arun    WESTLAW ‐ Research charges; 12/29/2015
2399877 12/30/2015 201512 RESRCH       Research charges                            015079     $472.08 3315 Subramanian, Arun     WESTLAW ‐ Research charges; 12/30/2015
2402446 12/31/2015 201601 RESRCH       Research charges                            015079        $9.11                           Legal Research ‐ LexisNexis, 12/01/2015 ‐ 12/31/2015.

2402724   1/11/2016   201601 CCOPY     Color Photocopies                           015079         $2.00 3315 Subramanian, Arun   Color Reproduction Copy Charges
2402816   1/11/2016   201601 PRINT     B/W Prints                                  015079       $121.30 3315 Subramanian, Arun   Reproduction Copy Charges
2403024   1/21/2016   201601 FFEE      Filing Fees                                 015079       $212.00                          VENDOR: NJ LAWYERS' FUND FOR CLIENT
                                                                                                                                 PROTECTION; INVOICE#: BCAR/01‐21‐16; DATE:
                                                                                                                                 1/21/2016 ‐ Pro Hac Vice Admission for William C.
                                                                                                                                 Carmody
2403025   1/21/2016   201601 FFEE      Filing Fees                                 015079       $212.00                          VENDOR: NJ LAWYERS' FUND FOR CLIENT
                                                                                                                                 PROTECTION; INVOICE#: ASUB/01‐21‐16; DATE:
                                                                                                                                 1/21/2016 ‐ Pro Hac Vice Admission for Arun
                                                                                                                                 Subramanian
2403026   1/21/2016   201601 FFEE      Filing Fees                                 015079       $212.00                          VENDOR: NJ LAWYERS' FUND FOR CLIENT
                                                                                                                                 PROTECTION; INVOICE#: MGER/01‐21‐16; DATE:
                                                                                                                                 1/21/2016 ‐ Pro Hac Vice Admission for Michael
                                                                                                                                 Gervais
2403027   1/21/2016   201601 FFEE      Filing Fees                                 015079       $212.00                          VENDOR: NJ LAWYERS' FUND FOR CLIENT
                                                                                                                                 PROTECTION; INVOICE#: JCON/01‐21‐16; DATE:
                                                                                                                                 1/21/2016 ‐ Pro Hac Vice Admission for Jordan
                                                                                                                                 Connors
2403028   1/21/2016   201601 FFEE      Filing Fees                                 015079       $150.00                          VENDOR: CLERK, U S DISTRICT COURT; INVOICE#:
                                                                                                                                 BCAR/01‐21‐16; DATE: 1/21/2016 ‐ Pro Hac Vice
                                                                                                                                 Admission for William C. Carmody
2403029   1/21/2016   201601 FFEE      Filing Fees                                 015079       $150.00                          VENDOR: CLERK, U S DISTRICT COURT; INVOICE#:
                                                                                                                                 ASUB/01‐21‐16; DATE: 1/21/2016 ‐ Pro Hac Vice
                                                                                                                                 Admission for Arun Subramanian
2403030   1/21/2016   201601 FFEE      Filing Fees                                 015079       $150.00                          VENDOR: CLERK, U S DISTRICT COURT; INVOICE#:
                                                                                                                                 MGER/01‐21‐16; DATE: 1/21/2016 ‐ Pro Hac Vice
                                                                                                                                 Admission for Michael Gervais
2403031   1/21/2016   201601 FFEE      Filing Fees                                 015079       $150.00                          VENDOR: CLERK, U S DISTRICT COURT; INVOICE#:
                                                                                                                                 JCON/01‐21‐16; DATE: 1/21/2016 ‐ Pro Hac Vice
                                                                                                                                 Admission for Jordon Connors
2403153   1/15/2016   201601 PRINT     B/W Prints                                  015079         $7.80 3315 Subramanian, Arun   Reproduction Copy Charges
2403154   1/15/2016   201601 CPRINT    Color Prints                                015079       $734.00 3315 Subramanian, Arun   Color Reproduction Print Charges
2403418   1/25/2016   201601 PHOTO     B/W Photocopies                             015079         $1.00 3315 Subramanian, Arun   Reproduction Copy Charges



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                                                              015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                           Disbursement Detail
Disb ID Date      Orig_Per Disb Code   Disb Desc                                      Matter Base Amt     Tkpr TKPR Name            Narrative                                         Fees
2403497 1/26/2016 201601 PRINT         B/W Prints                                     015079     $135.80 3315 Subramanian, Arun     Reproduction Copy Charges
2403498 1/26/2016 201601 CPRINT        Color Prints                                   015079        $9.00 3315 Subramanian, Arun    Color Reproduction Print Charges
2403801   1/9/2016 201602 RESRCH       Research charges                               015079       $48.99 3315 Subramanian, Arun    WESTLAW ‐ Research charges; 1/9/2016
2403802 1/10/2016 201602 RESRCH        Research charges                               015079       $42.39 3315 Subramanian, Arun    WESTLAW ‐ Research charges; 1/10/2016
2403803 1/11/2016 201602 RESRCH        Research charges                               015079       $61.86 3315 Subramanian, Arun    WESTLAW ‐ Research charges; 1/11/2016
2403804 1/20/2016 201602 RESRCH        Research charges                               015079       $16.33 3315 Subramanian, Arun    WESTLAW ‐ Research charges; 1/20/2016
2403805 1/27/2016 201602 RESRCH        Research charges                               015079       $32.66 3315 Subramanian, Arun    WESTLAW ‐ Research charges; 1/27/2016
2403806 1/29/2016 201602 RESRCH        Research charges                               015079       $16.33 3315 Subramanian, Arun    WESTLAW ‐ Research charges; 1/29/2016
2404158   1/4/2016 201602 RESRCH       Research charges                               015079     $494.85 3315 Subramanian, Arun     WESTLAW ‐ Research charges; 1/4/2016
2404159   1/5/2016 201602 RESRCH       Research charges                               015079     $425.51 3315 Subramanian, Arun     WESTLAW ‐ Research charges; 1/5/2016
2404160   1/6/2016 201602 RESRCH       Research charges                               015079     $274.13 3315 Subramanian, Arun     WESTLAW ‐ Research charges; 1/6/2016
2404161 1/10/2016 201602 RESRCH        Research charges                               015079     $107.16 3315 Subramanian, Arun     WESTLAW ‐ Research charges; 1/10/2016
2404162 1/12/2016 201602 RESRCH        Research charges                               015079     $254.47 3315 Subramanian, Arun     WESTLAW ‐ Research charges; 1/12/2016
2404163 1/13/2016 201602 RESRCH        Research charges                               015079       $16.22 3315 Subramanian, Arun    WESTLAW ‐ Research charges; 1/13/2016
2404164 1/14/2016 201602 RESRCH        Research charges                               015079       $48.67 3315 Subramanian, Arun    WESTLAW ‐ Research charges; 1/14/2016
2404165 1/20/2016 201602 RESRCH        Research charges                               015079       $16.22 3315 Subramanian, Arun    WESTLAW ‐ Research charges; 1/20/2016
2404166 1/21/2016 201602 RESRCH        Research charges                               015079       $16.22 3315 Subramanian, Arun    WESTLAW ‐ Research charges; 1/21/2016
2404167 1/25/2016 201602 RESRCH        Research charges                               015079       $16.22 3315 Subramanian, Arun    WESTLAW ‐ Research charges; 1/25/2016
2404521   2/2/2016 201602 TRAVEL       Travel Expenses                                015079    $2,089.16                           VENDOR: JORDAN CONNORS; INVOICE#: 15079/01‐29‐
                                                                                                                                    2016; DATE: 2/2/2016 ‐ Travel expense to Los
                                                                                                                                    Angeles, CA. to attend meeting, 01/29 ‐ 01/31/16.

2404580    2/3/2016   201602 TRAVEL    Travel Expenses                                015079     $2,832.12                          VENDOR: SUBRAMANIAN, ARUN; INVOICE#: 015079/01‐
                                                                                                                                    28‐16; DATE: 2/3/2016 ‐ Trip to Beverly Hills, CA to
                                                                                                                                    meet with Relators 1/28/16 ‐ 1/30/16

2404757    2/1/2016   201602 PRINT     B/W Prints                                     015079         $2.50 3315 Subramanian, Arun   Reproduction Copy Charges
2404758    2/1/2016   201602 CPRINT    Color Prints                                   015079        $34.00 3315 Subramanian, Arun   Color Reproduction Print Charges
2404882    2/2/2016   201602 EXPERT    Expert Fees                                    015079       $257.40                          VENDOR: VERITAS INVESTIGATIONS; INVOICE#: 2016‐
                                                                                                                                    580; DATE: 2/2/2016 ‐ Investigative services,
                                                                                                                                    02/02/16.
2407406   2/12/2016   201602 TRAVEL    Travel Expenses                                015079     $2,633.61                          VENDOR: GERVAIS, MICHAEL; INVOICE#: 15079/01‐29‐
                                                                                                                                    2016; DATE: 2/12/2016 ‐ Travel expense to Los
                                                                                                                                    Angeles, CA., 01/29 ‐ 01/31/16.
2407409   2/12/2016   201602 TRAVEL    Travel Expenses                                015079     $4,599.96                          VENDOR: CARMODY, WILLIAM; INVOICE#: 015079/02‐
                                                                                                                                    01‐16; DATE: 2/12/2016 ‐ Travel to LA for Boston
                                                                                                                                    Science meeting.
2407508   2/15/2016   201602 HCMSGR    Messenger/Delivery Services                    015079        $54.32                          VENDOR: FEDERAL EXPRESS CORPORATION; INVOICE#:
                                                                                                                                    531991161; DATE: 2/15/2016
2407584   1/31/2016   201602 HCTELE    Telephone & Calling Card Expenses              015079        $69.32                          VENDOR: PREMIERE GLOBAL SERVICES; INVOICE#:
                                                                                                                                    20405414; DATE: 1/31/2016 ‐ Conference calls,
                                                                                                                                    01/01/2016 ‐ 01/31/2016.




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                                                              015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                           Disbursement Detail
Disb ID Date     Orig_Per Disb Code Disb Desc                                         Matter Base Amt     Tkpr TKPR Name              Narrative                                           Fees
2407664 2/17/2016 201602 TRAVEL     Travel Expenses                                   015079    $1,369.32                             VENDOR: MARK MUSICO; INVOICE#: 15079/01‐29‐
                                                                                                                                      2016; DATE: 2/17/2016 ‐ Travel expense to Los
                                                                                                                                      Angeles, CA. to attend meeting, 01/29 ‐ 03/31/16.
2407824   2/12/2016   201602 PRINT    B/W Prints                                      015079        $78.60 3315 Subramanian, Arun     Reproduction Copy Charges
2407825   2/12/2016   201602 CPRINT   Color Prints                                    015079       $101.00 3315 Subramanian, Arun     Color Reproduction Print Charges
2407965   2/24/2016   201602 HCMSGR   Messenger/Delivery Services                     015079        $33.50                            VENDOR: FEDERAL EXPRESS CORPORATION; INVOICE#:
                                                                                                                                      533064090; DATE: 2/24/2016
2407973   2/24/2016   201602 TRAVEL   Travel Expenses                                 015079     $2,656.23                            VENDOR: JORDAN CONNORS; INVOICE#: 15079/02‐16‐
                                                                                                                                      2016; DATE: 2/24/2016 ‐ Travel expense to Palo Alto
                                                                                                                                      meeting, 02/16 ‐ 02/18/16.
2408114   2/19/2016   201602 PRINT    B/W Prints                                      015079      $323.40 3315 Subramanian, Arun      Reproduction Copy Charges
2408115   2/19/2016   201602 CPRINT   Color Prints                                    015079     $1,113.00 3315 Subramanian, Arun     Color Reproduction Print Charges
2408166   2/26/2016   201602 HCMSGR   Messenger/Delivery Services                     015079        $33.50                            VENDOR: FEDERAL EXPRESS CORPORATION; INVOICE#:
                                                                                                                                      533336092; DATE: 2/26/2016
2408310    3/1/2016   201603 FFEE     Filing Fees                                     015079       $150.00                            VENDOR: CLERK, U S DISTRICT COURT; INVOICE#:
                                                                                                                                      015079/03‐02‐16; DATE: 3/1/2016 ‐ Pro Hac Vice
                                                                                                                                      Admission for Mark Musico
2408311    3/1/2016   201603 FFEE     Filing Fees                                     015079       $212.00                            VENDOR: NJ LAWYERS' FUND FOR CLIENT
                                                                                                                                      PROTECTION; INVOICE#: 015079/03‐02‐16; DATE:
                                                                                                                                      3/1/2016 ‐ Pro Hac Vice Admission for Mark Musico

2408374   2/29/2016   201603 SPWT     Subpoena Witness Fees                           015079        $85.00                            VENDOR: ABSOLUTE SERVICE COMPANY; INVOICE#:
                                                                                                                                      6836; DATE: 2/29/2016 ‐ Service of Subpoena on
                                                                                                                                      Noridian, 02/29/16.
2408548    2/5/2016   201603 RESRCH   Research charges                                015079        $55.43   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 2/5/2016
2408549    2/6/2016   201603 RESRCH   Research charges                                015079        $18.48   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 2/6/2016
2408550    2/8/2016   201603 RESRCH   Research charges                                015079        $18.48   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 2/8/2016
2408551   2/24/2016   201603 RESRCH   Research charges                                015079        $55.43   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 2/24/2016
2408552   2/25/2016   201603 RESRCH   Research charges                                015079        $41.06   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 2/25/2016
2408553   2/26/2016   201603 RESRCH   Research charges                                015079      $388.04    3315 Subramanian, Arun   WESTLAW ‐ Research charges; 2/26/2016
2408554   2/28/2016   201603 RESRCH   Research charges                                015079      $139.99    3315 Subramanian, Arun   WESTLAW ‐ Research charges; 2/28/2016
2408884   2/26/2016   201603 RESRCH   Research charges                                015079        $95.49   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 2/26/2016
2408885   2/27/2016   201603 RESRCH   Research charges                                015079      $844.93    3315 Subramanian, Arun   WESTLAW ‐ Research charges; 2/27/2016
2408886    2/4/2016   201603 RESRCH   Research charges                                015079        $55.07   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 2/4/2016
2408887   2/19/2016   201603 RESRCH   Research charges                                015079      $182.82    3315 Subramanian, Arun   WESTLAW ‐ Research charges; 2/19/2016
2408888   2/20/2016   201603 RESRCH   Research charges                                015079      $268.67    3315 Subramanian, Arun   WESTLAW ‐ Research charges; 2/20/2016
2408889   2/22/2016   201603 RESRCH   Research charges                                015079        $29.30   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 2/22/2016
2408890   2/23/2016   201603 RESRCH   Research charges                                015079        $73.42   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 2/23/2016
2408891   2/27/2016   201603 RESRCH   Research charges                                015079      $340.24    3315 Subramanian, Arun   WESTLAW ‐ Research charges; 2/27/2016
2409181   2/12/2016   201603 OSPHOT   Outside Photocopy Services                      015079     $3,191.02                            VENDOR: FIRST DIMENSION GROUP LLC; INVOICE#:
                                                                                                                                      6301; DATE: 2/12/2016 ‐ Printing, 02/12/16.




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                                                              015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                           Disbursement Detail
Disb ID Date     Orig_Per Disb Code Disb Desc                                         Matter Base Amt   Tkpr TKPR Name                Narrative                                         Fees
2409221 2/18/2016 201603 EXPERT     Expert Fees                                       015079 $13,750.00                               VENDOR: THE BRATTLE GROUP; INVOICE#: 038818;
                                                                                                                                      DATE: 2/18/2016 ‐ Research/document review,
                                                                                                                                      02/18/16.
2409334   2/26/2016   201603 PRINT    B/W Prints                                      015079        $22.00 3315 Subramanian, Arun     Reproduction Copy Charges
2409335   2/26/2016   201603 CPRINT   Color Prints                                    015079        $49.00 3315 Subramanian, Arun     Color Reproduction Print Charges
2409377    3/3/2016   201603 GROUND   Ground Transportation (Taxis, car service)      015079        $26.16                            VENDOR: BRUNS, MANDI; INVOICE#: 15079/03‐01‐
                                                                                                                                      2016; DATE: 3/3/2016 ‐ Taxi expense while working
                                                                                                                                      late at the office, 03/01/16.
2409466    3/4/2016   201603 DEPEXP   Deposition Expenses                             015079        $68.40                            VENDOR: SUBRAMANIAN, ARUN; INVOICE#: 015079/03‐
                                                                                                                                      04‐16; DATE: 3/4/2016 ‐ Transcript of Hearing

2411595   3/16/2016   201603 EXPERT   Expert Fees                                     015079     $5,000.00                            VENDOR: THE EXPERT INSTITUTE GROUP; INVOICE#:
                                                                                                                                      015079/03‐16‐16; DATE: 3/16/2016 ‐ RETAINER FOR
                                                                                                                                      MEDICARE CODING
2411765    3/4/2016   201603 PRINT    B/W Prints                                      015079        $14.10   3315 Subramanian, Arun   Reproduction Copy Charges
2411766    3/4/2016   201603 CPRINT   Color Prints                                    015079      $279.00    3315 Subramanian, Arun   Color Reproduction Print Charges
2411859   3/11/2016   201603 PRINT    B/W Prints                                      015079         $9.70   3315 Subramanian, Arun   Reproduction Copy Charges
2411860   3/11/2016   201603 CPRINT   Color Prints                                    015079         $5.00   3315 Subramanian, Arun   Color Reproduction Print Charges
2411947   3/17/2016   201603 TRAVEL   Travel Expenses                                 015079     $2,001.66                            VENDOR: GERVAIS, MICHAEL; INVOICE#: 15079/02‐16‐
                                                                                                                                      2016; DATE: 3/17/2016 ‐ Travel expense to CA to
                                                                                                                                      attend meetings, 02/16 ‐ 02/17/16.
2411949   3/11/2016   201603 Meals    Meals                                           015079        $66.03                            VENDOR: BRUNS, MANDI; INVOICE#: 15079/03‐10‐
                                                                                                                                      2016; DATE: 3/11/2016 ‐ Dinner and taxi expense
                                                                                                                                      while working late at the office, 03/10/16.
2412077   2/29/2016   201603 HCTELE   Telephone & Calling Card Expenses               015079        $27.31                            VENDOR: PREMIERE GLOBAL SERVICES; INVOICE#:
                                                                                                                                      20625688; DATE: 2/29/2016 ‐ Conference calls,
                                                                                                                                      02/01/2016 ‐ 02/29/2016.
2412209   3/22/2016   201603 HCMSGR   Messenger/Delivery Services                     015079       $134.43                            VENDOR: FEDERAL EXPRESS CORPORATION; INVOICE#:
                                                                                                                                      535904377; DATE: 3/22/2016
2412211   3/21/2016   201603 HCMSGR   Messenger/Delivery Services                     015079        $29.03                            VENDOR: FEDERAL EXPRESS CORPORATION; INVOICE#:
                                                                                                                                      535693957; DATE: 3/21/2016
2412282   2/22/2016   201603 OSPHOT   Outside Photocopy Services                      015079       $419.26                            VENDOR: EMPIRE DISCOVERY; INVOICE#: INV010064;
                                                                                                                                      DATE: 2/22/2016 ‐ Blowbacks, 02/22/16.

2412287   2/15/2016   201603 OSPHOT   Outside Photocopy Services                      015079     $4,377.97                            VENDOR: EMPIRE DISCOVERY; INVOICE#: INV010003;
                                                                                                                                      DATE: 2/15/2016 ‐ Blowbacks, 02/15/16.

2412288   2/29/2016   201603 EXPERT   Expert Fees                                     015079     $1,021.25                            VENDOR: LEGAL MEDIA, INC.; INVOICE#: 33089‐1;
                                                                                                                                      DATE: 2/29/2016 ‐ Trial preparation/graphic design,
                                                                                                                                      02/29/16.
2412331   3/18/2016   201603 PHOTO    B/W Photocopies                                 015079        $10.70 3315 Subramanian, Arun     Reproduction Copy Charges
2412420   3/18/2016   201603 PRINT    B/W Prints                                      015079       $389.30 3315 Subramanian, Arun     Reproduction Copy Charges
2412421   3/18/2016   201603 CPRINT   Color Prints                                    015079         $3.00 3315 Subramanian, Arun     Color Reproduction Print Charges




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                                                              015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                           Disbursement Detail
Disb ID Date     Orig_Per Disb Code Disb Desc                                         Matter Base Amt     Tkpr TKPR Name              Narrative                                          Fees
2412548 3/29/2016 201603 GROUND Ground Transportation (Taxis, car service)            015079       $61.95                             VENDOR: BRUNS, MANDI; INVOICE#: 15079/03‐23‐
                                                                                                                                      2016; DATE: 3/29/2016 ‐ Taxi expense while working
                                                                                                                                      late at the office, 03/23, and 03/24/16.
2412598   3/24/2016   201603 HCMSGR   Messenger/Delivery Services                     015079        $45.00                            VENDOR: ADMIRAL COURIER SERVICES; INVOICE#:
                                                                                                                                      30536; DATE: 3/24/2016
2412727   3/31/2016   201603 PHOTO    B/W Photocopies                                 015079         $2.00   3315 Subramanian, Arun   Reproduction Copy Charges
2412814   3/28/2016   201603 PRINT    B/W Prints                                      015079       $174.50   3315 Subramanian, Arun   Reproduction Copy Charges
2412815   3/28/2016   201603 CPRINT   Color Prints                                    015079        $32.00   3315 Subramanian, Arun   Color Reproduction Print Charges
2413005    3/1/2016   201603 RESRCH   Research charges                                015079        $19.14   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 3/1/2016
2413006    3/6/2016   201603 RESRCH   Research charges                                015079       $133.98   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 3/6/2016
2413007   3/30/2016   201603 RESRCH   Research charges                                015079        $57.42   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 3/30/2016
2413406    3/6/2016   201603 RESRCH   Research charges                                015079       $527.58   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 3/6/2016
2413407   3/11/2016   201603 RESRCH   Research charges                                015079        $57.04   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 3/11/2016
2413408   3/15/2016   201603 RESRCH   Research charges                                015079        $38.03   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 3/15/2016
2413409   3/18/2016   201603 RESRCH   Research charges                                015079       $496.46   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 3/18/2016
2413410   3/19/2016   201603 RESRCH   Research charges                                015079       $348.00   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 3/19/2016
2413411   3/20/2016   201603 RESRCH   Research charges                                015079        $57.04   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 3/20/2016
2413412   3/31/2016   201603 RESRCH   Research charges                                015079        $95.07   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 3/31/2016
2413413   3/10/2016   201603 RESRCH   Research charges                                015079        $58.96   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 3/10/2016
2413414   3/15/2016   201603 RESRCH   Research charges                                015079        $49.36   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 3/15/2016
2413784   3/28/2016   201604 HCMSGR   Messenger/Delivery Services                     015079        $29.95                            VENDOR: ADMIRAL COURIER SERVICES; INVOICE#:
                                                                                                                                      30588; DATE: 3/28/2016
2413897   3/31/2016   201604 HCTELE   Telephone & Calling Card Expenses               015079        $26.04                            VENDOR: PREMIERE GLOBAL SERVICES; INVOICE#:
                                                                                                                                      20900563; DATE: 3/31/2016 ‐ Conference calls,
                                                                                                                                      03/01/2016 ‐ 03/31/2016.
2416674    4/7/2016   201604 GROUND   Ground Transportation (Taxis, car service)      015079        $41.21                            VENDOR: POLANCO, RODNEY; INVOICE#: 15079/04‐06‐
                                                                                                                                      2016; DATE: 4/7/2016 ‐ Taxi expense while working
                                                                                                                                      late at the office, 04/06/16.
2416710    4/4/2016   201604 PHOTO    B/W Photocopies                                 015079        $40.40   3315 Subramanian, Arun   Reproduction Copy Charges
2416711    4/4/2016   201604 CCOPY    Color Photocopies                               015079        $46.00   3315 Subramanian, Arun   Color Reproduction Copy Charges
2416792    4/1/2016   201604 PRINT    B/W Prints                                      015079       $388.20   3315 Subramanian, Arun   Reproduction Copy Charges
2416793    4/1/2016   201604 CPRINT   Color Prints                                    015079       $252.00   3315 Subramanian, Arun   Color Reproduction Print Charges
2416861    4/8/2016   201604 HCMSGR   Messenger/Delivery Services                     015079        $73.76                            VENDOR: FEDERAL EXPRESS CORPORATION; INVOICE#:
                                                                                                                                      537869958; DATE: 4/8/2016
2416904    4/8/2016   201604 TRAVEL   Travel Expenses                                 015079     $2,336.08                            VENDOR: JORDAN CONNORS; INVOICE#: 15079/03‐27‐
                                                                                                                                      2016; DATE: 4/8/2016 ‐ Travel expense to New York
                                                                                                                                      to attend meeting, 03/27 ‐ 03/29/16.
2416998   4/11/2016   201604 HCMSGR   Messenger/Delivery Services                     015079        $53.92                            VENDOR: FEDERAL EXPRESS CORPORATION; INVOICE#:
                                                                                                                                      538028646; DATE: 4/11/2016
2417021   3/23/2016   201604 EXPERT   Expert Fees                                     015079    $45,262.50                            VENDOR: THE BRATTLE GROUP; INVOICE#: 039189;
                                                                                                                                      DATE: 3/23/2016 ‐ Research document review
                                                                                                                                      through February 29, 2016.




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                                                                          Disbursement Detail
Disb ID Date     Orig_Per Disb Code Disb Desc                                        Matter Base Amt    Tkpr TKPR Name             Narrative                                            Fees
2417030 3/29/2016 201604 EXPERT     Expert Fees                                      015079     $257.40                            VENDOR: VERITAS INVESTIGATIONS; INVOICE#: 2016‐
                                                                                                                                   593; DATE: 3/29/2016 ‐ Investigation‐Background
                                                                                                                                   checks, 03/26/16.
2417038   4/11/2016   201604 DEPEXP   Deposition Expenses                            015079     $4,049.22                          VENDOR: SUBRAMANIAN, ARUN; INVOICE#:
                                                                                                                                   015079/VARIOUS; DATE: 4/11/2016 ‐ Citrus Room
                                                                                                                                   banquet room rental for depositions 4/8, 4/11, 4/13,
                                                                                                                                   4/14, 4/25, 4/26 & 4/27/2016
2417045   4/13/2016   201604 HCMSGR   Messenger/Delivery Services                    015079        $60.21                          VENDOR: FEDERAL EXPRESS CORPORATION; INVOICE#:
                                                                                                                                   538334872; DATE: 4/13/2016
2417079    4/1/2016   201604 EXPERT   Expert Fees                                    015079     $8,640.00                          VENDOR: BAER, RICHARD K.; INVOICE#: 001; DATE:
                                                                                                                                   4/1/2016 ‐ Expert fees through March, 2016.

2417096   4/14/2016   201604 HCMSGR   Messenger/Delivery Services                    015079        $33.25                          VENDOR: FEDERAL EXPRESS CORPORATION; INVOICE#:
                                                                                                                                   538461285; DATE: 4/14/2016
2417099   4/14/2016   201604 HCMSGR   Messenger/Delivery Services                    015079        $33.25                          VENDOR: FEDERAL EXPRESS CORPORATION; INVOICE#:
                                                                                                                                   538461285; DATE: 4/14/2016
2417191   4/11/2016   201604 PHOTO    B/W Photocopies                                015079        $42.80 3315 Subramanian, Arun   Reproduction Copy Charges
2417278    4/8/2016   201604 PRINT    B/W Prints                                     015079      $313.60 3315 Subramanian, Arun    Reproduction Copy Charges
2417279    4/8/2016   201604 CPRINT   Color Prints                                   015079      $380.00 3315 Subramanian, Arun    Color Reproduction Print Charges
2417430   4/20/2016   201604 TRAVEL   Travel Expenses                                015079     $3,748.24                          VENDOR: MARK MUSICO; INVOICE#: 15079/04‐10‐
                                                                                                                                   2016; DATE: 4/20/2016 ‐ Travel expense to Los
                                                                                                                                   Angles, CA. to attend deposition, 04/10 ‐ 04/15/16.

2417505   4/19/2016   201604 HOTEL    Hotels (Travel)                                015079       $578.46                          VENDOR: SUBRAMANIAN, ARUN; INVOICE#: 015079/04‐
                                                                                                                                   22‐16; DATE: 4/19/2016 ‐ Banquet room rental for
                                                                                                                                   depositions of Mark Underwood and Noemi Estrasa

2417519   4/21/2016   201604 HOTEL    Hotels (Travel)                                015079       $459.41                          VENDOR: JORDAN CONNORS; INVOICE#: 15079/04‐14‐
                                                                                                                                   2016; DATE: 4/21/2016 ‐ Hotel expense to Los
                                                                                                                                   Angeles, CA. to attend deposition, 04/14 ‐ 04/15/16.

2417520   4/20/2016   201604 TRAVEL   Travel Expenses                                015079     $1,724.85                          VENDOR: GERVAIS, MICHAEL; INVOICE#: 15079/04‐07‐
                                                                                                                                   2016; DATE: 4/20/2016 ‐ Travel expense to Los
                                                                                                                                   Angeles, CA. to attend meeting, 04/07 ‐ 04/08/16.
2417532   4/21/2016   201604 HCMSGR   Messenger/Delivery Services                    015079        $79.14                          VENDOR: FEDERAL EXPRESS CORPORATION; INVOICE#:
                                                                                                                                   539232236; DATE: 4/21/2016
2417649   4/18/2016   201604 PRINT    B/W Prints                                     015079      $183.50 3315 Subramanian, Arun    Reproduction Copy Charges
2417650   4/18/2016   201604 CPRINT   Color Prints                                   015079        $84.00 3315 Subramanian, Arun   Color Reproduction Print Charges
2417715   4/20/2016   201604 TRAVEL   Travel Expenses                                015079     $5,982.34                          VENDOR: CARMODY, WILLIAM; INVOICE#: 015079/04‐
                                                                                                                                   06‐16; DATE: 4/20/2016 ‐ Trip to Los Angeles, CA for
                                                                                                                                   depositions in Valencia CA 4/6/16 ‐ 4/16/16

2417788   4/22/2016   201604 HCMSGR   Messenger/Delivery Services                    015079        $60.21                          VENDOR: FEDERAL EXPRESS CORPORATION; INVOICE#:
                                                                                                                                   539390501; DATE: 4/22/2016



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                                                                           Disbursement Detail
Disb ID Date     Orig_Per Disb Code Disb Desc                                         Matter Base Amt     Tkpr TKPR Name              Narrative                                                  Fees
2417804 4/25/2016 201604 GROUND Ground Transportation (Taxis, car service)            015079       $55.19                             VENDOR: BRUNS, MANDI; INVOICE#: 15079/03‐31‐
                                                                                                                                      2016; DATE: 4/25/2016 ‐ Taxi expense while working
                                                                                                                                      late at the office, 03/31, and 04/04/16.
2417818   3/31/2016   201604 OSPHOT   Outside Photocopy Services                      015079       $634.41                            VENDOR: EMPIRE DISCOVERY; INVOICE#: INV010460;
                                                                                                                                      DATE: 3/31/2016 ‐ Blowbacks, 03/31/16.

2417819   3/31/2016   201604 OSPHOT   Outside Photocopy Services                      015079       $481.88                            VENDOR: EMPIRE DISCOVERY; INVOICE#: INV010458;
                                                                                                                                      DATE: 3/31/2016 ‐ Blowbacks, 03/31/16.

2417820   3/17/2016   201604 OSPHOT   Outside Photocopy Services                      015079       $787.82                            VENDOR: EMPIRE DISCOVERY; INVOICE#: INV010381;
                                                                                                                                      DATE: 3/17/2016 ‐ Blowbacks, 03/17/16.

2417821   3/31/2016   201604 OSPHOT   Outside Photocopy Services                      015079     $1,808.63                            VENDOR: EMPIRE DISCOVERY; INVOICE#: INV010420;
                                                                                                                                      DATE: 3/31/2016 ‐ Blowbacks, 03/31/16.

2417824   4/25/2016   201604 TRAVEL   Travel Expenses                                 015079       $266.32                            VENDOR: CARMODY, WILLIAM; INVOICE#: 015079/04‐
                                                                                                                                      19‐16; DATE: 4/25/2016 ‐ Trip to Los Angeles, CA for
                                                                                                                                      depositions in Valencia, CA additional expenses ‐ car
                                                                                                                                      service adn fedex
2417873   4/25/2016   201604 TRAVEL   Travel Expenses                                 015079     $2,188.96                            VENDOR: SUBRAMANIAN, ARUN; INVOICE#: 015079/04‐
                                                                                                                                      20‐16; DATE: 4/25/2016 ‐ Trip to LA for depositions
                                                                                                                                      4/20/16 ‐ 4/22/16
2417895   4/27/2016   201604 HCMSGR   Messenger/Delivery Services                     015079       $228.91                            VENDOR: FEDERAL EXPRESS CORPORATION; INVOICE#:
                                                                                                                                      539857811; DATE: 4/27/2016
2417896   4/27/2016   201604 HCMSGR   Messenger/Delivery Services                     015079       $200.98                            VENDOR: FEDERAL EXPRESS CORPORATION; INVOICE#:
                                                                                                                                      539857811; DATE: 4/27/2016
2417962   4/28/2016   201604 HCMSGR   Messenger/Delivery Services                     015079       $105.46                            VENDOR: FEDERAL EXPRESS CORPORATION; INVOICE#:
                                                                                                                                      539988411; DATE: 4/28/2016
2418113   4/22/2016   201604 PRINT    B/W Prints                                      015079       $210.30 3315 Subramanian, Arun     Reproduction Copy Charges
2418114   4/22/2016   201604 CPRINT   Color Prints                                    015079        $35.00 3315 Subramanian, Arun     Color Reproduction Print Charges
2418170   4/27/2016   201604 DEPEXP   Deposition Expenses                             015079        $54.90                            VENDOR: KING TRANSCRIPTION SERVICES LLC;
                                                                                                                                      INVOICE#: 00039322; DATE: 4/27/2016 ‐ Transcript of
                                                                                                                                      Hearing on 04/21/16.
2418222   4/29/2016   201604 SECOT    Secretarial Overtime                            015079        $70.00                            Secretarial Overtime, M. Ritter, 03/24/16 ‐ Assisting B.
                                                                                                                                      Carmody with discovery related issues.

2418247   4/18/2016   201604 SPWT     Subpoena Witness Fees                           015079       $469.30                            VENDOR: DOCUMENT TECHNOLOGIES LLC (DTI);
                                                                                                                                      INVOICE#: M‐061062; DATE: 4/18/2016 ‐ Process
                                                                                                                                      service of subpoena, 04/18/16.
2418426    4/2/2016   201604 RESRCH   Research charges                                015079       $152.51   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 4/2/2016
2418427    4/3/2016   201604 RESRCH   Research charges                                015079       $165.50   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 4/3/2016
2418428    4/5/2016   201604 RESRCH   Research charges                                015079        $12.98   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 4/5/2016
2418429    4/6/2016   201604 RESRCH   Research charges                                015079        $21.79   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 4/6/2016
2418430   4/12/2016   201604 RESRCH   Research charges                                015079       $269.81   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 4/12/2016



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                                                                             Disbursement Detail
Disb ID Date      Orig_Per Disb Code   Disb Desc                                                   Matter Base Amt     Tkpr TKPR Name           Narrative                                           Fees
2418431 4/13/2016 201604 RESRCH        Research charges                                            015079       $65.36 3315 Subramanian, Arun   WESTLAW ‐ Research charges; 4/13/2016
2418432 4/15/2016 201604 RESRCH        Research charges                                            015079     $108.94 3315 Subramanian, Arun    WESTLAW ‐ Research charges; 4/15/2016
2418433 4/16/2016 201604 RESRCH        Research charges                                            015079       $65.36 3315 Subramanian, Arun   WESTLAW ‐ Research charges; 4/16/2016
2418434 4/18/2016 201604 RESRCH        Research charges                                            015079     $265.63 3315 Subramanian, Arun    WESTLAW ‐ Research charges; 4/18/2016
2418435 4/20/2016 201604 RESRCH        Research charges                                            015079       $43.57 3315 Subramanian, Arun   WESTLAW ‐ Research charges; 4/20/2016
2418436 4/27/2016 201604 RESRCH        Research charges                                            015079       $21.79 3315 Subramanian, Arun   WESTLAW ‐ Research charges; 4/27/2016
2418839   4/1/2016 201604 RESRCH       Research charges                                            015079       $64.93 3315 Subramanian, Arun   WESTLAW ‐ Research charges; 4/1/2016
2418840   4/2/2016 201604 RESRCH       Research charges                                            015079    $1,217.06 3315 Subramanian, Arun   WESTLAW ‐ Research charges; 4/2/2016
2418841   4/4/2016 201604 RESRCH       Research charges                                            015079    $1,760.34 3315 Subramanian, Arun   WESTLAW ‐ Research charges; 4/4/2016
2418842   4/7/2016 201604 RESRCH       Research charges                                            015079     $236.10 3315 Subramanian, Arun    WESTLAW ‐ Research charges; 4/7/2016
2418843 4/14/2016 201604 RESRCH        Research charges                                            015079       $21.64 3315 Subramanian, Arun   WESTLAW ‐ Research charges; 4/14/2016
2418844 4/17/2016 201604 RESRCH        Research charges                                            015079     $536.93 3315 Subramanian, Arun    WESTLAW ‐ Research charges; 4/17/2016
2418845 4/18/2016 201604 RESRCH        Research charges                                            015079     $281.36 3315 Subramanian, Arun    WESTLAW ‐ Research charges; 4/18/2016
2418846 4/20/2016 201604 RESRCH        Research charges                                            015079     $222.99 3315 Subramanian, Arun    WESTLAW ‐ Research charges; 4/20/2016
2418847 4/22/2016 201604 RESRCH        Research charges                                            015079     $229.55 3315 Subramanian, Arun    WESTLAW ‐ Research charges; 4/22/2016
2418848 4/28/2016 201604 RESRCH        Research charges                                            015079     $303.23 3315 Subramanian, Arun    WESTLAW ‐ Research charges; 4/28/2016
2418849   4/5/2016 201604 RESRCH       Research charges                                            015079       $99.47 3315 Subramanian, Arun   WESTLAW ‐ Research charges; 4/5/2016
2418850 4/14/2016 201604 RESRCH        Research charges                                            015079     $283.11 3315 Subramanian, Arun    WESTLAW ‐ Research charges; 4/14/2016
2418851 4/15/2016 201604 RESRCH        Research charges                                            015079       $12.90 3315 Subramanian, Arun   WESTLAW ‐ Research charges; 4/15/2016
2418852 4/18/2016 201604 RESRCH        Research charges                                            015079    $1,019.22 3315 Subramanian, Arun   WESTLAW ‐ Research charges; 4/18/2016
2418853 4/20/2016 201604 RESRCH        Research charges                                            015079     $228.46 3315 Subramanian, Arun    WESTLAW ‐ Research charges; 4/20/2016
2418854 4/29/2016 201604 RESRCH        Research charges                                            015079     $582.63 3315 Subramanian, Arun    WESTLAW ‐ Research charges; 4/29/2016
2419096 3/29/2016 201605 EXPERT        Expert Fees                                                 015079 $30,000.00                            VENDOR: GREYLOCK MCKINNON ASSOCIATES;
                                                                                                                                                INVOICE#: 015079/05‐03‐16; DATE: 3/29/2016 ‐
                                                                                                                                                Retainer
2419156   4/20/2016   201605 TRAVEL    Travel Expenses                                             015079    $3,153.21                          VENDOR: JORDAN CONNORS; INVOICE#: 15079/04‐11‐
                                                                                                                                                2016; DATE: 4/20/2016 ‐ Travel expense to Los
                                                                                                                                                Angeles, CA. to attend deposition, 04/11 ‐04/14/16.

2419189    5/2/2016   201605 HCMSGR    Messenger/Delivery Services                                 015079       $18.08                          VENDOR: FEDERAL EXPRESS CORPORATION; INVOICE#:
                                                                                                                                                540290259; DATE: 5/2/2016
2419209    5/2/2016   201605 TRANS     Ground Transportation (taxi, rental, car service, Travel)   015079      $449.77                          VENDOR: CARMODY, WILLIAM; INVOICE#: 015079/04‐
                                                                                                                                                24‐16; DATE: 5/2/2016 ‐ Limo services during trip to
                                                                                                                                                Los Angeles, CA for depositions in Valencia, CA 4/24/16
                                                                                                                                                / 4/27/16
2419328   4/29/2016   201605 PHOTO     B/W Photocopies                                             015079        $0.40 3315 Subramanian, Arun   Reproduction Copy Charges
2419412   4/29/2016   201605 PRINT     B/W Prints                                                  015079     $374.80 3315 Subramanian, Arun    Reproduction Copy Charges
2419413   4/29/2016   201605 CPRINT    Color Prints                                                015079     $398.00 3315 Subramanian, Arun    Color Reproduction Print Charges
2422296    5/6/2016   201605 DEPEXP    Deposition Expenses                                         015079    $1,009.82                          VENDOR: DOCUMENT TECHNOLOGIES LLC (DTI);
                                                                                                                                                INVOICE#: M‐063516; DATE: 5/6/2016 ‐ Deposition,
                                                                                                                                                court reporter and videographer, 04/08/16.




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Disb ID Date      Orig_Per Disb Code Disb Desc                                        Matter Base Amt     Tkpr TKPR Name            Narrative                                            Fees
2422297   5/4/2016 201605 DEPEXP     Deposition Expenses                              015079       $31.20                           VENDOR: KING TRANSCRIPTION SERVICES LLC;
                                                                                                                                    INVOICE#: 00039348; DATE: 5/4/2016 ‐ King transcript
                                                                                                                                    Services, LLC, 05/04/16.
2422303    5/1/2016   201605 EXPERT   Expert Fees                                     015079     $6,642.00                          VENDOR: BAER, RICHARD K.; INVOICE#: 002; DATE:
                                                                                                                                    5/1/2016 ‐ Professional services for April, 2016.

2422326    5/9/2016   201605 TRAVEL   Travel Expenses                                 015079     $2,519.81                          VENDOR: GERVAIS, MICHAEL; INVOICE#: 15079/04‐24‐
                                                                                                                                    2016; DATE: 5/9/2016 ‐ Travel expense to Los
                                                                                                                                    Angeles, CA. to attend meeting, 04/24 ‐ 04/27/16.
2422346    5/9/2016   201605 HCMSGR   Messenger/Delivery Services                     015079       $147.77                          VENDOR: FEDERAL EXPRESS CORPORATION; INVOICE#:
                                                                                                                                    541039155; DATE: 5/9/2016
2422347    5/9/2016   201605 HCMSGR   Messenger/Delivery Services                     015079       $187.16                          VENDOR: FEDERAL EXPRESS CORPORATION; INVOICE#:
                                                                                                                                    541039155; DATE: 5/9/2016
2422348    5/9/2016   201605 HCMSGR   Messenger/Delivery Services                     015079        $25.98                          VENDOR: FEDERAL EXPRESS CORPORATION; INVOICE#:
                                                                                                                                    541039155; DATE: 5/9/2016
2422356    5/6/2016   201605 HCMSGR   Messenger/Delivery Services                     015079        $29.97                          VENDOR: FEDERAL EXPRESS CORPORATION; INVOICE#:
                                                                                                                                    540882001; DATE: 5/6/2016
2422376   4/30/2016   201605 GROUND   Ground Transportation (Taxis, car service)      015079        $71.06                          VENDOR: DIALCAR INC; INVOICE#: 1215681; DATE:
                                                                                                                                    4/30/2016 ‐ R. Polanco, Ground transportation to
                                                                                                                                    6608 Austin St., 04/07/16.
2422385   4/30/2016   201605 GROUND   Ground Transportation (Taxis, car service)      015079        $69.94                          VENDOR: DIALCAR INC; INVOICE#: 1215681; DATE:
                                                                                                                                    4/30/2016 ‐ R. Polanco, Ground transportation to
                                                                                                                                    6608 Austin St., 03/23/16.
2422386   4/30/2016   201605 GROUND   Ground Transportation (Taxis, car service)      015079        $54.35                          VENDOR: DIALCAR INC; INVOICE#: 1215681; DATE:
                                                                                                                                    4/30/2016 ‐ R. Polanco, Ground transportation to
                                                                                                                                    6608 Austin St., 04/10/16.
2422389   4/30/2016   201605 GROUND   Ground Transportation (Taxis, car service)      015079        $54.35                          VENDOR: DIALCAR INC; INVOICE#: 1215681; DATE:
                                                                                                                                    4/30/2016 ‐ R. Polanco, Ground transportation to
                                                                                                                                    6608 Austin St., 04/03/16.
2422393   4/30/2016   201605 GROUND   Ground Transportation (Taxis, car service)      015079        $65.49                          VENDOR: DIAL CAR INC; INVOICE#: 1215681; DATE:
                                                                                                                                    4/30/2016 ‐ R. Polanco, Ground transportation to
                                                                                                                                    6608 Austin St., 03/29/16.
2422394   4/30/2016   201605 GROUND   Ground Transportation (Taxis, car service)      015079        $79.97                          VENDOR: DIALCAR INC; INVOICE#: 1215681; DATE:
                                                                                                                                    4/30/2016 ‐ R. Polanco, Ground transportation to
                                                                                                                                    6608 Austin St., 03/28/16.
2422503    3/6/2016   201605 EXPERT   Expert Fees                                     015079     $6,781.21                          VENDOR: VERITAS INVESTIGATIONS; INVOICE#: 2016‐
                                                                                                                                    590; DATE: 3/6/2016 ‐ Investigations/ research

2422634    5/6/2016   201605 PRINT    B/W Prints                                      015079        $25.80 3315 Subramanian, Arun   Reproduction Copy Charges
2422635    5/6/2016   201605 CPRINT   Color Prints                                    015079         $8.00 3315 Subramanian, Arun   Color Reproduction Print Charges
2422712   4/29/2016   201605 TRAVEL   Travel Expenses                                 015079     $4,813.78                          VENDOR: CARMODY, WILLIAM; INVOICE#: 015079/04‐
                                                                                                                                    24‐16A; DATE: 4/29/2016 ‐ Trip to Las Angeles, CA for
                                                                                                                                    depositions in Valencia, CA 4/24‐4/27/16




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                                                                           Disbursement Detail
Disb ID Date     Orig_Per Disb Code Disb Desc                                         Matter Base Amt     Tkpr TKPR Name            Narrative                                               Fees
2422713 4/30/2016 201605 DATA       Data Storage ‐ Outside Service                    015079    $2,540.23                           VENDOR: DOCUMENT TECHNOLOGIES LLC (DTI);
                                                                                                                                    INVOICE#: 944113; DATE: 4/30/2016 ‐ Hosting
                                                                                                                                    relativity monthly fees, 04/30/16.
2422715    5/4/2016   201605 OSPHOT    Outside Photocopy Services                     015079     $1,819.95                          VENDOR: EMPIRE DISCOVERY; INVOICE#: INV010796;
                                                                                                                                    DATE: 5/4/2016 ‐ Blowbacks/Copies, 05/04/16.

2422716    4/5/2016   201605 OSPHOT    Outside Photocopy Services                     015079       $362.88                          VENDOR: EMPIRE DISCOVERY; INVOICE#: INV010621;
                                                                                                                                    DATE: 4/5/2016 ‐ Blowbacks/Copies, 04/05/16.

2422718    4/6/2016   201605 OSPHOT    Outside Photocopy Services                     015079     $1,632.15                          VENDOR: EMPIRE DISCOVERY; INVOICE#: INV010624;
                                                                                                                                    DATE: 4/6/2016 ‐ Blowbacks/Copies, 04/06/16.

2422792   5/11/2016   201605 TRAVEL    Travel Expenses                                015079     $3,154.10                          VENDOR: CARMODY, WILLIAM; INVOICE#: 015079/04‐
                                                                                                                                    06‐16A; DATE: 5/11/2016 ‐ Trip to Los Angeles, CA for
                                                                                                                                    depositions in Valencia CA 4/6/16 ‐ 4/16/16

2422802   5/16/2016   201605 HCMSGR    Messenger/Delivery Services                    015079        $28.27                          VENDOR: FEDERAL EXPRESS CORPORATION; INVOICE#:
                                                                                                                                    541809342; DATE: 5/16/2016
2422864   4/30/2016   201605 HCTELE    Telephone & Calling Card Expenses              015079        $61.29                          VENDOR: PREMIERE GLOBAL SERVICES; INVOICE#:
                                                                                                                                    21124071; DATE: 4/30/2016 ‐ Conference call,
                                                                                                                                    04/01/2016 ‐ 04/30/2016.
2423089   4/19/2016   201605 EXPERT    Expert Fees                                    015079       $144.71                          VENDOR: VERITAS INVESTIGATIONS; INVOICE#: 2016‐
                                                                                                                                    595; DATE: 4/19/2016 ‐ Locate witness J. Phillips

2423209   5/13/2016   201605 PRINT     B/W Prints                                     015079        $65.70 3315 Subramanian, Arun   Reproduction Copy Charges
2423210   5/13/2016   201605 CPRINT    Color Prints                                   015079       $402.00 3315 Subramanian, Arun   Color Reproduction Print Charges
2423375    4/7/2016   201605 HCMSGR    Messenger/Delivery Services                    015079        $39.95                          VENDOR: ADMIRAL COURIER SERVICES; INVOICE#:
                                                                                                                                    30659; DATE: 4/7/2016
2423376    4/7/2016   201605 HCMSGR    Messenger/Delivery Services                    015079        $39.95                          VENDOR: ADMIRAL COURIER SERVICES; INVOICE#:
                                                                                                                                    30659; DATE: 4/7/2016
2423440   5/12/2016   201605 DEPEXP    Deposition Expenses                            015079       $471.37                          VENDOR: DOCUMENT TECHNOLOGIES LLC (DTI);
                                                                                                                                    INVOICE#: M‐068617; DATE: 5/12/2016 ‐
                                                                                                                                    Videographer for deposition of N. Estrada, 04/22/16.

2423441   5/12/2016   201605 DEPEXP    Deposition Expenses                            015079       $530.05                          VENDOR: DOCUMENT TECHNOLOGIES LLC (DTI);
                                                                                                                                    INVOICE#: M‐068615; DATE: 5/12/2016 ‐ Court
                                                                                                                                    reporter for deposition of N. Estrada, 04/22/16.
2423442   4/30/2016   201605 DEPEXP    Deposition Expenses                            015079     $1,604.25                          VENDOR: DOCUMENT TECHNOLOGIES LLC (DTI);
                                                                                                                                    INVOICE#: M‐068612; DATE: 4/30/2016 ‐
                                                                                                                                    Videographer for deposition of W. Chan 30b6 on
                                                                                                                                    04/14/16.




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                                                            015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                         Disbursement Detail
Disb ID Date     Orig_Per Disb Code Disb Desc                                       Matter Base Amt     Tkpr TKPR Name              Narrative                                            Fees
2423443 4/30/2016 201605 DEPEXP     Deposition Expenses                             015079    $2,728.08                             VENDOR: DOCUMENT TECHNOLOGIES LLC (DTI);
                                                                                                                                    INVOICE#: M‐068605; DATE: 4/30/2016 ‐ Court
                                                                                                                                    reporter for Deposition of W. Chan 30b6 on 04/14/16.

2423444   4/30/2016   201605 DEPEXP   Deposition Expenses                           015079     $1,262.25                            VENDOR: DOCUMENT TECHNOLOGIES LLC (DTI);
                                                                                                                                    INVOICE#: M‐068602; DATE: 4/30/2016 ‐
                                                                                                                                    Videographer for deposition of W. Chan, 04/13/16.

2423445   4/30/2016   201605 DEPEXP   Deposition Expenses                           015079     $1,789.51                            VENDOR: DOCUMENT TECHNOLOGIES LLC (DTI);
                                                                                                                                    INVOICE#: M‐068601; DATE: 4/30/2016 ‐ Court
                                                                                                                                    reporter for Deposition of W. Chan, 04/13/16.
2423446   4/30/2016   201605 DEPEXP   Deposition Expenses                           015079       $621.00                            VENDOR: DOCUMENT TECHNOLOGIES LLC (DTI);
                                                                                                                                    INVOICE#: M‐068599; DATE: 4/30/2016 ‐ Videogrpher
                                                                                                                                    for deposition of D. LaManna, 04/30/16.

2423447   4/30/2016   201605 DEPEXP   Deposition Expenses                           015079       $840.15                            VENDOR: DOCUMENT TECHNOLOGIES LLC (DTI);
                                                                                                                                    INVOICE#: M‐068593; DATE: 4/30/2016 ‐ Court
                                                                                                                                    reporter services for deposition of D. LaMann,
                                                                                                                                    04/30/16.
2423448   4/30/2016   201605 DEPEXP   Deposition Expenses                           015079     $1,150.15                            VENDOR: DOCUMENT TECHNOLOGIES LLC (DTI);
                                                                                                                                    INVOICE#: M‐068603; DATE: 4/30/2016 ‐ Court
                                                                                                                                    reporter for depositions, 04/08/16.
2423469   5/26/2016   201605 TRAVEL   Travel Expenses                               015079     $1,902.86                            VENDOR: SUBRAMANIAN, ARUN; INVOICE#: 015079/05‐
                                                                                                                                    24‐16; DATE: 5/26/2016 ‐ Travel for meeting with
                                                                                                                                    clients/relators in LA 5/24‐25/16
2423484   5/23/2016   201605 PHOTO    B/W Photocopies                               015079         $1.60 3315 Subramanian, Arun     Reproduction Copy Charges
2423567   5/20/2016   201605 PRINT    B/W Prints                                    015079       $131.50 3315 Subramanian, Arun     Reproduction Copy Charges
2423568   5/20/2016   201605 CPRINT   Color Prints                                  015079       $200.00 3315 Subramanian, Arun     Color Reproduction Print Charges
2423611   5/27/2016   201605 MEALS    Meals                                         015079        $10.00                            VENDOR: SUBRAMANIAN, ARUN; INVOICE#: 015079/05‐
                                                                                                                                    25‐16; DATE: 5/27/2016 ‐ Food during trip to LA to
                                                                                                                                    meet clients/relators.
2423992   5/24/2016   201605 RESRCH   Research charges                              015079        $79.69   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 5/24/2016
2424214   5/25/2016   201605 RESRCH   Research charges                              015079       $197.48   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 5/25/2016
2424215   5/26/2016   201605 RESRCH   Research charges                              015079        $69.67   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 5/26/2016
2424216   5/27/2016   201605 RESRCH   Research charges                              015079        $58.13   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 5/27/2016
2424397    5/4/2016   201605 RESRCH   Research charges                              015079        $39.58   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 5/4/2016
2424398    5/5/2016   201605 RESRCH   Research charges                              015079        $39.58   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 5/5/2016
2424399    5/6/2016   201605 RESRCH   Research charges                              015079        $59.37   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 5/6/2016
2424400    5/9/2016   201605 RESRCH   Research charges                              015079        $19.79   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 5/9/2016
2424401   5/16/2016   201605 RESRCH   Research charges                              015079       $900.72   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 5/16/2016
2424402   5/18/2016   201605 RESRCH   Research charges                              015079        $59.37   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 5/18/2016
2424403   5/19/2016   201605 RESRCH   Research charges                              015079        $19.79   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 5/19/2016
2424404   5/20/2016   201605 RESRCH   Research charges                              015079       $277.25   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 5/20/2016
2424405   5/24/2016   201605 RESRCH   Research charges                              015079       $582.09   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 5/24/2016



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                                                                           Disbursement Detail
Disb ID Date      Orig_Per Disb Code   Disb Desc                                      Matter Base Amt     Tkpr TKPR Name              Narrative                                             Fees
2424406 5/25/2016 201605 RESRCH        Research charges                               015079     $295.05 3315 Subramanian, Arun       WESTLAW ‐ Research charges; 5/25/2016
2424407 5/27/2016 201605 RESRCH        Research charges                               015079     $217.69 3315 Subramanian, Arun       WESTLAW ‐ Research charges; 5/27/2016
2424408 5/30/2016 201605 RESRCH        Research charges                               015079    $1,709.90 3315 Subramanian, Arun      WESTLAW ‐ Research charges; 5/30/2016
2424409 5/31/2016 201605 RESRCH        Research charges                               015079     $661.05 3315 Subramanian, Arun       WESTLAW ‐ Research charges; 5/31/2016
2424410   5/1/2016 201605 RESRCH       Research charges                               015079       $86.75 3315 Subramanian, Arun      WESTLAW ‐ Research charges; 5/1/2016
2424411 5/12/2016 201605 RESRCH        Research charges                               015079     $299.85 3315 Subramanian, Arun       WESTLAW ‐ Research charges; 5/12/2016
2424412 5/16/2016 201605 RESRCH        Research charges                               015079     $615.68 3315 Subramanian, Arun       WESTLAW ‐ Research charges; 5/16/2016
2424413 5/17/2016 201605 RESRCH        Research charges                               015079       $96.75 3315 Subramanian, Arun      WESTLAW ‐ Research charges; 5/17/2016
2424414 5/19/2016 201605 RESRCH        Research charges                               015079       $19.79 3315 Subramanian, Arun      WESTLAW ‐ Research charges; 5/19/2016
2424415 5/20/2016 201605 RESRCH        Research charges                               015079    $1,104.02 3315 Subramanian, Arun      WESTLAW ‐ Research charges; 5/20/2016
2424416 5/23/2016 201605 RESRCH        Research charges                               015079     $169.71 3315 Subramanian, Arun       WESTLAW ‐ Research charges; 5/23/2016
2424417 5/24/2016 201605 RESRCH        Research charges                               015079     $477.95 3315 Subramanian, Arun       WESTLAW ‐ Research charges; 5/24/2016
2424418 5/25/2016 201605 RESRCH        Research charges                               015079       $11.79 3315 Subramanian, Arun      WESTLAW ‐ Research charges; 5/25/2016
2424419 5/31/2016 201605 RESRCH        Research charges                               015079     $142.32 3315 Subramanian, Arun       WESTLAW ‐ Research charges; 5/31/2016
2424742 5/27/2016 201606 HCMSGR        Messenger/Delivery Services                    015079       $17.95                             VENDOR: ADMIRAL COURIER SERVICES; INVOICE#:
                                                                                                                                      31054; DATE: 5/27/2016
2424745   5/27/2016   201606 HCMSGR    Messenger/Delivery Services                    015079        $27.95                            VENDOR: ADMIRAL COURIER SERVICES; INVOICE#:
                                                                                                                                      31054; DATE: 5/27/2016
2424749   5/24/2016   201606 DEPEXP    Deposition Expenses                            015079     $1,047.15                            VENDOR: DOCUMENT TECHNOLOGIES LLC (DTI);
                                                                                                                                      INVOICE#: M‐068586; DATE: 5/24/2016 ‐ Court
                                                                                                                                      reporter for deposition on 04/26/16.
2424750   5/24/2016   201606 DEPEXP    Deposition Expenses                            015079       $385.87                            VENDOR: DOCUMENT TECHNOLOGIES LLC (DTI);
                                                                                                                                      INVOICE#: M‐068581; DATE: 5/24/2016 ‐
                                                                                                                                      Videographer at deposition on 04/25/16.
2424751   5/24/2016   201606 DEPEXP    Deposition Expenses                            015079       $504.85                            VENDOR: DOCUMENT TECHNOLOGIES LLC (DTI);
                                                                                                                                      INVOICE#: M‐068578; DATE: 5/24/2016 ‐ Court
                                                                                                                                      reporter for deposition 04/25/16.
2424752   5/24/2016   201606 DEPEXP    Deposition Expenses                            015079       $663.75                            VENDOR: DOCUMENT TECHNOLOGIES LLC (DTI);
                                                                                                                                      INVOICE#: M‐068591; DATE: 5/24/2016 ‐
                                                                                                                                      Videographer for deposition on 04/26/16.
2424753    6/1/2016   201606 AIR       Air Travel                                     015079       $396.20                            VENDOR: SUBRAMANIAN, ARUN; INVOICE#: 015079/06‐
                                                                                                                                      13‐16; DATE: 6/1/2016 ‐ Client/Relator Carolin
                                                                                                                                      Fuentes trip to NY to attend settlement conference in
                                                                                                                                      DNJ on 6/15/16, appearance mandatory 6/13/16 ‐
                                                                                                                                      6/16/16
2424791   5/27/2016   201606 PHOTO     B/W Photocopies                                015079        $15.00   3315 Subramanian, Arun   Reproduction Copy Charges
2424792   5/27/2016   201606 CCOPY     Color Photocopies                              015079         $3.00   3315 Subramanian, Arun   Color Reproduction Copy Charges
2424878   5/27/2016   201606 PRINT     B/W Prints                                     015079        $73.90   3315 Subramanian, Arun   Reproduction Copy Charges
2424879   5/27/2016   201606 CPRINT    Color Prints                                   015079      $897.00    3315 Subramanian, Arun   Color Reproduction Print Charges
2424995    6/3/2016   201606 TRAVEL    Travel Expenses                                015079     $2,338.96                            VENDOR: CARMODY, WILLIAM; INVOICE#: 015079/05‐
                                                                                                                                      22‐16; DATE: 6/3/2016 ‐ Trip to Los Angeles, CA for
                                                                                                                                      meeting with clients on Wed. 5/25/16




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                                                                015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                             Disbursement Detail
Disb ID Date     Orig_Per Disb Code Disb Desc                                                      Matter Base Amt     Tkpr TKPR Name             Narrative                                                  Fees
2427865 5/31/2016 201606 DATA       Data Storage ‐ Outside Service                                 015079    $2,553.55                            VENDOR: DOCUMENT TECHNOLOGIES LLC (DTI);
                                                                                                                                                  INVOICE#: 949403; DATE: 5/31/2016 ‐ Hosting
                                                                                                                                                  relativity, 05/31/16.
2427877    6/1/2016   201606 EXPERT    Expert Fees                                                 015079    $5,548.50                            VENDOR: BAER, RICHARD K.; INVOICE#: 003; DATE:
                                                                                                                                                  6/1/2016 ‐ Expert reviewing depositions, 06/01/16.

2427913    6/9/2016   201606 HCMSGR    Messenger/Delivery Services                                 015079       $33.00                            VENDOR: FEDERAL EXPRESS CORPORATION; INVOICE#:
                                                                                                                                                  544332081; DATE: 6/9/2016
2428083   5/31/2016   201606 HCTELE    Telephone & Calling Card Expenses                           015079       $13.61                            VENDOR: PREMIERE GLOBAL SERVICES; INVOICE#:
                                                                                                                                                  21338975; DATE: 5/31/2016 ‐ Conference call,
                                                                                                                                                  05/01/2016 ‐ 05/31/2016.
2428144    6/8/2016   201606 AIR       Air Travel                                                  015079      $572.20                            VENDOR: BAHNSEN, WENDY A.; INVOICE#: 015079/06‐
                                                                                                                                                  10‐16; DATE: 6/8/2016 ‐ Reimbursement of flight to
                                                                                                                                                  NY 6/13‐6/16 to attend settlement conference on
                                                                                                                                                  6/15/16, client's appearance mandatory by judge.

2428175    6/3/2016   201606 HCMSGR    Messenger/Delivery Services                                 015079       $17.95                            VENDOR: ADMIRAL COURIER SERVICES; INVOICE#:
                                                                                                                                                  31120; DATE: 6/3/2016
2428191    6/5/2016   201606 MEALS     Meals                                                       015079      $104.30                            VENDOR: SEAMLESS; INVOICE#: 2410389; DATE:
                                                                                                                                                  6/5/2016 ‐ A. Subramanian, F. Galant, S. Brinkman, M.
                                                                                                                                                  Bruns, L. Reynolds, R. Robinson, and Z. Smith lunch
                                                                                                                                                  during deposition, 05/31/16.
2428306   6/15/2016   201606 TRAVEL    Travel Expenses                                             015079    $2,733.37                            VENDOR: MARK MUSICO; INVOICE#: 15079/06‐07‐
                                                                                                                                                  2016; DATE: 6/15/2016 ‐ Travel expense New York to
                                                                                                                                                  attend meeting, 06/07 ‐ 06/09/16.
2428341   6/13/2016   201606 TRANS     Ground Transportation (taxi, rental, car service, Travel)   015079      $130.19                            VENDOR: CARMODY, WILLIAM; INVOICE#: 015079/05‐
                                                                                                                                                  22‐16A; DATE: 6/13/2016 ‐ Car services for trip to Los
                                                                                                                                                  Angeles, CA for depositon and meetings. Split

2428342   6/15/2016   201606 TRAVEL    Travel Expenses                                             015079    $4,679.99                            VENDOR: CARMODY, WILLIAM; INVOICE#: 015079/06‐
                                                                                                                                                  06‐16; DATE: 6/15/2016 ‐ Trip to Los Angeles, CA
                                                                                                                                                  attending settlement conference and deposition.
                                                                                                                                                  6/6/16‐ 6/9/16
2428664   6/14/2016   201606 PRINT     B/W Prints                                                  015079       $47.40   3315 Subramanian, Arun   Reproduction Copy Charges
2428665   6/14/2016   201606 CPRINT    Color Prints                                                015079      $135.00   3315 Subramanian, Arun   Color Reproduction Print Charges
2428748   6/22/2016   201606 PRINT     B/W Prints                                                  015079        $9.40   3315 Subramanian, Arun   Reproduction Copy Charges
2428749   6/22/2016   201606 CPRINT    Color Prints                                                015079       $33.00   3315 Subramanian, Arun   Color Reproduction Print Charges
2428924   6/28/2016   201606 GROUND    Ground Transportation (Taxis, car service)                  015079        $5.00                            VENDOR: SUBRAMANIAN, ARUN; INVOICE#: 015079/06‐
                                                                                                                                                  15‐16; DATE: 6/28/2016 ‐ Uber receipt for canceled
                                                                                                                                                  trip ‐ attending settlement conference in District of NJ

2428933   6/29/2016   201606 GROUND    Ground Transportation (Taxis, car service)                  015079       $21.00                            VENDOR: MARK MUSICO; INVOICE#: 15079/06‐15‐
                                                                                                                                                  2016; DATE: 6/29/2016 ‐ New Jersey transit with A.
                                                                                                                                                  Subramanian to attend hearing, 06/15/16.



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                                                                           Disbursement Detail
Disb ID Date     Orig_Per Disb Code Disb Desc                                         Matter Base Amt     Tkpr TKPR Name              Narrative                                            Fees
2428934 6/29/2016 201606 GROUND Ground Transportation (Taxis, car service)            015079       $10.50                             VENDOR: GERVAIS, MICHAEL; INVOICE#: 15079/06‐15‐
                                                                                                                                      2016; DATE: 6/29/2016 ‐ New Jersey transit to attend
                                                                                                                                      hearing, 06/15/16.
2429028   6/30/2016   201606 GROUND   Ground Transportation (Taxis, car service)      015079       $107.05                            VENDOR: FUENTES, CAROLINA H.; INVOICE#:
                                                                                                                                      015079/06‐28‐16; DATE: 6/30/2016 ‐ Reimbursement
                                                                                                                                      to client for trip expenses, cab/train to attend
                                                                                                                                      settlement conference on 6/15/16.

2429043   6/20/2016   201606 HCMSGR   Messenger/Delivery Services                     015079        $71.48                            VENDOR: FEDERAL EXPRESS CORPORATION; INVOICE#:
                                                                                                                                      545476888; DATE: 6/20/2016
2429248   6/27/2016   201606 CPRINT   Color Prints                                    015079         $5.00   3315 Subramanian, Arun   Color Reproduction Print Charges
2429541    6/3/2016   201606 RESRCH   Research charges                                015079        $19.12   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 6/3/2016
2429542    6/6/2016   201606 RESRCH   Research charges                                015079        $76.47   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 6/6/2016
2429543   6/10/2016   201606 RESRCH   Research charges                                015079        $76.47   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 6/10/2016
2429911    6/7/2016   201606 RESRCH   Research charges                                015079      $587.60    3315 Subramanian, Arun   WESTLAW ‐ Research charges; 6/7/2016
2429912   6/12/2016   201606 RESRCH   Research charges                                015079      $376.00    3315 Subramanian, Arun   WESTLAW ‐ Research charges; 6/12/2016
2429913   6/13/2016   201606 RESRCH   Research charges                                015079      $280.85    3315 Subramanian, Arun   WESTLAW ‐ Research charges; 6/13/2016
2429914   6/14/2016   201606 RESRCH   Research charges                                015079        $18.99   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 6/14/2016
2429915   6/15/2016   201606 RESRCH   Research charges                                015079      $208.91    3315 Subramanian, Arun   WESTLAW ‐ Research charges; 6/15/2016
2429916    6/1/2016   201606 RESRCH   Research charges                                015079        $18.99   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 6/1/2016
2429917    6/2/2016   201606 RESRCH   Research charges                                015079      $480.17    3315 Subramanian, Arun   WESTLAW ‐ Research charges; 6/2/2016
2429918    6/5/2016   201606 RESRCH   Research charges                                015079        $56.98   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 6/5/2016
2429919    6/9/2016   201606 RESRCH   Research charges                                015079      $159.23    3315 Subramanian, Arun   WESTLAW ‐ Research charges; 6/9/2016
2429920   6/10/2016   201606 RESRCH   Research charges                                015079      $481.32    3315 Subramanian, Arun   WESTLAW ‐ Research charges; 6/10/2016
2429921   6/12/2016   201606 RESRCH   Research charges                                015079      $606.40    3315 Subramanian, Arun   WESTLAW ‐ Research charges; 6/12/2016
2429922   6/13/2016   201606 RESRCH   Research charges                                015079        $49.30   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 6/13/2016
2429923   6/14/2016   201606 RESRCH   Research charges                                015079        $41.63   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 6/14/2016
2430334    7/6/2016   201607 HOTEL    Hotels (Travel)                                 015079     $1,568.37                            VENDOR: BAHNSEN, WENDY A.; INVOICE#: 015079/07‐
                                                                                                                                      06‐16; DATE: 7/6/2016 ‐ Reimbursement for hotel
                                                                                                                                      stay at the Wellington Hotel for clients, Wendy
                                                                                                                                      Bahnsen 6/13‐6/16/16 $893.44 and Caroline Fuentes
                                                                                                                                      6/14‐6/16/16 $674.93

2430497   6/30/2016   201607 HCTELE   Telephone & Calling Card Expenses               015079         $6.88                            VENDOR: PREMIERE GLOBAL SERVICES; INVOICE#:
                                                                                                                                      21479538; DATE: 6/30/2016 ‐ Conference call,
                                                                                                                                      06/01/2016 ‐ 06/30/2016.
2430599    7/6/2016   201607 CPRINT   Color Prints                                    015079         $4.00 3315 Subramanian, Arun     Color Reproduction Print Charges
2430767   6/28/2016   201607 EXPERT   Expert Fees                                     015079    $10,000.00                            VENDOR: DOUGLAS GREEN ASSOCIATES INC.;
                                                                                                                                      INVOICE#: 977; DATE: 6/28/2016 ‐ Fix fee for initial
                                                                                                                                      case analysis, 06/28/16.
2430768   6/20/2016   201607 DEPEXP   Deposition Expenses                             015079       $946.50                            VENDOR: DOCUMENT TECHNOLOGIES LLC (DTI).;
                                                                                                                                      INVOICE#: M‐073659; DATE: 6/20/2016 ‐
                                                                                                                                      Videographer for deposition of Mark Burns, 06/01/16.




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                                                                           Disbursement Detail
Disb ID Date     Orig_Per Disb Code Disb Desc                                         Matter Base Amt     Tkpr TKPR Name            Narrative                                              Fees
2430769 6/20/2016 201607 DEPEXP     Deposition Expenses                               015079    $2,733.35                           VENDOR: DOCUMENT TECHNOLOGIES LLC (DTI);
                                                                                                                                    INVOICE#: M‐073656; DATE: 6/20/2016 ‐ Court
                                                                                                                                    reporter for deposition of Mark Burns, 06/01/16.
2430771   6/30/2016   201607 EXPERT   Expert Fees                                     015079     $7,203.75                          VENDOR: LEGAL MEDIA, INC.; INVOICE#: 33089‐2;
                                                                                                                                    DATE: 6/30/2016 ‐ Mediation video, 06/30/16.
2433614   6/28/2016   201607 DEPEXP   Deposition Expenses                             015079       $629.00                          VENDOR: DOCUMENT TECHNOLOGIES LLC (DTI);
                                                                                                                                    INVOICE#: M‐074939; DATE: 6/28/2016 ‐
                                                                                                                                    Videographer for deposition of E. O'Neil, 06/08/16.

2433615   6/28/2016   201607 DEPEXP   Deposition Expenses                             015079     $1,336.65                          VENDOR: DOCUMENT TECHNOLOGIES LLC (DTI);
                                                                                                                                    INVOICE#: M‐074937; DATE: 6/28/2016 ‐ Court
                                                                                                                                    reporter for Deposition of E. O'Neil, 06/08/16.
2433683   6/30/2016   201607 DATA     Data Storage ‐ Outside Service                  015079     $2,791.87                          VENDOR: DOCUMENT TECHNOLOGIES LLC (DTI);
                                                                                                                                    INVOICE#: 955722; DATE: 6/30/2016 ‐ Hosting
                                                                                                                                    Relativity June, 2016.
2433714   7/18/2016   201607 MEDFEE   Mediation Fees and Expenses                     015079     $5,000.00                          VENDOR: SAIBER LLC; INVOICE#: 015079/07‐14‐16;
                                                                                                                                    DATE: 7/18/2016 ‐ Realtors share ‐ $5000 retainer to
                                                                                                                                    Mediator
2433770   3/31/2016   201607 GROUND   Ground Transportation (Taxis, car service)      015079       $340.23                          VENDOR: DIALCAR INC; INVOICE#: 1213840; DATE:
                                                                                                                                    3/31/2016 ‐ 2/26/16 ASUB
2433781   3/31/2016   201607 GROUND   Ground Transportation (Taxis, car service)      015079        $65.49                          VENDOR: DIALCAR INC; INVOICE#: 1213840; DATE:
                                                                                                                                    3/31/2016 ‐ 3/8/16 R. Polanco
2433783   3/31/2016   201607 GROUND   Ground Transportation (Taxis, car service)      015079        $65.49                          VENDOR: DIALCAR INC; INVOICE#: 1213840; DATE:
                                                                                                                                    3/31/2016 ‐ 3/10/16 R. Polanco
2433784   3/31/2016   201607 GROUND   Ground Transportation (Taxis, car service)      015079        $65.49                          VENDOR: DIALCAR INC; INVOICE#: 1213840; DATE:
                                                                                                                                    3/31/2016 ‐ 3/25/16 R. Polanco
2433880   7/11/2016   201607 PRINT    B/W Prints                                      015079         $0.40 3315 Subramanian, Arun   Reproduction Copy Charges
2433881   7/11/2016   201607 CPRINT   Color Prints                                    015079         $8.00 3315 Subramanian, Arun   Color Reproduction Print Charges
2433948   7/18/2016   201607 CPRINT   Color Prints                                    015079         $4.00 3315 Subramanian, Arun   Color Reproduction Print Charges
2434126   7/15/2016   201607 HCMSGR   Messenger/Delivery Services                     015079        $28.13                          VENDOR: FEDERAL EXPRESS CORPORATION; INVOICE#:
                                                                                                                                    548106735; DATE: 7/15/2016
2434136   7/20/2016   201607 HCMSGR   Messenger/Delivery Services                     015079       $203.65                          VENDOR: FEDERAL EXPRESS CORPORATION; INVOICE#:
                                                                                                                                    548624414; DATE: 7/20/2016
2434137   7/20/2016   201607 HCMSGR   Messenger/Delivery Services                     015079       $182.29                          VENDOR: FEDERAL EXPRESS CORPORATION; INVOICE#:
                                                                                                                                    548624414; DATE: 7/20/2016
2434158   7/25/2016   201607 HCMSGR   Messenger/Delivery Services                     015079       $171.95                          VENDOR: FEDERAL EXPRESS CORPORATION; INVOICE#:
                                                                                                                                    549048381; DATE: 7/25/2016
2434159   7/25/2016   201607 HCMSGR   Messenger/Delivery Services                     015079       $172.36                          VENDOR: FEDERAL EXPRESS CORPORATION; INVOICE#:
                                                                                                                                    549048381; DATE: 7/25/2016
2434185   7/27/2016   201607 GROUND   Ground Transportation (Taxis, car service)      015079        $10.50                          VENDOR: MARK MUSICO; INVOICE#: 15079/07‐26‐
                                                                                                                                    2019; DATE: 7/27/2016 ‐ Taxi expense while attending
                                                                                                                                    mediation, 07/26/16.




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                                                                           Disbursement Detail
Disb ID Date     Orig_Per Disb Code Disb Desc                                         Matter Base Amt     Tkpr TKPR Name              Narrative                                           Fees
2434277 7/27/2016 201607 TRAVEL     Travel Expenses                                   015079       $67.86                             VENDOR: SUBRAMANIAN, ARUN; INVOICE#: 015079/07‐
                                                                                                                                      26‐16; DATE: 7/27/2016 ‐ Lunch and train fare while
                                                                                                                                      attending mediation at Saiber, Newark, NJ

2434344   7/25/2016   201607 PRINT    B/W Prints                                      015079        $32.20   3315 Subramanian, Arun   Reproduction Copy Charges
2434345   7/25/2016   201607 CPRINT   Color Prints                                    015079        $17.00   3315 Subramanian, Arun   Color Reproduction Print Charges
2434998   7/11/2016   201608 RESRCH   Research charges                                015079        $18.42   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 7/11/2016
2434999   7/12/2016   201608 RESRCH   Research charges                                015079       $128.94   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 7/12/2016
2435000   7/14/2016   201608 RESRCH   Research charges                                015079       $162.07   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 7/14/2016
2435001   7/18/2016   201608 RESRCH   Research charges                                015079        $47.82   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 7/18/2016
2435002   7/19/2016   201608 RESRCH   Research charges                                015079       $782.05   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 7/19/2016
2435003   7/25/2016   201608 RESRCH   Research charges                                015079       $865.97   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 7/25/2016
2435498   6/15/2016   201608 OSPHOT   Outside Photocopy Services                      015079        $89.10                            VENDOR: EMPIRE DISCOVERY; INVOICE#: INV011451;
                                                                                                                                      DATE: 6/15/2016 ‐ Blowbacks black and white,
                                                                                                                                      06/15/16.
2435499   2/29/2016   201608 DATA     Data Storage ‐ Outside Service                  015079     $2,785.55                            VENDOR: DOCUMENT TECHNOLOGIES LLC (DTI);
                                                                                                                                      INVOICE#: 932580; DATE: 2/29/2016 ‐ Monthly User
                                                                                                                                      Fees/Relativity, 02/29/16.
2435500   3/31/2016   201608 DATA     Data Storage ‐ Outside Service                  015079     $6,611.19                            VENDOR: DOCUMENT TECHNOLOGIES LLC (DTI);
                                                                                                                                      INVOICE#: 929143; DATE: 3/31/2016 ‐ Hosting
                                                                                                                                      Relativity March 2016 Monthly fee, 03/31/16.
2435501    6/1/2016   201608 EXPERT   Expert Fees                                     015079     $8,253.00                            VENDOR: BAER, RICHARD K.; INVOICE#: 004; DATE:
                                                                                                                                      6/1/2016 ‐ Professional services for May, 2016.

2435509   7/28/2016   201608 EXPERT   Expert Fees                                     015079     $1,495.00                            VENDOR: THE BRATTLE GROUP; INVOICE#: 040600;
                                                                                                                                      DATE: 7/28/2016 ‐ Professional services for June,
                                                                                                                                      2016.
2435642    8/3/2016   201608 PRINT    B/W Prints                                      015079         $0.10 3315 Subramanian, Arun     Reproduction Copy Charges
2435643    8/3/2016   201608 CPRINT   Color Prints                                    015079         $2.00 3315 Subramanian, Arun     Color Reproduction Print Charges
2435731    8/1/2016   201608 EXPERT   Expert Fees                                     015079     $2,925.00                            VENDOR: BAER, RICHARD K.; INVOICE#: 006; DATE:
                                                                                                                                      8/1/2016 ‐ Professional services for July, 2016.

2435828   7/31/2016   201608 HCTELE   Telephone & Calling Card Expenses               015079         $3.04                            VENDOR: PREMIERE GLOBAL SERVICES; INVOICE#:
                                                                                                                                      21699369; DATE: 7/31/2016 ‐ Conference call,
                                                                                                                                      07/01/2016 ‐ 07/31/2016.
2439499   4/27/2016   201608 OSRSCH   Online Research Services                        015079    $49,646.25                            VENDOR: THE BRATTLE GROUP; INVOICE#: 039574;
                                                                                                                                      DATE: 4/27/2016 ‐ Research
2439500   5/20/2016   201608 OSRSCH   Online Research Services                        015079    $22,830.00                            VENDOR: THE BRATTLE GROUP; INVOICE#: 039885;
                                                                                                                                      DATE: 5/20/2016 ‐ Research
2439501    7/6/2016   201608 OSRSCH   Online Research Services                        015079     $5,452.50                            VENDOR: THE BRATTLE GROUP; INVOICE#: 040292;
                                                                                                                                      DATE: 7/6/2016 ‐ Research
2439563   7/14/2016   201608 OSPHOT   Outside Photocopy Services                      015079     $1,751.41                            VENDOR: EMPIRE DISCOVERY; INVOICE#: INV011774;
                                                                                                                                      DATE: 7/14/2016 ‐ Copies/blowbacks, 07/14/16.




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                                                                           Disbursement Detail
Disb ID Date     Orig_Per Disb Code   Disb Desc                                       Matter Base Amt     Tkpr TKPR Name              Narrative                                            Fees
2439755 8/22/2016 201608 PRINT        B/W Prints                                      015079        $1.10 3315 Subramanian, Arun      Reproduction Copy Charges
2439756 8/22/2016 201608 CPRINT       Color Prints                                    015079        $7.00 3315 Subramanian, Arun      Color Reproduction Print Charges
2439959 7/31/2016 201608 DATA         Data Storage ‐ Outside Service                  015079    $2,057.52                             VENDOR: DOCUMENT TECHNOLOGIES LLC (DTI);
                                                                                                                                      INVOICE#: 960796; DATE: 7/31/2016 ‐ Hosting
                                                                                                                                      Relativity Charges, 07/31/16.
2440212   8/22/2016   201609 RESRCH   Research charges                                015079        $20.19   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 8/22/2016
2440213   8/23/2016   201609 RESRCH   Research charges                                015079        $80.77   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 8/23/2016
2440602   8/31/2016   201609 RESRCH   Research charges                                015079        $80.24   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 8/31/2016
2440603    8/4/2016   201609 RESRCH   Research charges                                015079        $52.07   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 8/4/2016
2440604    8/5/2016   201609 RESRCH   Research charges                                015079        $72.13   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 8/5/2016
2440605    8/8/2016   201609 RESRCH   Research charges                                015079        $60.18   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 8/8/2016
2440986   8/31/2016   201609 PRINT    B/W Prints                                      015079         $1.90   3315 Subramanian, Arun   Reproduction Copy Charges
2440987   8/31/2016   201609 CPRINT   Color Prints                                    015079        $24.00   3315 Subramanian, Arun   Color Reproduction Print Charges
2441256    9/6/2016   201609 CPRINT   Color Prints                                    015079         $3.00   3315 Subramanian, Arun   Color Reproduction Print Charges
2441391    9/1/2016   201609 EXPERT   Expert Fees                                     015079    $19,660.50                            VENDOR: BAER, RICHARD K.; INVOICE#: 006‐A; DATE:
                                                                                                                                      9/1/2016 ‐ Professional services for August, 2016.

2444200   8/31/2016   201609 HCTELE   Telephone & Calling Card Expenses               015079        $12.18                            VENDOR: PREMIERE GLOBAL SERVICES; INVOICE#:
                                                                                                                                      21900112; DATE: 8/31/2016 ‐ Conference calls,
                                                                                                                                      08/01/2016 ‐ 08/31/2016.
2444407   9/15/2016   201609 PRINT    B/W Prints                                      015079         $2.50 3315 Subramanian, Arun     Reproduction Copy Charges
2444408   9/15/2016   201609 CPRINT   Color Prints                                    015079         $9.00 3315 Subramanian, Arun     Color Reproduction Print Charges
2444457   9/15/2016   201609 TRAVEL   Travel Expenses                                 015079        $10.50                            VENDOR: GERVAIS, MICHAEL; INVOICE#: 15079/07‐26‐
                                                                                                                                      2016; DATE: 9/15/2016 ‐ Travel expense to New
                                                                                                                                      Jersey to attend Mediation, 07/26/16.
2444547   8/31/2016   201609 DATA     Data Storage ‐ Outside Service                  015079     $1,417.58                            VENDOR: DOCUMENT TECHNOLOGIES LLC (DTI);
                                                                                                                                      INVOICE#: 966511; DATE: 8/31/2016 ‐ Relativity
                                                                                                                                      hosting for August, 2016.
2444784   9/16/2016   201609 PRINT    B/W Prints                                      015079         $2.70 3315 Subramanian, Arun     Reproduction Copy Charges
2444785   9/16/2016   201609 CPRINT   Color Prints                                    015079       $116.00 3315 Subramanian, Arun     Color Reproduction Print Charges
2445079   9/28/2016   201609 SPWT     Subpoena Witness Fees                           015079       $135.00                            VENDOR: ABC LEGAL SERVICES; INVOICE#:
                                                                                                                                      1733352.100; DATE: 9/28/2016 ‐ Service of Subpoena
                                                                                                                                      regarding EMDS, Inc., 09/28/16.
2445080   9/28/2016   201609 SPWT     Subpoena Witness Fees                           015079       $135.00                            VENDOR: ABC LEGAL SERVICES; INVOICE#:
                                                                                                                                      1733363.100; DATE: 9/28/2016 ‐ Service of Subpoena
                                                                                                                                      EMDS, Inc., 09/28/16.
2445205   9/23/2016   201609 PRINT    B/W Prints                                      015079         $0.60   3315 Subramanian, Arun   Reproduction Copy Charges
2445206   9/23/2016   201609 CPRINT   Color Prints                                    015079        $14.00   3315 Subramanian, Arun   Color Reproduction Print Charges
2445604    9/6/2016   201609 RESRCH   Research charges                                015079        $40.21   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 9/6/2016
2445605    9/7/2016   201609 RESRCH   Research charges                                015079       $542.85   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 9/7/2016
2445606    9/8/2016   201609 RESRCH   Research charges                                015079       $140.74   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 9/8/2016
2446209   10/4/2016   201610 SPWT     Subpoena Witness Fees                           015079       $135.00                            VENDOR: ABC LEGAL SERVICES; INVOICE#:
                                                                                                                                      1745133.100; DATE: 10/4/2016 ‐ Process service on
                                                                                                                                      Zirmed, Inc., 10/04/16.



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                                                                            Disbursement Detail
Disb ID Date     Orig_Per Disb Code Disb Desc                                          Matter Base Amt    Tkpr TKPR Name             Narrative                                             Fees
2449127 9/30/2016 201610 HCTELE     Telephone & Calling Card Expenses                  015079       $8.84                            VENDOR: PREMIERE GLOBAL SERVICES; INVOICE#:
                                                                                                                                     22162880; DATE: 9/30/2016 ‐ Conference call,
                                                                                                                                     09/01/2016 ‐ 09/30/2016.
2449245   5/18/2016   201610 DEPEXP    Deposition Expenses                             015079       $162.25                          VENDOR: GOLKOW TECHNOLOGIES, INC.; INVOICE#:
                                                                                                                                     225089; DATE: 5/18/2016 ‐ Deposition of M.
                                                                                                                                     Underwood, 05/18/16.
2449246   10/1/2016   201610 EXPERT    Expert Fees                                     015079     $2,782.50                          VENDOR: BAER, RICHARD K.; INVOICE#: 007; DATE:
                                                                                                                                     10/1/2016 ‐ Expert services for September, 2016.

2449351   9/30/2016   201610 DATA      Data Storage ‐ Outside Service                  015079     $1,714.77                          VENDOR: DOCUMENT TECHNOLOGIES LLC (DTI);
                                                                                                                                     INVOICE#: 971710; DATE: 9/30/2016 ‐ Hosting
                                                                                                                                     relativity September, 2016.
2449414 10/11/2016    201610 CPRINT    Color Prints                                    015079         $4.00 3315 Subramanian, Arun   Color Reproduction Print Charges
2449680 10/20/2016    201610 GROUND    Ground Transportation (Taxis, car service)      015079        $10.50                          VENDOR: MARK MUSICO; INVOICE#: 15079/09‐23‐
                                                                                                                                     2016; DATE: 10/20/2016 ‐ NJ Transit to attend
                                                                                                                                     Hearing, 09/23/16.
2449788 10/19/2016    201610 CPRINT    Color Prints                                    015079        $20.00 3315 Subramanian, Arun   Color Reproduction Print Charges
2450157 10/21/2016    201610 PRINT     B/W Prints                                      015079        $82.30 3315 Subramanian, Arun   Reproduction Copy Charges
2450158 10/21/2016    201610 CPRINT    Color Prints                                    015079        $35.00 3315 Subramanian, Arun   Color Reproduction Print Charges
2450251 10/27/2016    201610 HCMSGR    Messenger/Delivery Services                     015079        $32.27                          VENDOR: FEDERAL EXPRESS CORPORATION; INVOICE#:
                                                                                                                                     559148298; DATE: 10/27/2016
2450267 10/31/2016    201610 HCMSGR    Messenger/Delivery Services                     015079       $559.55                          VENDOR: FEDERAL EXPRESS CORPORATION; INVOICE#:
                                                                                                                                     559546886; DATE: 10/31/2016 ‐ 4 package sent on
                                                                                                                                     10/27/16.
2450279 10/31/2016    201610 HCMSGR    Messenger/Delivery Services                     015079        $52.25                          VENDOR: FEDERAL EXPRESS CORPORATION; INVOICE#:
                                                                                                                                     559095106; DATE: 10/31/2016
2451291 10/25/2016    201611 CERT      Certified Copies of Documents                   015079        $90.00                          VENDOR: DOCUMENT TECHNOLOGIES LLC (DTI);
                                                                                                                                     INVOICE#: 73372; DATE: 10/25/2016 ‐ Retrieval of
                                                                                                                                     documents requested from ZirMed, 10/25/16.
2451426   11/1/2016   201611 PRINT     B/W Prints                                      015079         $0.80 3315 Subramanian, Arun   Reproduction Copy Charges
2451427   11/1/2016   201611 CPRINT    Color Prints                                    015079         $6.00 3315 Subramanian, Arun   Color Reproduction Print Charges
2451774   11/1/2016   201611 EXPERT    Expert Fees                                     015079     $3,946.50                          VENDOR: BAER, RICHARD K.; INVOICE#: 008; DATE:
                                                                                                                                     11/1/2016 ‐ Professional services rendered for
                                                                                                                                     October, 2016.
2454443   11/4/2016   201611 HCMSGR    Messenger/Delivery Services                     015079       $336.89 3315 Subramanian, Arun   VENDOR: FEDERAL EXPRESS CORPORATION; Invoice
                                                                                                                                     Number: 560489862, Shipper: J. Connors, Tracking #:
                                                                                                                                     777644731221, Ship Date: 11/4/2016
2454447   11/4/2016   201611 HCMSGR    Messenger/Delivery Services                     015079       $332.70 3315 Subramanian, Arun   VENDOR: FEDERAL EXPRESS CORPORATION; Invoice
                                                                                                                                     Number: 560489862, Shipper: J. Connors, Tracking #:
                                                                                                                                     777644731931, Ship Date: 11/4/2016
2454448   11/4/2016   201611 HCMSGR    Messenger/Delivery Services                     015079       $332.66 3315 Subramanian, Arun   VENDOR: FEDERAL EXPRESS CORPORATION; Invoice
                                                                                                                                     Number: 560489862, Shipper: J. Connors, Tracking #:
                                                                                                                                     777644731313, Ship Date: 11/4/2016




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                                                                           Disbursement Detail
Disb ID Date     Orig_Per Disb Code Disb Desc                                         Matter Base Amt    Tkpr TKPR Name             Narrative                                            Fees
2454449 11/4/2016 201611 HCMSGR Messenger/Delivery Services                           015079     $332.66 3315 Subramanian, Arun     VENDOR: FEDERAL EXPRESS CORPORATION; Invoice
                                                                                                                                    Number: 560489862, Shipper: J. Connors, Tracking #:
                                                                                                                                    777644731769, Ship Date: 11/4/2016
2454542   11/9/2016   201611 SPWT     Subpoena Witness Fees                           015079       $602.75                          VENDOR: POLANCO, RODNEY; INVOICE#: 15079/10‐25‐
                                                                                                                                    2016; DATE: 11/9/2016 ‐ Access files subpoenaed
                                                                                                                                    from Zirmed, 10/25/16.
2454626 11/4/2016     201611 PRINT    B/W Prints                                      015079        $85.80 3315 Subramanian, Arun   Reproduction Copy Charges
2454627 11/4/2016     201611 CPRINT   Color Prints                                    015079        $18.00 3315 Subramanian, Arun   Color Reproduction Print Charges
2454683 11/8/2016     201611 PHOTO    B/W Photocopies                                 015079        $58.90 3315 Subramanian, Arun   Reproduction Copy Charges
2454718 10/31/2016    201611 DATA     Data Storage ‐ Outside Service                  015079     $1,568.93                          VENDOR: DOCUMENT TECHNOLOGIES LLC (DTI);
                                                                                                                                    INVOICE#: 977197; DATE: 10/31/2016 ‐ Hosting
                                                                                                                                    relativity monthly fee for October, 2016.
2454875 11/11/2016    201611 TRAVEL   Travel Expenses                                 015079     $2,218.83                          VENDOR: JORDAN CONNORS; INVOICE#: 15079/11‐09‐
                                                                                                                                    2016; DATE: 11/11/2016 ‐ Travel expense to
                                                                                                                                    Washington, D.C. to attend deposition, 11/09 ‐
                                                                                                                                    11/10/16.
2454963 10/31/2016    201611 HCTELE   Telephone & Calling Card Expenses               015079         $6.68                          VENDOR: PREMIERE GLOBAL SERVICES; INVOICE#:
                                                                                                                                    22305388; DATE: 10/31/2016 ‐ Conference calls,
                                                                                                                                    10/01/216 ‐ 10/31/2016.
2455089 11/11/2016    201611 HCMSGR   Messenger/Delivery Services                     015079       $131.47 3315 Subramanian, Arun   VENDOR: FEDERAL EXPRESS CORPORATION; Invoice
                                                                                                                                    Number: 561223356, Shipper: Joseph Schafer, Tracking
                                                                                                                                    #: 777698339195, Ship Date: 11/11/2016

2455267 11/16/2016    201611 CPRINT   Color Prints                                    015079         $1.00 3315 Subramanian, Arun   Color Reproduction Print Charges
2455355 11/17/2016    201611 TRAVEL   Travel Expenses                                 015079     $1,205.60                          VENDOR: MARK MUSICO; INVOICE#: 15079/11‐09‐
                                                                                                                                    2016; DATE: 11/17/2016 ‐ Travel expense to Boston,
                                                                                                                                    MA. to attend deposition, 11/09 ‐ 11/11/16.

2455356 11/17/2016    201611 TRAVEL   Travel Expenses                                 015079     $2,128.85                          VENDOR: MARK MUSICO; INVOICE#: 15079/11‐15‐
                                                                                                                                    2016; DATE: 11/17/2016 ‐ Travel expense to Austin,
                                                                                                                                    TX. to attend depositions, 11/15 ‐ 11/16/16.

2455655 11/17/2016    201611 DEPEXP   Deposition Expenses                             015079        $12.00                          VENDOR: KING TRANSCRIPTION SERVICES LLC;
                                                                                                                                    INVOICE#: 00040450; DATE: 11/17/2016 ‐ Transcript
                                                                                                                                    of Hearing on 09/23/16.
2455767 11/18/2016    201611 PRINT    B/W Prints                                      015079         $8.40 3315 Subramanian, Arun   Reproduction Copy Charges
2455768 11/18/2016    201611 CPRINT   Color Prints                                    015079       $222.00 3315 Subramanian, Arun   Color Reproduction Print Charges
2455897 11/20/2016    201611 Meals    Meals                                           015079       $253.30                          VENDOR: SEAMLESS; INVOICE#: 2533339; DATE:
                                                                                                                                    11/20/2016 ‐ Lunch for A. Subramanian, R. Robinson,
                                                                                                                                    D. Gerhan, M. Gray, K. Pollard, M. Pollard, and J.
                                                                                                                                    Connors during deposition and deposition preparation,
                                                                                                                                    11/15/16.




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                                                                            Disbursement Detail
Disb ID Date      Orig_Per Disb Code Disb Desc                                         Matter Base Amt     Tkpr TKPR Name              Narrative                                              Fees
2455960 10/25/2016 201612 OSPHOT     Outside Photocopy Services                        015079    $6,143.82                             VENDOR: EMPIRE DISCOVERY; INVOICE#: INV012913;
                                                                                                                                       DATE: 10/25/2016 ‐ Blowbacks, copies, 10/25/16.

2456066 11/30/2016    201612 CPRINT    Color Prints                                    015079     $1,617.00   3315 Subramanian, Arun   Color Reproduction Print Charges
2456321 11/8/2016     201612 RESRCH    Research charges                                015079        $17.90   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 11/8/2016
2456322 11/13/2016    201612 RESRCH    Research charges                                015079        $71.61   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 11/13/2016
2456656 11/4/2016     201612 RESRCH    Research charges                                015079      $110.12    3315 Subramanian, Arun   WESTLAW ‐ Research charges; 11/4/2016
2456657 11/8/2016     201612 RESRCH    Research charges                                015079        $65.75   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 11/8/2016
2456658 11/22/2016    201612 RESRCH    Research charges                                015079      $392.34    3315 Subramanian, Arun   WESTLAW ‐ Research charges; 11/22/2016
2457044 12/1/2016     201612 DATA      Data Storage ‐ Outside Service                  015079     $2,200.00                            VENDOR: POLANCO, RODNEY; INVOICE#: 15079/11‐30‐
                                                                                                                                       2016; DATE: 12/1/2016 ‐ Electronic Management
                                                                                                                                       Services, Inc. ‐ Custom Programming, 11/30/16.

2457089 11/22/2016    201612 HCMSGR    Messenger/Delivery Services                     015079        $10.34 3315 Subramanian, Arun     Vendor: FEDEX, Invoice Number: 562626793, Shipper:
                                                                                                                                       Caroline DaCosta, Tracking #: 777736572459, Ship
                                                                                                                                       Date: 11/22/2016
2457147 11/28/2016    201612 HCMSGR    Messenger/Delivery Services                     015079        $73.70 3315 Subramanian, Arun     Vendor: FEDEX, Invoice Number: 562848788, Shipper:
                                                                                                                                       Jordan Connors, Tracking #: 777808260118, Ship Date:
                                                                                                                                       11/28/2016
2457331 11/29/2016    201612 DEPEXP    Deposition Expenses                             015079       $286.30                            VENDOR: GOLKOW TECHNOLOGIES, INC.; INVOICE#:
                                                                                                                                       250938; DATE: 11/29/2016 ‐ Transcript ‐ M.
                                                                                                                                       Rosenthal, 11/29/16.
2457362   7/27/2016   201612 MEDFEE    Mediation Fees and Expenses                     015079     $3,600.00                            VENDOR: SAIBER LLC; INVOICE#: 257410; DATE:
                                                                                                                                       7/27/2016 ‐ Mediation, 07/27/16.
2460997 11/30/2016    201612 GROUND    Ground Transportation (Taxis, car service)      015079       $223.37                            VENDOR: DIALCAR INC; INVOICE#: 1224328; DATE:
                                                                                                                                       11/30/2016 ‐ A. Subramanian, Ground transportation
                                                                                                                                       to 1301 6 Ave. 10019, NJ, 11/18/16.
2463667   12/2/2016   201612 PRINT     B/W Prints                                      015079       $128.70 3315 Subramanian, Arun     Reproduction Copy Charges
2463668   12/2/2016   201612 CPRINT    Color Prints                                    015079       $669.00 3315 Subramanian, Arun     Color Reproduction Print Charges
2463872   12/7/2016   201612 HCMSGR    Messenger/Delivery Services                     015079        $63.76 3315 Subramanian, Arun     Vendor: FEDEX, Invoice Number: 563927687, Shipper:
                                                                                                                                       Nikki Kustok, Tracking #: 777893757270, Ship Date:
                                                                                                                                       12/7/2016
2463927 11/30/2016    201612 HCTELE    Telephone & Calling Card Expenses               015079         $3.04                            VENDOR: PREMIERE GLOBAL SERVICES; INVOICE#:
                                                                                                                                       22572144; DATE: 11/30/2016 ‐ Conference calls,
                                                                                                                                       11/01/2016 ‐ 11/30/2016.
2465326   12/9/2016   201612 HCMSGR    Messenger/Delivery Services                     015079        $97.34 3315 Subramanian, Arun     Vendor: FEDEX, Invoice Number: 564208057, Shipper:
                                                                                                                                       Mark Musico, Tracking #: 777913744974, Ship Date:
                                                                                                                                       12/9/2016
2465351 12/14/2016    201612 TRAVEL    Travel Expenses                                 015079     $1,558.54                            VENDOR: MARK MUSICO; INVOICE#: 15079/12‐11‐
                                                                                                                                       2016; DATE: 12/14/2016 ‐ Travel expense to
                                                                                                                                       Charleston, GA. to attend deposition, 12/11 ‐
                                                                                                                                       12/12/16.




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                                                                             Disbursement Detail
Disb ID Date      Orig_Per Disb Code Disb Desc                                          Matter Base Amt     Tkpr TKPR Name            Narrative                                             Fees
2465371 11/30/2016 201612 DATA       Data Storage ‐ Outside Service                     015079    $1,403.93                           VENDOR: DOCUMENT TECHNOLOGIES LLC (DTI);
                                                                                                                                      INVOICE#: 979416; DATE: 11/30/2016 ‐ Hosting
                                                                                                                                      monthly fees, 11/30/16.
2465372 11/30/2016    201612 DEPEXP     Deposition Expenses                             015079       $807.50                          VENDOR: DOCUMENT TECHNOLOGIES LLC (DTI);
                                                                                                                                      INVOICE#: M‐101390; DATE: 11/30/2016 ‐
                                                                                                                                      Videographer for deposition of J. Kemmerer, 11/30/16.

2465374 11/30/2016    201612 DEPEXP     Deposition Expenses                             015079       $929.60                          VENDOR: DOCUMENT TECHNOLOGIES LLC (DTI);
                                                                                                                                      INVOICE#: M‐101388; DATE: 11/30/2016 ‐ Court
                                                                                                                                      reporter for deposition of J. Kemmerer, 11/30/16.
2465380   5/25/2016   201612 EXPERT     Expert Fees                                     015079       $119.71                          VENDOR: VERITAS INVESTIGATIONS; INVOICE#: 2016‐
                                                                                                                                      599; DATE: 5/25/2016 ‐ Background Check, locate
                                                                                                                                      witness
2465463 12/9/2016     201612 PRINT      B/W Prints                                      015079      $105.60 3315 Subramanian, Arun    Reproduction Copy Charges
2465464 12/9/2016     201612 CPRINT     Color Prints                                    015079         $4.00 3315 Subramanian, Arun   Color Reproduction Print Charges
2465888 12/20/2016    201612 TRAVEL     Travel Expenses                                 015079     $2,146.75                          VENDOR: JORDAN CONNORS; INVOICE#: 15079/12‐01‐
                                                                                                                                      2016; DATE: 12/20/2016 ‐ Travel expense to
                                                                                                                                      Washington, D.C. to attend deposition, 12/01 ‐
                                                                                                                                      12/02/16.
2465889 12/20/2016    201612 TRAVEL     Travel Expenses                                 015079     $2,074.73                          VENDOR: JORDAN CONNORS; INVOICE#: 15079/12‐08‐
                                                                                                                                      2016; DATE: 12/20/2016 ‐ Travel expense to
                                                                                                                                      Washington, D.C. to attend deposition, 12/08 ‐
                                                                                                                                      12/09/16.
2465963 12/20/2016    201612 TRAVEL     Travel Expenses                                 015079     $5,763.46                          VENDOR: JORDAN CONNORS; INVOICE#: 15079/11‐12‐
                                                                                                                                      2016; DATE: 12/20/2016 ‐ Travel expense to New York
                                                                                                                                      to attend expert meeting, 11/12 ‐ 11/18/16.

2466159 12/16/2016    201612 PRINT      B/W Prints                                      015079      $107.20 3315 Subramanian, Arun    Reproduction Copy Charges
2466160 12/16/2016    201612 CPRINT     Color Prints                                    015079         $1.00 3315 Subramanian, Arun   Color Reproduction Print Charges
2466246 12/7/2016     201612 DEPEXP     Deposition Expenses                             015079     $1,535.75                          VENDOR: DOCUMENT TECHNOLOGIES LLC (DTI);
                                                                                                                                      INVOICE#: M‐102144; DATE: 12/7/2016 ‐
                                                                                                                                      Videographer for S. O'Shea deposition, 11/10/16.
2466499 12/27/2016    201612 GROUND     Ground Transportation (Taxis, car service)      015079        $72.49                          VENDOR: POLANCO, RODNEY; INVOICE#: 15079/12‐21‐
                                                                                                                                      2016; DATE: 12/27/2016 ‐ Taxi expense while working
                                                                                                                                      late at the office, 12/21/16.

2466587 12/27/2016    201612 CPRINT     Color Prints                                    015079         $1.00 3315 Subramanian, Arun   Color Reproduction Print Charges
2466708 12/30/2016    201612 GROUND     Ground Transportation (Taxis, car service)      015079        $34.69                          VENDOR: POLANCO, RODNEY; INVOICE#: 15079/12‐29‐
                                                                                                                                      2016; DATE: 12/30/2016 ‐ Taxi expense while working
                                                                                                                                      late at the office, 12/29/16.

2467207 12/21/2016    201701 RESRCH     Research charges                                015079        $18.24 3315 Subramanian, Arun   WESTLAW ‐ Research charges; 12/21/2016
2467208 12/23/2016    201701 RESRCH     Research charges                                015079       $164.14 3315 Subramanian, Arun   WESTLAW ‐ Research charges; 12/23/2016
2467209 12/26/2016    201701 RESRCH     Research charges                                015079       $109.43 3315 Subramanian, Arun   WESTLAW ‐ Research charges; 12/26/2016



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                                                                            Disbursement Detail
Disb ID Date      Orig_Per Disb Code   Disb Desc                                       Matter Base Amt     Tkpr TKPR Name            Narrative                                         Fees
2467210 12/6/2016 201701 RESRCH        Research charges                                015079       $38.32 3315 Subramanian, Arun    WESTLAW ‐ Research charges; 12/6/2016
2467211 12/16/2016 201701 RESRCH       Research charges                                015079       $91.19 3315 Subramanian, Arun    WESTLAW ‐ Research charges; 12/16/2016
2467212 12/23/2016 201701 RESRCH       Research charges                                015079       $58.21 3315 Subramanian, Arun    WESTLAW ‐ Research charges; 12/23/2016
2467600 12/21/2016 201701 DEPEXP       Deposition Expenses                             015079    $2,281.60                           VENDOR: DOCUMENT TECHNOLOGIES LLC (DTI);
                                                                                                                                     INVOICE#: M‐104625; DATE: 12/21/2016 ‐ Deposition
                                                                                                                                     of G. Russo (court reporting), 12/21/16.

2467601   12/7/2016   201701 DEPEXP    Deposition Expenses                             015079     $1,367.70                          VENDOR: DOCUMENT TECHNOLOGIES LLC (DTI);
                                                                                                                                     INVOICE#: M‐102141; DATE: 12/7/2016 ‐ Court
                                                                                                                                     reporter S. Oshea, 12/07/16.
2467602 12/21/2016    201701 DEPEXP    Deposition Expenses                             015079     $2,136.67                          VENDOR: DOCUMENT TECHNOLOGIES LLC (DTI);
                                                                                                                                     INVOICE#: M‐104628; DATE: 12/21/2016 ‐ Deposition
                                                                                                                                     of G. Russo (video), 12/21/16.
2467606   12/9/2016   201701 OSPHOT    Outside Photocopy Services                      015079       $256.56                          VENDOR: EMPIRE DISCOVERY; INVOICE#: INV013375;
                                                                                                                                     DATE: 12/9/2016 ‐ Blowbacks of the Russo patient
                                                                                                                                     files, 12/09/16.
2467615    1/1/2017   201701 Meals     Meals                                           015079        $24.04                          VENDOR: SEAMLESS; INVOICE#: 2566654; DATE:
                                                                                                                                     1/1/2017 ‐ R. Polanco, Dinner expense while working
                                                                                                                                     late at the office, 12/21/16.
2467803 12/30/2016    201701 CPRINT    Color Prints                                    015079         $3.00 3315 Subramanian, Arun   Color Reproduction Print Charges
2470906 12/31/2016    201701 HCTELE    Telephone & Calling Card Expenses               015079        $22.80                          VENDOR: PREMIERE GLOBAL SERVICES; INVOICE#:
                                                                                                                                     22771965; DATE: 12/31/2016 ‐ Conference calls,
                                                                                                                                     12/01/2016 ‐ 12/31/2016.
2471164 1/10/2017     201701 PRINT     B/W Prints                                      015079         $1.20 3315 Subramanian, Arun   Reproduction Copy Charges
2471165 1/10/2017     201701 CPRINT    Color Prints                                    015079        $49.00 3315 Subramanian, Arun   Color Reproduction Print Charges
2471308 12/31/2016    201701 DATA      Data Storage ‐ Outside Service                  015079     $1,578.93                          VENDOR: DOCUMENT TECHNOLOGIES LLC (DTI);
                                                                                                                                     INVOICE#: 986572; DATE: 12/31/2016 ‐ Hosting
                                                                                                                                     (Relativity) Dec., 2016.
2471309 12/31/2016    201701 DEPEXP    Deposition Expenses                             015079     $1,050.00                          VENDOR: DOCUMENT TECHNOLOGIES LLC (DTI);
                                                                                                                                     INVOICE#: M‐106677; DATE: 12/31/2016 ‐
                                                                                                                                     Videography of T. Deer deposition, 12/12/16.
2471310    1/5/2017   201701 DEPEXP    Deposition Expenses                             015079     $2,227.70                          VENDOR: DOCUMENT TECHNOLOGIES LLC (DTI);
                                                                                                                                     INVOICE#: M‐106774; DATE: 1/5/2017 ‐ Court
                                                                                                                                     reporter for T. Deer deposition, 12/12/16.
2471311    1/6/2017   201701 DEPEXP    Deposition Expenses                             015079     $1,927.80                          VENDOR: DOCUMENT TECHNOLOGIES LLC (DTI);
                                                                                                                                     INVOICE#: M‐106771; DATE: 1/6/2017 ‐ Court
                                                                                                                                     reporter for W. Van Halem deposition, 12/09/16.
2471312    1/6/2017   201701 DEPEXP    Deposition Expenses                             015079     $1,393.75                          VENDOR: DOCUMENT TECHNOLOGIES LLC (DTI);
                                                                                                                                     INVOICE#: M‐106772; DATE: 1/6/2017 ‐ Videographer
                                                                                                                                     for W. Van Halem deposition, 01/06/17.

2471669   1/13/2017   201701 PRINT     B/W Prints                                      015079         $4.50 3315 Subramanian, Arun   Reproduction Copy Charges
2471670   1/13/2017   201701 CPRINT    Color Prints                                    015079        $42.00 3315 Subramanian, Arun   Color Reproduction Print Charges
2472211   1/24/2017   201701 PRINT     B/W Prints                                      015079         $6.50 3315 Subramanian, Arun   Reproduction Copy Charges



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                                                                           Disbursement Detail
Disb ID Date     Orig_Per Disb Code Disb Desc                                         Matter Base Amt     Tkpr TKPR Name              Narrative                                              Fees
2472212 1/24/2017 201701 CPRINT     Color Prints                                      015079       $28.00 3315 Subramanian, Arun      Color Reproduction Print Charges
2472380 12/1/2016 201701 EXPERT     Expert Fees                                       015079 $24,327.67                               VENDOR: BAER, RICHARD K.; INVOICE#: 009A; DATE:
                                                                                                                                      12/1/2016 ‐ Professional services rendered for
                                                                                                                                      November, 2016.
2472381    1/1/2017   201701 EXPERT   Expert Fees                                     015079    $19,340.00                            VENDOR: BAER, RICHARD K.; INVOICE#: 010A; DATE:
                                                                                                                                      1/1/2017 ‐ Professional services rendered for
                                                                                                                                      December, 2016.
2472382   1/24/2017   201701 EXPERT   Expert Fees                                     015079    $22,947.50                            VENDOR: THE BRATTLE GROUP; INVOICE#: 042828;
                                                                                                                                      DATE: 1/24/2017 ‐ Expert services through December
                                                                                                                                      31, 2016.
2472866   1/13/2017   201702 RESRCH   Research charges                                015079        $94.72   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 1/13/2017
2472867   1/20/2017   201702 RESRCH   Research charges                                015079        $94.72   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 1/20/2017
2472868   1/23/2017   201702 RESRCH   Research charges                                015079        $75.78   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 1/23/2017
2472869   1/24/2017   201702 RESRCH   Research charges                                015079        $37.89   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 1/24/2017
2472870   1/26/2017   201702 RESRCH   Research charges                                015079        $56.83   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 1/26/2017
2472871   1/27/2017   201702 RESRCH   Research charges                                015079        $37.89   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 1/27/2017
2473269   1/12/2017   201702 RESRCH   Research charges                                015079       $816.45   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 1/12/2017
2473270   1/13/2017   201702 RESRCH   Research charges                                015079        $47.52   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 1/13/2017
2473271   1/16/2017   201702 RESRCH   Research charges                                015079        $23.76   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 1/16/2017
2473272   1/19/2017   201702 RESRCH   Research charges                                015079       $278.30   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 1/19/2017
2473273   1/20/2017   201702 RESRCH   Research charges                                015079       $658.48   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 1/20/2017
2473274   1/23/2017   201702 RESRCH   Research charges                                015079        $82.69   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 1/23/2017
2473275   1/25/2017   201702 RESRCH   Research charges                                015079       $533.98   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 1/25/2017
2473276   1/26/2017   201702 RESRCH   Research charges                                015079       $223.55   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 1/26/2017
2473277   1/27/2017   201702 RESRCH   Research charges                                015079        $23.76   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 1/27/2017
2473785   1/27/2017   201702 PRINT    B/W Prints                                      015079       $363.70   3315 Subramanian, Arun   Reproduction Copy Charges
2473786   1/27/2017   201702 CPRINT   Color Prints                                    015079       $524.00   3315 Subramanian, Arun   Color Reproduction Print Charges
2474191    2/7/2017   201702 GROUND   Ground Transportation (Taxis, car service)      015079        $18.00                            VENDOR: MARY E. RITTER; INVOICE#: 15079/02‐03‐
                                                                                                                                      2017; DATE: 2/7/2017 ‐ Taxi expense while working
                                                                                                                                      late at the office, 02/03/17.
2474199    2/1/2017   201702 EXPERT   Expert Fees                                     015079     $3,825.00                            VENDOR: BAER, RICHARD K.; INVOICE#: 011; DATE:
                                                                                                                                      2/1/2017 ‐ Professional services rendered for January,
                                                                                                                                      2017.
2474355    2/6/2017   201702 PRINT    B/W Prints                                      015079         $1.60 3315 Subramanian, Arun     Reproduction Copy Charges
2474356    2/6/2017   201702 CPRINT   Color Prints                                    015079        $79.00 3315 Subramanian, Arun     Color Reproduction Print Charges
2474643   2/10/2017   201702 HCMSGR   Messenger/Delivery Services                     015079        $48.95                            VENDOR: ADMIRAL COURIER SERVICES; INVOICE#:
                                                                                                                                      33025; DATE: 2/10/2017
2474644   2/10/2017   201702 HCMSGR   Messenger/Delivery Services                     015079       $195.00                            VENDOR: ADMIRAL COURIER SERVICES; INVOICE#:
                                                                                                                                      33025; DATE: 2/10/2017
2474721   1/29/2017   201702 EXPERT   Expert Fees                                     015079    $32,147.50                            VENDOR: GREYLOCK MCKINNON ASSOCIATES;
                                                                                                                                      INVOICE#: 18087; DATE: 1/29/2017
2474803   1/31/2017   201702 HCTELE   Telephone & Calling Card Expenses               015079         $1.85                            VENDOR: PREMIERE GLOBAL SERVICES; INVOICE#:
                                                                                                                                      22974264; DATE: 1/31/2017 ‐ Conference calls,
                                                                                                                                      01/01/2017 ‐ 01/31/2017.



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                                                                           Disbursement Detail
Disb ID Date     Orig_Per Disb Code Disb Desc                                         Matter Base Amt    Tkpr TKPR Name               Narrative                                            Fees
2474902 2/14/2017 201702 FFEE       Filing Fees                                       015079     $212.00                              VENDOR: MARK MUSICO; INVOICE#: 15079/02‐10‐
                                                                                                                                      2017; DATE: 2/14/2017 ‐ New Jersey Lawyers Fund for
                                                                                                                                      Client Protection (yearly fee for practicing in NJ),
                                                                                                                                      02/10/17.
2474905   2/14/2017   201702 FFEE     Filing Fees                                     015079       $212.00                            VENDOR: GERVAIS, MICHAEL; INVOICE#: 15079/02‐10‐
                                                                                                                                      2017; DATE: 2/14/2017 ‐ New Jersey Lawyers Fund for
                                                                                                                                      Client Protection (yearly fee for practicing in NJ),
                                                                                                                                      02/10/17.
2474907   2/14/2017   201702 GROUND   Ground Transportation (Taxis, car service)      015079       $116.73                            VENDOR: MARY E. RITTER; INVOICE#: 15079/02‐02‐
                                                                                                                                      2017; DATE: 2/14/2017 ‐ Taxi expense while working
                                                                                                                                      late at the office, 02/02, 02/03, and 02/12/17.

2478065   2/13/2017   201702 PRINT    B/W Prints                                      015079         $2.70 3315 Subramanian, Arun     Reproduction Copy Charges
2478066   2/13/2017   201702 CPRINT   Color Prints                                    015079      $122.00 3315 Subramanian, Arun      Color Reproduction Print Charges
2478360   1/31/2017   201702 DATA     Data Storage ‐ Outside Service                  015079     $1,368.93                            VENDOR: DOCUMENT TECHNOLOGIES LLC (DTI);
                                                                                                                                      INVOICE#: 990363; DATE: 1/31/2017 ‐ Hosting
                                                                                                                                      (Relativity), 01/31/17.
2478567   2/20/2017   201702 PRINT    B/W Prints                                      015079         $2.10 3315 Subramanian, Arun     Reproduction Copy Charges
2478568   2/20/2017   201702 CPRINT   Color Prints                                    015079      $134.00 3315 Subramanian, Arun      Color Reproduction Print Charges
2478880   2/28/2017   201702 MEDFEE   Mediation Fees and Expenses                     015079    ($1,800.00)                           Saiber LLC‐ refunding overpayment re medication fee
                                                                                                                                      posted to SG invoice #257410 dated 07/27/2016.

2479111   2/16/2017   201703 RESRCH   Research charges                                015079        $72.78   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 2/16/2017
2479112   2/17/2017   201703 RESRCH   Research charges                                015079      $168.54    3315 Subramanian, Arun   WESTLAW ‐ Research charges; 2/17/2017
2479113   2/21/2017   201703 RESRCH   Research charges                                015079        $18.20   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 2/21/2017
2479114   2/24/2017   201703 RESRCH   Research charges                                015079      $163.77    3315 Subramanian, Arun   WESTLAW ‐ Research charges; 2/24/2017
2479507    2/6/2017   201703 RESRCH   Research charges                                015079        $88.73   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 2/6/2017
2479508   2/10/2017   201703 RESRCH   Research charges                                015079        $36.15   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 2/10/2017
2479509   2/16/2017   201703 RESRCH   Research charges                                015079      $444.41    3315 Subramanian, Arun   WESTLAW ‐ Research charges; 2/16/2017
2479510   2/21/2017   201703 RESRCH   Research charges                                015079        $54.23   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 2/21/2017
2479511   2/22/2017   201703 RESRCH   Research charges                                015079        $36.15   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 2/22/2017
2479512   2/23/2017   201703 RESRCH   Research charges                                015079        $18.08   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 2/23/2017
2479513   2/24/2017   201703 RESRCH   Research charges                                015079        $12.60   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 2/24/2017
2479862    3/1/2017   201703 EXPERT   Expert Fees                                     015079     $1,615.50                            VENDOR: BAER, RICHARD K.; INVOICE#: 012; DATE:
                                                                                                                                      3/1/2017 ‐ Professional services for February, 2017.

2479867   1/31/2017   201703 OSPHOT   Outside Photocopy Services                      015079       $165.54                            VENDOR: EMPIRE DISCOVERY; INVOICE#: INV014038;
                                                                                                                                      DATE: 1/31/2017 ‐ Blowbacks for M. Gervais,
                                                                                                                                      01/31/17.
2479893   2/27/2017   201703 PHOTO    B/W Photocopies                                 015079         $0.20 3315 Subramanian, Arun     Reproduction Copy Charges
2479982   2/24/2017   201703 PRINT    B/W Prints                                      015079      $724.90 3315 Subramanian, Arun      Reproduction Copy Charges
2479983   2/24/2017   201703 CPRINT   Color Prints                                    015079     $2,202.00 3315 Subramanian, Arun     Color Reproduction Print Charges




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                                                               015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                            Disbursement Detail
Disb ID Date     Orig_Per Disb Code Disb Desc                                          Matter Base Amt    Tkpr TKPR Name               Narrative                                           Fees
2483271 2/28/2017 201703 HCTELE     Telephone & Calling Card Expenses                  015079       $6.36                              VENDOR: PREMIERE GLOBAL SERVICES; INVOICE#:
                                                                                                                                       23160724; DATE: 2/28/2017 ‐ Conference calls,
                                                                                                                                       02/01/2017 ‐ 02/28/2017.
2483722    3/3/2017   201703 PRINT     B/W Prints                                      015079         $0.70 3315 Subramanian, Arun     Reproduction Copy Charges
2483802   3/13/2017   201703 PRINT     B/W Prints                                      015079         $2.00 3315 Subramanian, Arun     Reproduction Copy Charges
2483803   3/13/2017   201703 CPRINT    Color Prints                                    015079         $1.00 3315 Subramanian, Arun     Color Reproduction Print Charges
2483891   3/13/2017   201703 GROUND    Ground Transportation (Taxis, car service)      015079        $55.05                            VENDOR: GERVAIS, MICHAEL; INVOICE#: 015079/02‐16‐
                                                                                                                                       17; DATE: 3/13/2017 ‐ Late night taxis on 2/16/17 &
                                                                                                                                       2/22/17
2483917   2/28/2017   201703 DATA      Data Storage ‐ Outside Service                  015079     $1,438.93                            VENDOR: DOCUMENT TECHNOLOGIES LLC (DTI);
                                                                                                                                       INVOICE#: 995630; DATE: 2/28/2017 ‐ Hosting
                                                                                                                                       relativity, 02/28/17.
2483933 11/29/2016    201703 DEPEXP    Deposition Expenses                             015079     $1,836.19                            VENDOR: GOLKOW TECHNOLOGIES, INC.; INVOICE#:
                                                                                                                                       250448; DATE: 11/29/2016 ‐ 1 Certified copy of
                                                                                                                                       transcript of Richard K. Baer, MD., 11/29/16.

2484513   3/21/2017   201703 CPRINT    Color Prints                                    015079        $32.00   3315 Subramanian, Arun   Color Reproduction Print Charges
2485438    3/1/2017   201703 RESRCH    Research charges                                015079        $35.22   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 3/1/2017
2485439    3/2/2017   201703 RESRCH    Research charges                                015079        $17.61   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 3/2/2017
2485440   3/13/2017   201703 RESRCH    Research charges                                015079      $163.12    3315 Subramanian, Arun   WESTLAW ‐ Research charges; 3/13/2017
2485441   3/14/2017   201703 RESRCH    Research charges                                015079        $65.10   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 3/14/2017
2485442   3/20/2017   201703 RESRCH    Research charges                                015079        $88.05   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 3/20/2017
2485443   3/21/2017   201703 RESRCH    Research charges                                015079        $70.44   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 3/21/2017
2485444   3/22/2017   201703 RESRCH    Research charges                                015079      $114.91    3315 Subramanian, Arun   WESTLAW ‐ Research charges; 3/22/2017
2485874   3/14/2017   201703 RESRCH    Research charges                                015079        $47.18   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 3/14/2017
2485875   3/16/2017   201703 RESRCH    Research charges                                015079      $492.29    3315 Subramanian, Arun   WESTLAW ‐ Research charges; 3/16/2017
2485876   3/20/2017   201703 RESRCH    Research charges                                015079      $165.92    3315 Subramanian, Arun   WESTLAW ‐ Research charges; 3/20/2017
2485877   3/21/2017   201703 RESRCH    Research charges                                015079      $588.78    3315 Subramanian, Arun   WESTLAW ‐ Research charges; 3/21/2017
2485878   3/22/2017   201703 RESRCH    Research charges                                015079      $480.81    3315 Subramanian, Arun   WESTLAW ‐ Research charges; 3/22/2017
2485879   3/23/2017   201703 RESRCH    Research charges                                015079     $1,094.85   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 3/23/2017
2486239   3/31/2017   201703 SECOT     Secretarial Overtime                            015079        $60.00   9041 DaCosta, Caroline   Secretarial Overtime, C. DaCosta, 02/27/17 ‐
                                                                                                                                       Downloading, renaming and circulation filings Docket
                                                                                                                                       No. 312‐320. Printing and organizing hard copies for
                                                                                                                                       hand delivery to the court (District of New Jersey).

2490015   3/31/2017   201704 DATA      Data Storage ‐ Outside Service                  015079     $1,368.93                            VENDOR: DOCUMENT TECHNOLOGIES LLC (DTI);
                                                                                                                                       INVOICE#: 1002347; DATE: 3/31/2017 ‐ Monthly
                                                                                                                                       storage fee, 03/31/17.
2490117   4/11/2017   201704 PRINT     B/W Prints                                      015079        $91.80 3315 Subramanian, Arun     Reproduction Copy Charges
2490885    3/9/2017   201704 HCMSGR    Messenger/Delivery Services                     015079       $195.00                            VENDOR: ADMIRAL COURIER SERVICES; INVOICE#:
                                                                                                                                       33249; DATE: 3/9/2017
2491907   4/13/2017   201705 RESRCH    Research charges                                015079        $32.37 3315 Subramanian, Arun     WESTLAW ‐ Research charges; 4/13/2017
2498856    6/1/2017   201706 CPRINT    Color Prints                                    015079       $147.00 3315 Subramanian, Arun     Color Reproduction Print Charges
2499093    6/2/2017   201706 CPRINT    Color Prints                                    015079        $66.00 3315 Subramanian, Arun     Color Reproduction Print Charges



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                                                                            Disbursement Detail
Disb ID Date     Orig_Per Disb Code Disb Desc                                          Matter Base Amt    Tkpr TKPR Name             Narrative                                           Fees
2499670 5/31/2017 201706 DATA       Data Storage ‐ Outside Service                     015079     $698.93                            VENDOR: DOCUMENT TECHNOLOGIES LLC (DTI);
                                                                                                                                     INVOICE#: 1015148; DATE: 5/31/2017 ‐ Monthly
                                                                                                                                     Storage Fee, 05/31/17.
2499672   4/30/2017   201706 DATA      Data Storage ‐ Outside Service                  015079     $1,298.93                          VENDOR: DOCUMENT TECHNOLOGIES LLC (DTI);
                                                                                                                                     INVOICE#: 1007645; DATE: 4/30/2017 ‐ Monthly
                                                                                                                                     Storage Fee, 04/30/17.
2508953   7/20/2017   201707 FFEE      Filing Fees                                     015079       $252.00                          VENDOR: CARMODY, WILLIAM; INVOICE#: 015079/07‐
                                                                                                                                     20‐17; DATE: 7/20/2017 ‐ NJ Lawyers Fund for Client
                                                                                                                                     Protection /NJ Courts Annual fee to maintain PHV
                                                                                                                                     appearance
2509011   7/20/2017   201707 FFEE      Filing Fees                                     015079       $252.00                          VENDOR: SUBRAMANIAN, ARUN; INVOICE#: 015079/07‐
                                                                                                                                     20‐17; DATE: 7/20/2017 ‐ NJ Lawyers Fund for Client
                                                                                                                                     Protection/ NJ Courts annual fee to maintain PHV
                                                                                                                                     appearance
2526758 10/18/2017    201710 PRINT     B/W Prints                                      015079         $2.60 3315 Subramanian, Arun   Reproduction Copy Charges
2526759 10/18/2017    201710 CPRINT    Color Prints                                    015079        $66.00 3315 Subramanian, Arun   Color Reproduction Print Charges
2527071 10/18/2017    201710 HCMSGR    Messenger/Delivery Services                     015079        $31.20 3315 Subramanian, Arun   Vendor: FEDEX, Invoice Number: 596877366, Shipper:
                                                                                                                                     Caroline DaCosta, Recipient: Judge John Michael
                                                                                                                                     Vazquez, Tracking #: 770532087810, Ship Date:
                                                                                                                                     10/18/2017
2527072 10/18/2017    201710 HCMSGR    Messenger/Delivery Services                     015079        $30.75 3315 Subramanian, Arun   Vendor: FEDEX, Invoice Number: 596877366, Shipper:
                                                                                                                                     Caroline DaCosta, Recipient: Judge John Michael
                                                                                                                                     Vazquez, Tracking #: 770532088014, Ship Date:
                                                                                                                                     10/18/2017
2527073 10/18/2017    201710 HCMSGR    Messenger/Delivery Services                     015079        $26.67 3315 Subramanian, Arun   Vendor: FEDEX, Invoice Number: 596877366, Shipper:
                                                                                                                                     Caroline DaCosta, Recipient: Judge John Michael
                                                                                                                                     Vazquez, Tracking #: 770532088194, Ship Date:
                                                                                                                                     10/18/2017
2540931   6/30/2017   201712 DATA      Data Storage ‐ Outside Service                  015079       $120.00                          VENDOR: DOCUMENT TECHNOLOGIES LLC (DTI);
                                                                                                                                     INVOICE#: 1019403; DATE: 6/30/2017 ‐ Hosting,
                                                                                                                                     06/30/17.
2540943 10/20/2017    201712 OSPHOT    Outside Photocopy Services                      015079     $1,222.78                          VENDOR: EMPIRE DISCOVERY; INVOICE#: INV017199;
                                                                                                                                     DATE: 10/20/2017 ‐ Blowbacks, 10/20/17.

2543074 12/20/2017    201712 RESRCH    Research charges                                015079         $9.86 3315 Subramanian, Arun   WESTLAW ‐ Research charges; 12/20/2017
2545733 1/16/2018     201801 CPRINT    Color Prints                                    015079        $84.00 3315 Subramanian, Arun   Color Reproduction Print Charges
2545808 1/22/2018     201801 TRAVEL    Travel Expenses                                 015079       $331.79                          VENDOR: BAHNSEN, WENDY A.; INVOICE#: 015079/01‐
                                                                                                                                     22‐18; DATE: 1/22/2018 ‐ Client travel to New Jersey ‐
                                                                                                                                     Reimbursement
2545884   1/19/2018   201801 TRAVEL    Travel Expenses                                 015079     $1,613.20                          VENDOR: FLORES, KIMBERLY A.; INVOICE#: 015079/01‐
                                                                                                                                     19‐18; DATE: 1/19/2018 ‐ Airfare for flights to Newark
                                                                                                                                     for W. Bahsen and C. Fuentes




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                                                                            Disbursement Detail
Disb ID Date     Orig_Per Disb Code Disb Desc                                          Matter Base Amt    Tkpr TKPR Name               Narrative                                            Fees
2546410 1/23/2018 201801 FFEE       Filing Fees                                        015079     $106.00 3315 Subramanian, Arun       VENDOR: SUBRAMANIAN, ARUN INVOICE#:
                                                                                                                                       2251617201242328 DATE: 1/24/2018 New Jersey Pro
                                                                                                                                       Hac Vice Appearance annual attorney registration fee
                                                                                                                                       split btwn BSNC and Nasdaq/MIAX for 2018. ‐ Filing
                                                                                                                                       Fees for Arun Subramanian on 01/23/18

2546461   1/18/2018   201801 GROUND    Ground Transportation (Taxis, car service)      015079       $101.05 3315 Subramanian, Arun     VENDOR: SUBRAMANIAN, ARUN INVOICE#:
                                                                                                                                       2241660201242328 DATE: 1/24/2018 Attending
                                                                                                                                       hearing ‐ Taxi for Arun Subramanian on 01/18/18
2546462   1/18/2018   201801 GROUND    Ground Transportation (Taxis, car service)      015079       $112.17 3315 Subramanian, Arun     VENDOR: SUBRAMANIAN, ARUN INVOICE#:
                                                                                                                                       2241660201242328 DATE: 1/24/2018 Attending
                                                                                                                                       hearing ‐ Taxi for Arun Subramanian on 01/18/18
2546657   1/23/2018   201801 FFEE      Filing Fees                                     015079       $212.00 2901 Carmody, Bill         VENDOR: CARMODY, WILLIAM INVOICE#:
                                                                                                                                       2251692701242328 DATE: 1/24/2018 PHV Appearance
                                                                                                                                       in NJ annual attorney registration fee 2018. ‐ Filing
                                                                                                                                       Fees for Bill Carmody on 01/23/18

2547613   1/24/2018   201801 FFEE      Filing Fees                                     015079       $212.00 4142 Musico, Mark          VENDOR: MUSICO, MARK INVOICE#:
                                                                                                                                       2256467501312044 DATE: 1/31/2018 NJ Lawyers'
                                                                                                                                       Fund Registration ‐ Pro Hac Vice Fee ‐ Filing Fees for
                                                                                                                                       Mark Musico on 01/24/18
2547676   1/18/2018   201801 GROUND    Ground Transportation (Taxis, car service)      015079        $31.00 2670 Gervais, Michael      VENDOR: GERVAIS, MICHAEL INVOICE#:
                                                                                                                                       2255430901312044 DATE: 1/31/2018 Car service from
                                                                                                                                       court. ‐ Taxi for Michael Gervais on 01/18/18
2549910   1/11/2018   201802 RESRCH    Research charges                                015079        $36.61 3315 Subramanian, Arun     WESTLAW ‐ Research charges; 1/11/2018
2549911   1/23/2018   201802 RESRCH    Research charges                                015079       $336.91 3315 Subramanian, Arun     WESTLAW ‐ Research charges; 1/23/2018
2555609   1/31/2018   201802 GROUND    Ground Transportation (Taxis, car service)      015079       $113.78                            VENDOR: DIALCAR INC; INVOICE#: 1246324; DATE:
                                                                                                                                       1/31/2018 ‐ W. Broad, Ground transportation to 2
                                                                                                                                       Federal Sq. Newark, NY., 01/18/18.
2562621   2/20/2018   201803 RESRCH    Research charges                                015079        $17.39   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 2/20/2018
2562622   2/27/2018   201803 RESRCH    Research charges                                015079        $34.77   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 2/27/2018
2569652   3/28/2018   201803 CPRINT    Color Prints                                    015079         $5.00   3315 Subramanian, Arun   Color Reproduction Print Charges
2572335    4/5/2018   201804 PRINT     B/W Prints                                      015079        $14.40   3315 Subramanian, Arun   Reproduction Copy Charges
2572336    4/5/2018   201804 CPRINT    Color Prints                                    015079       $325.00   3315 Subramanian, Arun   Color Reproduction Print Charges
2573279    4/6/2018   201804 PRINT     B/W Prints                                      015079        $20.60   3315 Subramanian, Arun   Reproduction Copy Charges
2573280    4/6/2018   201804 CPRINT    Color Prints                                    015079        $76.00   3315 Subramanian, Arun   Color Reproduction Print Charges
2574102   4/17/2018   201804 PRINT     B/W Prints                                      015079         $6.90   3315 Subramanian, Arun   Reproduction Copy Charges
2577331   4/22/2018   201804 MEALS     Meals                                           015079       $299.88                            VENDOR: SEAMLESS; INVOICE#: 2894677; DATE:
                                                                                                                                       4/22/2018 ‐ R. Robinson, L. Reynolds, F. Galant,
                                                                                                                                       MMUS, MGER and ASUB 4/19/18
2577332   4/22/2018   201804 MEALS     Meals                                           015079       $186.90                            VENDOR: SEAMLESS; INVOICE#: 2894677; DATE:
                                                                                                                                       4/22/2018 ‐ BCAR, ASUB, MMUS and MGER meeting
                                                                                                                                       4/5/18




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                                                                           Disbursement Detail
Disb ID Date     Orig_Per Disb Code Disb Desc                                         Matter Base Amt    Tkpr TKPR Name               Narrative                                           Fees
2577515 4/20/2018 201804 FFEE       Filing Fees                                       015079     $554.00 4024 Connors, Jordan         VENDOR: CONNORS, JORDAN INVOICE#:
                                                                                                                                      2437210904241325 DATE: 4/24/2018 New Jersey
                                                                                                                                      Lawyer's Fund Registration for 2017 & 2018 ‐ Filing
                                                                                                                                      Fees for Jordan Connors on 04/20/18
2578105   4/24/2018   201804 PHOTO    B/W Photocopies                                 015079        $52.20   3315 Subramanian, Arun   Reproduction Copy Charges
2578160   4/20/2018   201804 PRINT    B/W Prints                                      015079        $44.40   3315 Subramanian, Arun   Reproduction Copy Charges
2578161   4/20/2018   201804 CPRINT   Color Prints                                    015079     $1,128.00   3315 Subramanian, Arun   Color Reproduction Print Charges
2579238   4/11/2018   201805 RESRCH   Research charges                                015079        $47.95   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 4/11/2018
2579239   4/16/2018   201805 RESRCH   Research charges                                015079        $31.79   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 4/16/2018
2579698    4/2/2018   201805 RESRCH   Research charges                                015079        $57.98   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 4/2/2018
2579699    4/5/2018   201805 RESRCH   Research charges                                015079      $143.69    3315 Subramanian, Arun   WESTLAW ‐ Research charges; 4/5/2018
2579700    4/9/2018   201805 RESRCH   Research charges                                015079      $361.46    3315 Subramanian, Arun   WESTLAW ‐ Research charges; 4/9/2018
2579701   4/10/2018   201805 RESRCH   Research charges                                015079        $15.72   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 4/10/2018
2579702   4/11/2018   201805 RESRCH   Research charges                                015079      $184.10    3315 Subramanian, Arun   WESTLAW ‐ Research charges; 4/11/2018
2580543   4/27/2018   201805 PRINT    B/W Prints                                      015079        $14.40   3315 Subramanian, Arun   Reproduction Copy Charges
2580544   4/27/2018   201805 CPRINT   Color Prints                                    015079     $1,904.00   3315 Subramanian, Arun   Color Reproduction Print Charges
2580926    5/4/2018   201805 HCMSGR   Messenger/Delivery Services                     015079        $25.40                            VENDOR: ADMIRAL COURIER SERVICES; INVOICE#:
                                                                                                                                      36859; DATE: 5/4/2018 ‐ B. Carmody, 04/24/18.
2581442   4/30/2018   201805 HCTELE   Telephone & Calling Card Expenses               015079         $5.36                            VENDOR: PREMIERE GLOBAL SERVICES; INVOICE#:
                                                                                                                                      25779227; DATE: 4/30/2018 ‐ Conference calls,
                                                                                                                                      04/01/2018 ‐ 04/30/2018.
2581852   4/30/2018   201805 HCTELE   Telephone & Calling Card Expenses               015079         $5.49                            VENDOR: PREMIERE GLOBAL SERVICES; INVOICE#:
                                                                                                                                      25779227; DATE: 4/30/2018 ‐ Conference calls,
                                                                                                                                      04/01/2018 ‐ 04/30/2018.
2581952    5/8/2018   201805 AIR      Air Travel                                      015079       $998.01 4024 Connors, Jordan       VENDOR: CONNORS, JORDAN INVOICE#:
                                                                                                                                      2477288205091918 DATE: 5/9/2018 Travel to Burbank
                                                                                                                                      on 4/13/18 ‐ Airfare for Jordan Connors on 05/08/18

2581953    5/8/2018   201805 GROUND   Ground Transportation (Taxis, car service)      015079       $151.65 4024 Connors, Jordan       VENDOR: CONNORS, JORDAN INVOICE#:
                                                                                                                                      2477288205091918 DATE: 5/9/2018 Travel to Burbank
                                                                                                                                      on 4/13/18 ‐ Car Rental for Jordan Connors on
                                                                                                                                      05/08/18
2581954    5/8/2018   201805 GROUND   Ground Transportation (Taxis, car service)      015079         $9.23 4024 Connors, Jordan       VENDOR: CONNORS, JORDAN INVOICE#:
                                                                                                                                      2477288205091918 DATE: 5/9/2018 Travel to Burbank
                                                                                                                                      on 4/13/18 ‐ Car Rental Fuel for Jordan Connors on
                                                                                                                                      05/08/18
2581955   4/13/2018   201805 PARKIN   Parking                                         015079        $30.00 4024 Connors, Jordan       VENDOR: CONNORS, JORDAN INVOICE#:
                                                                                                                                      2477288205091918 DATE: 5/9/2018 Travel to Burbank
                                                                                                                                      on 4/13/18 ‐ Parking for Jordan Connors on 04/13/18

2581956   4/13/2018   201805 MILEAG   Mileage (Travel)                                015079        $16.35 4024 Connors, Jordan       VENDOR: CONNORS, JORDAN INVOICE#:
                                                                                                                                      2477288205091918 DATE: 5/9/2018 Travel to Burbank
                                                                                                                                      on 4/13/18 ‐ Mileage‐Airport for Jordan Connors on
                                                                                                                                      04/13/18



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                                                                             Disbursement Detail
Disb ID Date      Orig_Per Disb Code   Disb Desc                                        Matter Base Amt     Tkpr TKPR Name            Narrative                                       Fees
2582282   5/4/2018 201805 PHOTO        B/W Photocopies                                  015079        $0.80 3315 Subramanian, Arun    Reproduction Copy Charges
2582329   5/4/2018 201805 PRINT        B/W Prints                                       015079       $25.40 3315 Subramanian, Arun    Reproduction Copy Charges
2582330   5/4/2018 201805 CPRINT       Color Prints                                     015079    $1,373.00 3315 Subramanian, Arun    Color Reproduction Print Charges
2583478 5/11/2018 201805 GROUND        Ground Transportation (Taxis, car service)       015079       $71.13 4262 Ethridge, Jason      VENDOR: Ethridge, Jason INVOICE#:
                                                                                                                                      2489589405152110 DATE: 5/15/2018 Attending mock
                                                                                                                                      trial. ‐ Taxi for Jason Ethridge on 05/11/18
2583479   5/11/2018   201805 GROUND    Ground Transportation (Taxis, car service)       015079        $80.39 4262 Ethridge, Jason     VENDOR: Ethridge, Jason INVOICE#:
                                                                                                                                      2489589405152110 DATE: 5/15/2018 Attending mock
                                                                                                                                      trial. ‐ Taxi for Jason Ethridge on 05/11/18
2583684   5/11/2018   201805 GROUND    Ground Transportation (Taxis, car service)       015079       $114.44 3315 Subramanian, Arun   VENDOR: SUBRAMANIAN, ARUN INVOICE#:
                                                                                                                                      2488344505152110 DATE: 5/15/2018 Attending mock
                                                                                                                                      trial. ‐ Taxi for Arun Subramanian on 05/11/18

2583685   5/11/2018   201805 GROUND    Ground Transportation (Taxis, car service)       015079       $176.50 3315 Subramanian, Arun   VENDOR: SUBRAMANIAN, ARUN INVOICE#:
                                                                                                                                      2488344505152110 DATE: 5/15/2018 Attending mock
                                                                                                                                      trial with M. Gervais and M. Musico. ‐ Taxi for Arun
                                                                                                                                      Subramanian on 05/11/18
2587069   5/11/2018   201805 MEALS     Meals                                            015079       $515.31 2901 Carmody, Bill       VENDOR: CARMODY, WILLIAM INVOICE#:
                                                                                                                                      2493845405162031 DATE: 5/16/2018 Attending mock
                                                                                                                                      trial. ‐ Lunch on 05/11/18 with Reiko Hausike; Arun
                                                                                                                                      Subramanian; Michael Gervais; Mark Musico; Jordan
                                                                                                                                      Connors; Jason Ethridge
2587070   5/11/2018   201805 MEALS     Meals                                            015079        $94.66 2901 Carmody, Bill       VENDOR: CARMODY, WILLIAM INVOICE#:
                                                                                                                                      2493845405162031 DATE: 5/16/2018 Attending mock
                                                                                                                                      trial. ‐ Lunch on 05/11/18 with Reiko Hausike; Arun
                                                                                                                                      Subramanian; Michael Gervais; Mark Musico; Jordan
                                                                                                                                      Connors; Jason Ethridge
2587071   5/11/2018   201805 MEALS     Meals                                            015079        $16.57 2901 Carmody, Bill       VENDOR: CARMODY, WILLIAM INVOICE#:
                                                                                                                                      2493845405162031 DATE: 5/16/2018 Attending mock
                                                                                                                                      trial. ‐ Lunch on 05/11/18 with Reiko Hausike; Arun
                                                                                                                                      Subramanian; Michael Gervais; Mark Musico; Jason
                                                                                                                                      Ethridge; Jordan Connors
2587100   5/15/2018   201805 CTRPT     Court Reporter Expense                           015079       $218.25 3315 Subramanian, Arun   VENDOR: SUBRAMANIAN, ARUN INVOICE#:
                                                                                                                                      2492761205162031 DATE: 5/16/2018 Transcript of
                                                                                                                                      4/30/18 hearing. ‐ Court Reporter Expense for Arun
                                                                                                                                      Subramanian on 05/15/18
2587212   5/13/2018   201805 PRINT     B/W Prints                                       015079        $23.50 3315 Subramanian, Arun   Reproduction Copy Charges
2587213   5/13/2018   201805 CPRINT    Color Prints                                     015079       $765.00 3315 Subramanian, Arun   Color Reproduction Print Charges
2587826   5/21/2018   201805 MEALS     Meals                                            015079       $240.25 9243 Hickman, Karisha    VENDOR: HICKMAN, KARISHA INVOICE#:
                                                                                                                                      2504509205221434 DATE: 5/22/2018 Preparing for
                                                                                                                                      trial. ‐ Lunch on 05/21/18 with Bill Carmody; Mark
                                                                                                                                      Musico; Michael Gervais; Arun Subramanian
2588307   5/18/2018   201805 PRINT     B/W Prints                                       015079       $117.00 3315 Subramanian, Arun   Reproduction Copy Charges
2588308   5/18/2018   201805 CPRINT    Color Prints                                     015079        $42.00 3315 Subramanian, Arun   Color Reproduction Print Charges



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                                                               015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                            Disbursement Detail
Disb ID Date     Orig_Per Disb Code Disb Desc                                          Matter Base Amt     Tkpr TKPR Name              Narrative                                            Fees
2588463 5/24/2018 201805 HCMSGR Messenger/Delivery Services                            015079       $22.79 3315 Subramanian, Arun      Vendor: FEDEX, Invoice Number: 619556947, Shipper:
                                                                                                                                       Caroline DaCosta, Recipient: Magistrate Judge Steven
                                                                                                                                       C. Man, Tracking #: 772318167961, Ship Date:
                                                                                                                                       5/24/2018
2589002   5/11/2018   201805 GROUND    Ground Transportation (Taxis, car service)      015079        $68.19 4142 Musico, Mark          VENDOR: MUSICO, MARK INVOICE#:
                                                                                                                                       2483657705301216 DATE: 5/30/2018 Attending mock
                                                                                                                                       trial. ‐ Taxi for Mark Musico on 05/11/18
2589296   5/29/2018   201805 PRINT     B/W Prints                                      015079        $33.20   3315 Subramanian, Arun   Reproduction Copy Charges
2589297   5/29/2018   201805 CPRINT    Color Prints                                    015079        $91.00   3315 Subramanian, Arun   Color Reproduction Print Charges
2590239    5/9/2018   201806 RESRCH    Research charges                                015079        $16.12   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 5/9/2018
2590240   5/22/2018   201806 RESRCH    Research charges                                015079        $80.59   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 5/22/2018
2590241   5/25/2018   201806 RESRCH    Research charges                                015079        $16.12   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 5/25/2018
2591425    5/9/2018   201806 HOTEL     Hotels (Travel)                                 015079       $494.00   4024 Connors, Jordan     VENDOR: CONNORS, JORDAN INVOICE#:
                                                                                                                                       2528581506051605 DATE: 6/5/2018 Travel to NY for
                                                                                                                                       Mock Trial ‐ Hotel ‐ Lodging for Jordan Connors on
                                                                                                                                       05/09/18
2591426   5/10/2018   201806 HOTEL     Hotels (Travel)                                 015079       $494.00 4024 Connors, Jordan       VENDOR: CONNORS, JORDAN INVOICE#:
                                                                                                                                       2528581506051605 DATE: 6/5/2018 Travel to NY for
                                                                                                                                       Mock Trial ‐ Hotel ‐ Lodging for Jordan Connors on
                                                                                                                                       05/10/18
2591427    5/9/2018   201806 MEALS     Meals                                           015079        $57.71 4024 Connors, Jordan       VENDOR: CONNORS, JORDAN INVOICE#:
                                                                                                                                       2528581506051605 DATE: 6/5/2018 Travel to NY for
                                                                                                                                       Mock Trial ‐ Hotel ‐ Dinner on 05/09/18
2591428   5/31/2018   201806 MEALS     Meals                                           015079        $35.55 4024 Connors, Jordan       VENDOR: CONNORS, JORDAN INVOICE#:
                                                                                                                                       2528581506051605 DATE: 6/5/2018 Travel to NY for
                                                                                                                                       Mock Trial ‐ Hotel ‐ Meals Other on 05/31/18
2591429   5/31/2018   201806 HOTEL     Hotels (Travel)                                 015079       $185.10 4024 Connors, Jordan       VENDOR: CONNORS, JORDAN INVOICE#:
                                                                                                                                       2528581506051605 DATE: 6/5/2018 Travel to NY for
                                                                                                                                       Mock Trial ‐ Hotel ‐ Room Tax for Jordan Connors on
                                                                                                                                       05/31/18
2591430    5/9/2018   201806 AIR       Air Travel                                      015079     $1,596.40 4024 Connors, Jordan       VENDOR: CONNORS, JORDAN INVOICE#:
                                                                                                                                       2528581506051605 DATE: 6/5/2018 Travel to NY for
                                                                                                                                       Mock Trial ‐ Airfare for Jordan Connors on 05/09/18

2591431   5/11/2018   201806 GROUND    Ground Transportation (Taxis, car service)      015079        $68.65 4024 Connors, Jordan       VENDOR: CONNORS, JORDAN INVOICE#:
                                                                                                                                       2528581506051605 DATE: 6/5/2018 Travel to NY for
                                                                                                                                       Mock Trial ‐ Taxi for Jordan Connors on 05/11/18

2591432   5/11/2018   201806 GROUND    Ground Transportation (Taxis, car service)      015079        $47.78 4024 Connors, Jordan       VENDOR: CONNORS, JORDAN INVOICE#:
                                                                                                                                       2528581506051605 DATE: 6/5/2018 Travel to NY for
                                                                                                                                       Mock Trial ‐ Taxi for Jordan Connors on 05/11/18




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                                                               015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                            Disbursement Detail
Disb ID Date      Orig_Per Disb Code Disb Desc                                         Matter Base Amt     Tkpr TKPR Name            Narrative                                            Fees
2591433   5/9/2018 201806 MEALS      Meals                                             015079       $64.71 4024 Connors, Jordan      VENDOR: CONNORS, JORDAN INVOICE#:
                                                                                                                                     2528581506051605 DATE: 6/5/2018 Travel to NY for
                                                                                                                                     Mock Trial ‐ Lunch on 05/09/18
2591434    5/9/2018   201806 MEALS     Meals                                           015079       $107.89 4024 Connors, Jordan     VENDOR: CONNORS, JORDAN INVOICE#:
                                                                                                                                     2528581506051605 DATE: 6/5/2018 Travel to NY for
                                                                                                                                     Mock Trial ‐ Dinner on 05/09/18
2591435   5/11/2018   201806 MEALS     Meals                                           015079        $32.51 4024 Connors, Jordan     VENDOR: CONNORS, JORDAN INVOICE#:
                                                                                                                                     2528581506051605 DATE: 6/5/2018 Travel to NY for
                                                                                                                                     Mock Trial ‐ Lunch on 05/11/18
2591436   5/11/2018   201806 MEALS     Meals                                           015079         $9.47 4024 Connors, Jordan     VENDOR: CONNORS, JORDAN INVOICE#:
                                                                                                                                     2528581506051605 DATE: 6/5/2018 Travel to NY for
                                                                                                                                     Mock Trial ‐ Breakfast on 05/11/18
2593023   5/25/2018   201806 HCMSGR    Messenger/Delivery Services                     015079        $44.95                          VENDOR: ADMIRAL COURIER SERVICES; INVOICE#: 153;
                                                                                                                                     DATE: 5/25/2018 ‐ B. Carmody, 05/17/18.
2593025   5/25/2018   201806 HCMSGR    Messenger/Delivery Services                     015079        $34.95                          VENDOR: ADMIRAL COURIER SERVICES; INVOICE#: 153;
                                                                                                                                     DATE: 5/25/2018 ‐ B. Carmody, 05/17/18.
2593026   5/25/2018   201806 HCMSGR    Messenger/Delivery Services                     015079        $24.95                          VENDOR: ADMIRAL COURIER SERVICES; INVOICE#: 153;
                                                                                                                                     DATE: 5/25/2018 ‐ B. Carmody, 05/18/18.
2593090    6/1/2018   201806 PRINT     B/W Prints                                      015079        $54.20 3315 Subramanian, Arun   Reproduction Copy Charges
2593091    6/1/2018   201806 CPRINT    Color Prints                                    015079         $1.00 3315 Subramanian, Arun   Color Reproduction Print Charges
2593258   5/31/2018   201806 GROUND    Ground Transportation (Taxis, car service)      015079       $584.72                          VENDOR: DIALCAR INC; INVOICE#: 1251911; DATE:
                                                                                                                                     5/31/2018 ‐ A. Subramanian, Ground transportation to
                                                                                                                                     50 Walnut St., Newark, NJ., 04/30/18.

2596808   5/31/2018   201806 HCTELE    Telephone & Calling Card Expenses               015079         $6.77                          VENDOR: PREMIERE GLOBAL SERVICES; INVOICE#:
                                                                                                                                     25948653; DATE: 5/31/2018 ‐ Conference calls,
                                                                                                                                     05/01/2018 ‐ 05/31/2018.
2597112   3/31/2018   201806 DATA      Data Storage ‐ Outside Service                  015079       $993.93                          VENDOR: DTI TOPCO, INC. (EPIQ); INVOICE#: 1067624;
                                                                                                                                     DATE: 3/31/2018 ‐ Monthly Storage Fee, 03/31/18.

2597113   4/30/2018   201806 DATA      Data Storage ‐ Outside Service                  015079     $1,168.93                          VENDOR: DTI TOPCO, INC. (EPIQ); INVOICE#: 1070002;
                                                                                                                                     DATE: 4/30/2018 ‐ Monthly Storage Fee, 04/30/18.

2597114    4/6/2018   201806 OSPHOT    Outside Photocopy Services                      015079     $1,200.56                          VENDOR: EMPIRE DISCOVERY; INVOICE#: INV019054;
                                                                                                                                     DATE: 4/6/2018 ‐ Blowbacks, 04/06/18.

2597115   3/29/2018   201806 OSPHOT    Outside Photocopy Services                      015079     $1,256.25                          VENDOR: EMPIRE DISCOVERY; INVOICE#: ; DATE:
                                                                                                                                     3/29/2018 ‐ Blowbacks, 03/29/18.
2597116    4/6/2018   201806 OSPHOT    Outside Photocopy Services                      015079       $342.09                          VENDOR: EMPIRE DISCOVERY; INVOICE#: INV019055;
                                                                                                                                     DATE: 4/6/2018 ‐ Blowbacks, 04/06/18.

2597117    5/3/2018   201806 OSPHOT    Outside Photocopy Services                      015079       $842.58                          VENDOR: EMPIRE DISCOVERY; INVOICE#: INV019294;
                                                                                                                                     DATE: 5/3/2018 ‐ Blowbacks, 05/03/18.




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                                                                           Disbursement Detail
Disb ID Date     Orig_Per Disb Code   Disb Desc                                       Matter Base Amt     Tkpr TKPR Name            Narrative                                          Fees
2597122 6/13/2018 201806 PHOTO        B/W Photocopies                                 015079        $2.20 3315 Subramanian, Arun    Reproduction Copy Charges
2597168 6/11/2018 201806 PRINT        B/W Prints                                      015079        $0.10 3315 Subramanian, Arun    Reproduction Copy Charges
2597169 6/11/2018 201806 CPRINT       Color Prints                                    015079        $1.00 3315 Subramanian, Arun    Color Reproduction Print Charges
2597256 5/31/2018 201806 DATA         Data Storage ‐ Outside Service                  015079    $2,016.64                           VENDOR: DTI TOPCO, INC. (EPIQ); INVOICE#: 1075274;
                                                                                                                                    DATE: 5/31/2018 ‐ Monthly Storage Fee, 05/31/18.

2597257   4/26/2018   201806 OSPHOT   Outside Photocopy Services                      015079       $118.46                          VENDOR: EMPIRE DISCOVERY; INVOICE#: INV019238;
                                                                                                                                    DATE: 4/26/2018 ‐ Blowbacks, 04/26/18.

2597258   5/31/2018   201806 EXPERT   Expert Fees                                     015079     $8,166.25                          VENDOR: LEGAL MEDIA, INC.; INVOICE#: 33089‐3;
                                                                                                                                    DATE: 5/31/2018 ‐ Trial preparation, 05/31/18.
2597260   5/25/2018   201806 OSPHOT   Outside Photocopy Services                      015079     $3,990.95                          VENDOR: SWAYLAW LLC; INVOICE#: 1833; DATE:
                                                                                                                                    5/25/2018 ‐ Preparing trial exhibits, 05/25/18.
2598362    5/5/2018   201806 GROUND   Ground Transportation (Taxis, car service)      015079        $28.50 2670 Gervais, Michael    VENDOR: GERVAIS, MICHAEL INVOICE#:
                                                                                                                                    2564922606191303 DATE: 6/19/2018 Working late;
                                                                                                                                    office trial prep ‐ Taxi for Michael Gervais on 05/05/18

2598363   5/11/2018   201806 GROUND   Ground Transportation (Taxis, car service)      015079        $29.75 2670 Gervais, Michael    VENDOR: GERVAIS, MICHAEL INVOICE#:
                                                                                                                                    2564922606191303 DATE: 6/19/2018 Working late;
                                                                                                                                    office trial prep ‐ Taxi for Michael Gervais on 05/11/18

2606486   5/25/2018   201807 OSPHOT   Outside Photocopy Services                      015079       $128.49                          VENDOR: EMPIRE DISCOVERY; INVOICE#: INV019524;
                                                                                                                                    DATE: 5/25/2018 ‐ Copy service, 05/25/18.

2606490    5/1/2018   201807 EXPERT   Expert Fees                                     015079       $112.50                          VENDOR: BAER, RICHARD K.; INVOICE#: 013; DATE:
                                                                                                                                    5/1/2018 ‐ Professional services rendered, 05/01/18.

2606635   6/30/2018   201807 HCTELE   Telephone & Calling Card Expenses               015079         $5.24                          VENDOR: PREMIERE GLOBAL SERVICES; INVOICE#:
                                                                                                                                    26117587; DATE: 6/30/2018 ‐ Conference calls,
                                                                                                                                    06/01/2018 ‐ 06/30/2018.
2606680   6/30/2018   201807 HCTELE   Telephone & Calling Card Expenses               015079        $14.72                          VENDOR: PREMIERE GLOBAL SERVICES; INVOICE#:
                                                                                                                                    26117587; DATE: 6/30/2018 ‐ Conference calls,
                                                                                                                                    06/01/2018 ‐ 06/30/2018.
2608520    7/9/2018   201807 CPRINT   Color Prints                                    015079        $24.00 3315 Subramanian, Arun   Color Reproduction Print Charges
2608825   6/30/2018   201807 DATA     Data Storage ‐ Outside Service                  015079       $885.08                          VENDOR: DTI TOPCO, INC. (EPIQ); INVOICE#: 1079658;
                                                                                                                                    DATE: 6/30/2018 ‐ Monthly Storage Fee, 06/30/18.

2608831   6/30/2018   201807 EXPERT   Expert Fees                                     015079     $1,152.50                          VENDOR: LEGAL MEDIA, INC.; INVOICE#: 33089‐4;
                                                                                                                                    DATE: 6/30/2018 ‐ Trial preparation, 06/30/18.
2609691   6/30/2018   201807 EXPERT   Expert Fees                                     015079     $5,700.00                          VENDOR: R & D STRATEGIC SOLUTIONS LLC; INVOICE#:
                                                                                                                                    14141; DATE: 6/30/2018 ‐ Professional services
                                                                                                                                    rendered, 06/30/18.




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                                                              015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                           Disbursement Detail
Disb ID Date     Orig_Per Disb Code Disb Desc                                         Matter Base Amt     Tkpr TKPR Name              Narrative                                                Fees
2610117 7/21/2018 201807 GROUND Ground Transportation (Taxis, car service)            015079       $21.00 2670 Gervais, Michael       VENDOR: GERVAIS, MICHAEL INVOICE#:
                                                                                                                                      2654762607311858 DATE: 7/31/2018 Working late.
                                                                                                                                      Drafting motion in limine. ‐ Taxi for Michael Gervais on
                                                                                                                                      07/21/18
2610118   7/24/2018   201807 GROUND   Ground Transportation (Taxis, car service)      015079        $29.75 2670 Gervais, Michael      VENDOR: GERVAIS, MICHAEL INVOICE#:
                                                                                                                                      2654762607311858 DATE: 7/31/2018 Working late.
                                                                                                                                      Drafting motion in limine. ‐ Taxi for Michael Gervais on
                                                                                                                                      07/24/18
2610277   7/27/2018   201808 HCMSGR   Messenger/Delivery Services                     015079        $19.29 3315 Subramanian, Arun     Vendor: FEDEX, Invoice Number: 626275893, Shipper:
                                                                                                                                      Mark Musico, Recipient: Hon. Steven C. Mannion,
                                                                                                                                      Tracking #: 772840049667, Ship Date: 7/27/2018

2611500    7/6/2018   201808 RESRCH   Research charges                                015079      $217.54    3315 Subramanian, Arun   WESTLAW ‐ Research charges; 7/6/2018
2611501    7/7/2018   201808 RESRCH   Research charges                                015079     $1,110.82   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 7/7/2018
2611502   7/12/2018   201808 RESRCH   Research charges                                015079      $449.19    3315 Subramanian, Arun   WESTLAW ‐ Research charges; 7/12/2018
2611503   7/14/2018   201808 RESRCH   Research charges                                015079     $2,273.91   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 7/14/2018
2611504   7/15/2018   201808 RESRCH   Research charges                                015079        $86.27   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 7/15/2018
2611505   7/16/2018   201808 RESRCH   Research charges                                015079      $415.70    3315 Subramanian, Arun   WESTLAW ‐ Research charges; 7/16/2018
2611506   7/17/2018   201808 RESRCH   Research charges                                015079     $1,111.09   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 7/17/2018
2611507   7/19/2018   201808 RESRCH   Research charges                                015079      $657.30    3315 Subramanian, Arun   WESTLAW ‐ Research charges; 7/19/2018
2611508   7/20/2018   201808 RESRCH   Research charges                                015079        $89.29   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 7/20/2018
2611509   7/21/2018   201808 RESRCH   Research charges                                015079     $1,095.59   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 7/21/2018
2611510   7/22/2018   201808 RESRCH   Research charges                                015079        $62.11   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 7/22/2018
2611511   7/23/2018   201808 RESRCH   Research charges                                015079        $97.82   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 7/23/2018
2611512   7/24/2018   201808 RESRCH   Research charges                                015079      $803.84    3315 Subramanian, Arun   WESTLAW ‐ Research charges; 7/24/2018
2611513   7/25/2018   201808 RESRCH   Research charges                                015079      $845.99    3315 Subramanian, Arun   WESTLAW ‐ Research charges; 7/25/2018
2611514   7/26/2018   201808 RESRCH   Research charges                                015079      $496.20    3315 Subramanian, Arun   WESTLAW ‐ Research charges; 7/26/2018
2611515   7/27/2018   201808 RESRCH   Research charges                                015079      $312.50    3315 Subramanian, Arun   WESTLAW ‐ Research charges; 7/27/2018
2611516   7/30/2018   201808 RESRCH   Research charges                                015079      $151.79    3315 Subramanian, Arun   WESTLAW ‐ Research charges; 7/30/2018
2611517   7/31/2018   201808 RESRCH   Research charges                                015079      $390.63    3315 Subramanian, Arun   WESTLAW ‐ Research charges; 7/31/2018
2611518   7/12/2018   201808 RESRCH   Research charges                                015079      $281.25    3315 Subramanian, Arun   WESTLAW ‐ Research charges; 7/12/2018
2611519   7/18/2018   201808 RESRCH   Research charges                                015079        $62.50   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 7/18/2018
2611520   7/19/2018   201808 RESRCH   Research charges                                015079        $15.62   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 7/19/2018
2611521   7/20/2018   201808 RESRCH   Research charges                                015079      $293.46    3315 Subramanian, Arun   WESTLAW ‐ Research charges; 7/20/2018
2611522   7/24/2018   201808 RESRCH   Research charges                                015079        $15.62   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 7/24/2018
2611523   7/25/2018   201808 RESRCH   Research charges                                015079        $46.87   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 7/25/2018
2611524   7/26/2018   201808 RESRCH   Research charges                                015079      $131.70    3315 Subramanian, Arun   WESTLAW ‐ Research charges; 7/26/2018
2611525   7/29/2018   201808 RESRCH   Research charges                                015079      $448.66    3315 Subramanian, Arun   WESTLAW ‐ Research charges; 7/29/2018
2611526   7/31/2018   201808 RESRCH   Research charges                                015079        $78.13   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 7/31/2018
2612006   7/31/2018   201808 HCMSGR   Messenger/Delivery Services                     015079        $15.56   3315 Subramanian, Arun   Vendor: FEDEX, Invoice Number: 626549586, Shipper:
                                                                                                                                      Mark Musico, Recipient: Hon. John Michael Vazquez,
                                                                                                                                      Tracking #: 772857751374, Ship Date: 7/31/2018

2612021   7/27/2018   201808 CPRINT   Color Prints                                    015079       $453.00 3315 Subramanian, Arun     Color Reproduction Print Charges



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                                                              015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                           Disbursement Detail
Disb ID Date      Orig_Per Disb Code Disb Desc                                        Matter Base Amt   Tkpr TKPR Name                 Narrative                                            Fees
2612322   8/1/2018 201808 EXPERT     Expert Fees                                      015079 $10,810.00                                VENDOR: BAER, RICHARD K.; INVOICE#: 014; DATE:
                                                                                                                                       8/5/2018 ‐ Professional services rendered, 08/05/18.

2615321   7/31/2018   201808 DATA     Data Storage ‐ Outside Service                  015079       $885.08                             VENDOR: DTI TOPCO, INC. (EPIQ); INVOICE#: 1085608;
                                                                                                                                       DATE: 7/31/2018 ‐ Monthly storage fee
2615411    8/6/2018   201808 PRINT    B/W Prints                                      015079         $2.60   3315 Subramanian, Arun    Reproduction Copy Charges
2615412    8/6/2018   201808 CPRINT   Color Prints                                    015079        $74.00   3315 Subramanian, Arun    Color Reproduction Print Charges
2615475   8/10/2018   201808 PRINT    B/W Prints                                      015079         $4.90   3315 Subramanian, Arun    Reproduction Copy Charges
2615476   8/10/2018   201808 CPRINT   Color Prints                                    015079     $1,071.00   3315 Subramanian, Arun    Color Reproduction Print Charges
2615695   8/16/2018   201808 HCMSGR   Messenger/Delivery Services                     015079        $11.70   9068 Elliott, Elizabeth   VENDOR: ELLIOTT, ELIZABETH INVOICE#:
                                                                                                                                       2700407008202155 DATE: 8/20/2018 Additional
                                                                                                                                       postage for delivery of courtesy copies of Relators'
                                                                                                                                       Motions in Limine to Judge Vazquez and Magistrate
                                                                                                                                       Judge Mannion. ‐ Courier Delivery Charges for
                                                                                                                                       Elizabeth Elliott on 08/16/18
2616237   7/26/2018   201808 OSPHOT   Outside Photocopy Services                      015079       $126.08                             VENDOR: EMPIRE DISCOVERY; INVOICE#: INV020177;
                                                                                                                                       DATE: 7/26/2018 ‐ Blowbacks, 07/26/18.

2616240   5/31/2018   201808 EXPERT   Expert Fees                                     015079 $120,564.09                               VENDOR: R & D STRATEGIC SOLUTIONS LLC; INVOICE#:
                                                                                                                                       14126; DATE: 5/31/2018 ‐ Professional services
                                                                                                                                       rendered, 05/31/18 (note: minus hotel per email).

2616281   7/31/2018   201808 HCTELE   Telephone & Calling Card Expenses               015079         $4.53                             VENDOR: PREMIERE GLOBAL SERVICES; INVOICE#:
                                                                                                                                       26278530; DATE: 7/31/2018 ‐ Conference calls,
                                                                                                                                       07/01/2018 ‐ 07/31/2018.
2617859    8/1/2018   201808 RESRCH   Research charges                                015079        $69.92   3315 Subramanian, Arun    WESTLAW ‐ Research charges; 8/1/2018
2617860    8/2/2018   201808 RESRCH   Research charges                                015079       $192.56   3315 Subramanian, Arun    WESTLAW ‐ Research charges; 8/2/2018
2617861    8/5/2018   201808 RESRCH   Research charges                                015079        $30.76   3315 Subramanian, Arun    WESTLAW ‐ Research charges; 8/5/2018
2617862    8/8/2018   201808 RESRCH   Research charges                                015079        $30.76   3315 Subramanian, Arun    WESTLAW ‐ Research charges; 8/8/2018
2617863    8/9/2018   201808 RESRCH   Research charges                                015079        $15.38   3315 Subramanian, Arun    WESTLAW ‐ Research charges; 8/9/2018
2617864   8/10/2018   201808 RESRCH   Research charges                                015079        $15.38   3315 Subramanian, Arun    WESTLAW ‐ Research charges; 8/10/2018
2617865   8/14/2018   201808 RESRCH   Research charges                                015079       $157.41   3315 Subramanian, Arun    WESTLAW ‐ Research charges; 8/14/2018
2617866   8/17/2018   201808 RESRCH   Research charges                                015079        $92.27   3315 Subramanian, Arun    WESTLAW ‐ Research charges; 8/17/2018
2617867   8/19/2018   201808 RESRCH   Research charges                                015079        $80.90   3315 Subramanian, Arun    WESTLAW ‐ Research charges; 8/19/2018
2617868   8/23/2018   201808 RESRCH   Research charges                                015079        $92.27   3315 Subramanian, Arun    WESTLAW ‐ Research charges; 8/23/2018
2617869    8/1/2018   201808 RESRCH   Research charges                                015079        $68.11   3315 Subramanian, Arun    WESTLAW ‐ Research charges; 8/1/2018
2617870    8/2/2018   201808 RESRCH   Research charges                                015079       $155.60   3315 Subramanian, Arun    WESTLAW ‐ Research charges; 8/2/2018
2617871    8/8/2018   201808 RESRCH   Research charges                                015079        $30.76   3315 Subramanian, Arun    WESTLAW ‐ Research charges; 8/8/2018
2617872   8/10/2018   201808 RESRCH   Research charges                                015079        $15.38   3315 Subramanian, Arun    WESTLAW ‐ Research charges; 8/10/2018
2617873   8/24/2018   201808 RESRCH   Research charges                                015079        $26.36   3315 Subramanian, Arun    WESTLAW ‐ Research charges; 8/24/2018
2617874   8/26/2018   201808 RESRCH   Research charges                                015079       $111.66   3315 Subramanian, Arun    WESTLAW ‐ Research charges; 8/26/2018
2617875   8/27/2018   201808 RESRCH   Research charges                                015079       $304.60   3315 Subramanian, Arun    WESTLAW ‐ Research charges; 8/27/2018
2617876   8/28/2018   201808 RESRCH   Research charges                                015079        $83.49   3315 Subramanian, Arun    WESTLAW ‐ Research charges; 8/28/2018
2617877   8/29/2018   201808 RESRCH   Research charges                                015079       $381.50   3315 Subramanian, Arun    WESTLAW ‐ Research charges; 8/29/2018



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                                                                            Disbursement Detail
Disb ID Date      Orig_Per Disb Code   Disb Desc                                       Matter Base Amt     Tkpr TKPR Name              Narrative                                          Fees
2617878 8/30/2018 201808 RESRCH        Research charges                                015079       $94.47 3315 Subramanian, Arun      WESTLAW ‐ Research charges; 8/30/2018
2618409 8/31/2018 201808 POST          in‐House Postage Charges                        015079       $10.05                             Postage, 08/13/18 ‐ Courtesy copies to court.
2618687   9/4/2018 201809 HCMSGR       Messenger/Delivery Services                     015079       $17.51 3315 Subramanian, Arun      Vendor: FEDEX, Invoice Number: 630090568, Shipper:
                                                                                                                                       Mark Musico, Recipient: Hon. John Michael Vazquez,
                                                                                                                                       Tracking #: 773128012346, Ship Date: 9/4/2018

2618732    9/4/2018   201809 PRINT     B/W Prints                                      015079        $21.30 3315 Subramanian, Arun     Reproduction Copy Charges
2621183   9/11/2018   201809 MEDFEE    Mediation Fees and Expenses                     015079    $17,500.00                            VENDOR: PHILLIPS ADR ENTERPRISES PC; INVOICE#:
                                                                                                                                       15629; DATE: 9/11/2018 ‐ Mediation Services

2622397    9/1/2018   201809 EXPERT    Expert Fees                                     015079     $8,104.50                            VENDOR: BAER, RICHARD K.; INVOICE#: 015; DATE:
                                                                                                                                       9/1/2018 ‐ Professional services rendered for August,
                                                                                                                                       2018.
2622492    9/8/2018   201809 DATA      Data Storage ‐ Outside Service                  015079       $885.08                            VENDOR: EPIQ EDISCOVERY SOLUTIONS INC.;
                                                                                                                                       INVOICE#: 90258470; DATE: 9/8/2018 ‐ User fees,
                                                                                                                                       document review hosting, 09/08/18.
2623218   9/26/2018   201809 PRINT     B/W Prints                                      015079         $7.50   3315 Subramanian, Arun   Reproduction Copy Charges
2624289    9/2/2018   201810 RESRCH    Research charges                                015079        $15.62   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 9/2/2018
2624290   9/12/2018   201810 RESRCH    Research charges                                015079        $73.66   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 9/12/2018
2624291   9/19/2018   201810 RESRCH    Research charges                                015079        $73.66   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 9/19/2018
2624292   9/25/2018   201810 RESRCH    Research charges                                015079        $46.87   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 9/25/2018
2624293   9/28/2018   201810 RESRCH    Research charges                                015079       $668.30   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 9/28/2018
2624294   9/30/2018   201810 RESRCH    Research charges                                015079        $58.04   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 9/30/2018
2624295    9/4/2018   201810 RESRCH    Research charges                                015079        $15.62   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 9/4/2018
2624987   9/29/2018   201810 PRINT     B/W Prints                                      015079         $1.10   3315 Subramanian, Arun   Reproduction Copy Charges
2626690   9/27/2018   201810 GROUND    Ground Transportation (Taxis, car service)      015079        $28.55   2670 Gervais, Michael    VENDOR: GERVAIS, MICHAEL INVOICE#:
                                                                                                                                       2823141510161220 DATE: 10/16/2018 Working late
                                                                                                                                       finalizing brief. ‐ Taxi for Michael Gervais on 09/27/18

2626691   9/28/2018   201810 GROUND    Ground Transportation (Taxis, car service)      015079        $31.55 2670 Gervais, Michael      VENDOR: GERVAIS, MICHAEL INVOICE#:
                                                                                                                                       2823141510161220 DATE: 10/16/2018 Working late
                                                                                                                                       finalizing brief. ‐ Taxi for Michael Gervais on 09/28/18

2628553 10/14/2018    201810 PRINT     B/W Prints                                      015079        $16.40   3315 Subramanian, Arun   Reproduction Copy Charges
2631414 10/1/2018     201811 RESRCH    Research charges                                015079         $4.79   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 10/1/2018
2631415 10/2/2018     201811 RESRCH    Research charges                                015079     $1,578.06   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 10/2/2018
2631416 10/3/2018     201811 RESRCH    Research charges                                015079     $2,127.37   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 10/3/2018
2631417 10/10/2018    201811 RESRCH    Research charges                                015079         $4.10   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 10/10/2018
2631418 10/11/2018    201811 RESRCH    Research charges                                015079      $566.51    3315 Subramanian, Arun   WESTLAW ‐ Research charges; 10/11/2018
2631419 10/12/2018    201811 RESRCH    Research charges                                015079     $1,074.01   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 10/12/2018
2631420 10/13/2018    201811 RESRCH    Research charges                                015079      $425.83    3315 Subramanian, Arun   WESTLAW ‐ Research charges; 10/13/2018
2631421 10/14/2018    201811 RESRCH    Research charges                                015079        $16.27   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 10/14/2018
2631422 10/17/2018    201811 RESRCH    Research charges                                015079        $41.43   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 10/17/2018




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                                                                            Disbursement Detail
Disb ID Date     Orig_Per Disb Code Disb Desc                                          Matter Base Amt    Tkpr TKPR Name               Narrative                                                Fees
2634910 10/8/2018 201811 DATA       Data Storage ‐ Outside Service                     015079     $885.08                              VENDOR: EPIQ EDISCOVERY SOLUTIONS INC.;
                                                                                                                                       INVOICE#: 90267640; DATE: 10/8/2018 ‐ Document
                                                                                                                                       review hosting, 10/08/18.
2634922   11/1/2018   201811 EXPERT    Expert Fees                                     015079       $562.50                            VENDOR: BAER, RICHARD K.; INVOICE#: 016; DATE:
                                                                                                                                       11/1/2018 ‐ Professional services rendered for
                                                                                                                                       October, 2018.
2639755   11/8/2018   201812 DATA      Data Storage ‐ Outside Service                  015079       $955.08                            VENDOR: EPIQ EDISCOVERY SOLUTIONS INC.;
                                                                                                                                       INVOICE#: 90275743; DATE: 11/8/2018 ‐ Document
                                                                                                                                       review hosting, 11/08/18.
2643513   12/8/2018   201812 DATA      Data Storage ‐ Outside Service                  015079       $885.08                            VENDOR: EPIQ EDISCOVERY SOLUTIONS INC.;
                                                                                                                                       INVOICE#: 90285301; DATE: 12/8/2018 ‐ Document
                                                                                                                                       review hosting, 12/08/18.
2650459   1/22/2019   201901 FFEE      Filing Fees                                     015079       $212.00 3315 Subramanian, Arun     VENDOR: SUBRAMANIAN, ARUN INVOICE#:
                                                                                                                                       3053404001241302 DATE: 1/24/2019 annual pro hac
                                                                                                                                       vice registration fee ‐ Filing Fees for Arun Subramanian
                                                                                                                                       on 01/22/19
2650567   1/23/2019   201901 FFEE      Filing Fees                                     015079       $212.00 2901 Carmody, Bill         VENDOR: CARMODY, WILLIAM INVOICE#:
                                                                                                                                       3056941601241302 DATE: 1/24/2019 Annual
                                                                                                                                       registration fee to appear pro hac vice in New Jersey
                                                                                                                                       Courts. ‐ Filing Fees for Bill Carmody on 01/23/19

2650682   1/23/2019   201901 PRINT     B/W Prints                                      015079         $1.00 3315 Subramanian, Arun     Reproduction Copy Charges
2650683   1/23/2019   201901 CPRINT    Color Prints                                    015079        $10.00 3315 Subramanian, Arun     Color Reproduction Print Charges
2650791    1/8/2019   201901 DATA      Data Storage ‐ Outside Service                  015079       $885.08                            VENDOR: EPIQ EDISCOVERY SOLUTIONS INC.;
                                                                                                                                       INVOICE#: 90293894; DATE: 1/8/2019 ‐ Document
                                                                                                                                       review hosting, 01/08/19.
2653661   1/25/2019   201901 FFEE      Filing Fees                                     015079       $212.00 4142 Musico, Mark          VENDOR: MUSICO, MARK INVOICE#:
                                                                                                                                       3062281401291319 DATE: 1/29/2019 2019 Annual
                                                                                                                                       Assessment ‐ State and Local Bar Dues for Mark
                                                                                                                                       Musico on 01/25/19; NJ Pro Hac Vice annual dues.
2654914   1/25/2019   201901 HCMSGR    Messenger/Delivery Services                     015079        $20.42 3315 Subramanian, Arun     Vendor: FEDEX, Invoice Number: 644549167, Shipper:
                                                                                                                                       Tania‐Lee Bayliss, Recipient: Judge Layne Phillips,
                                                                                                                                       Tracking #: 774317075919, Ship Date: 1/25/2019

2655061   1/25/2019   201901 PRINT     B/W Prints                                      015079        $53.00   3315 Subramanian, Arun   Reproduction Copy Charges
2655062   1/25/2019   201901 CPRINT    Color Prints                                    015079        $14.00   3315 Subramanian, Arun   Color Reproduction Print Charges
2655373   1/24/2019   201902 RESRCH    Research charges                                015079        $16.24   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 1/24/2019
2656112    1/2/2019   201902 RESRCH    Research charges                                015079        $35.37   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 1/2/2019
2656113    1/3/2019   201902 RESRCH    Research charges                                015079        $91.90   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 1/3/2019
2656114    1/8/2019   201902 RESRCH    Research charges                                015079        $35.37   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 1/8/2019
2656115   1/10/2019   201902 RESRCH    Research charges                                015079       $110.70   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 1/10/2019
2656116   1/11/2019   201902 RESRCH    Research charges                                015079       $327.02   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 1/11/2019
2656117   1/15/2019   201902 RESRCH    Research charges                                015079       $406.79   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 1/15/2019
2656118   1/16/2019   201902 RESRCH    Research charges                                015079        $65.67   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 1/16/2019



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                                                                             Disbursement Detail
Disb ID Date      Orig_Per Disb Code   Disb Desc                                        Matter Base Amt     Tkpr TKPR Name            Narrative                                               Fees
2656119 1/17/2019 201902 RESRCH        Research charges                                 015079     $247.61 3315 Subramanian, Arun     WESTLAW ‐ Research charges; 1/17/2019
2656120 1/20/2019 201902 RESRCH        Research charges                                 015079    $1,015.31 3315 Subramanian, Arun    WESTLAW ‐ Research charges; 1/20/2019
2656121 1/24/2019 201902 RESRCH        Research charges                                 015079       $57.64 3315 Subramanian, Arun    WESTLAW ‐ Research charges; 1/24/2019
2656122 1/26/2019 201902 RESRCH        Research charges                                 015079     $293.62 3315 Subramanian, Arun     WESTLAW ‐ Research charges; 1/26/2019
2656123 1/28/2019 201902 RESRCH        Research charges                                 015079     $171.79 3315 Subramanian, Arun     WESTLAW ‐ Research charges; 1/28/2019
2656124 1/29/2019 201902 RESRCH        Research charges                                 015079       $17.69 3315 Subramanian, Arun    WESTLAW ‐ Research charges; 1/29/2019
2656125 1/30/2019 201902 RESRCH        Research charges                                 015079       $65.67 3315 Subramanian, Arun    WESTLAW ‐ Research charges; 1/30/2019
2656126 1/31/2019 201902 RESRCH        Research charges                                 015079     $265.30 3315 Subramanian, Arun     WESTLAW ‐ Research charges; 1/31/2019
2656851   2/4/2019 201902 TRIALX       Trial and Trial Prep Expenses                    015079     $212.00 9239 Graham, Sandra        VENDOR: GRAHAM, SANDRA INVOICE#:
                                                                                                                                      3084283102060351 DATE: 2/6/2019 Pro hac vice
                                                                                                                                      application for Michael Gervais. ‐ Trial & Trial Prep
                                                                                                                                      Expense for Sandra Graham on 02/04/19
2657286    2/7/2019   201902 PRINT     B/W Prints                                       015079         $9.90 3315 Subramanian, Arun   Reproduction Copy Charges
2660461   2/11/2019   201902 HCMSGR    Messenger/Delivery Services                      015079        $16.96 3315 Subramanian, Arun   Vendor: FEDEX, Invoice Number: 646085855, Shipper:
                                                                                                                                      Tania‐Lee Bayliss, Recipient: Phillips ADR, Tracking #:
                                                                                                                                      774444769595, Ship Date: 2/11/2019

2660553   2/11/2019   201902 PRINT     B/W Prints                                       015079        $15.60 3315 Subramanian, Arun   Reproduction Copy Charges
2661110   2/20/2019   201902 PRINT     B/W Prints                                       015079        $47.90 3315 Subramanian, Arun   Reproduction Copy Charges
2662504   2/19/2019   201902 AIR       Air Travel                                       015079     $1,886.60 4142 Musico, Mark        VENDOR: MUSICO, MARK INVOICE#:
                                                                                                                                      3117772502270111 DATE: 2/27/2019 Attending
                                                                                                                                      mediation ‐ Airfare for Mark Musico on 02/19/19
2662505   2/21/2019   201902 GROUND    Ground Transportation (Taxis, car service)       015079        $61.26 4142 Musico, Mark        VENDOR: MUSICO, MARK INVOICE#:
                                                                                                                                      3117772502270111 DATE: 2/27/2019 Attending
                                                                                                                                      mediation ‐ Taxi for Mark Musico on 02/21/19
2662506   2/21/2019   201902 GROUND    Ground Transportation (Taxis, car service)       015079        $26.38 4142 Musico, Mark        VENDOR: MUSICO, MARK INVOICE#:
                                                                                                                                      3117772502270111 DATE: 2/27/2019 Attending
                                                                                                                                      mediation ‐ Taxi for Mark Musico on 02/21/19
2662507   2/21/2019   201902 GROUND    Ground Transportation (Taxis, car service)       015079       $174.61 4142 Musico, Mark        VENDOR: MUSICO, MARK INVOICE#:
                                                                                                                                      3117772502270111 DATE: 2/27/2019 Attending
                                                                                                                                      mediation ‐ Taxi for Mark Musico on 02/21/19
2662508   2/22/2019   201902 HOTEL     Hotels (Travel)                                  015079       $234.00 4142 Musico, Mark        VENDOR: MUSICO, MARK INVOICE#:
                                                                                                                                      3117772502270111 DATE: 2/27/2019 Attending
                                                                                                                                      mediation ‐ Hotel ‐ Lodging for Mark Musico on
                                                                                                                                      02/22/19
2662509   2/22/2019   201902 HOTEL     Hotels (Travel)                                  015079        $64.97 4142 Musico, Mark        VENDOR: MUSICO, MARK INVOICE#:
                                                                                                                                      3117772502270111 DATE: 2/27/2019 Attending
                                                                                                                                      mediation ‐ Hotel ‐ Room Tax for Mark Musico on
                                                                                                                                      02/22/19
2662510   2/23/2019   201902 GROUND    Ground Transportation (Taxis, car service)       015079        $61.47 4142 Musico, Mark        VENDOR: MUSICO, MARK INVOICE#:
                                                                                                                                      3117772502270111 DATE: 2/27/2019 Attending
                                                                                                                                      mediation ‐ Taxi for Mark Musico on 02/23/19




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                                                                            Disbursement Detail
Disb ID Date     Orig_Per Disb Code Disb Desc                                          Matter Base Amt     Tkpr TKPR Name            Narrative                                             Fees
2662511 2/22/2019 201902 GROUND Ground Transportation (Taxis, car service)             015079       $60.86 4142 Musico, Mark         VENDOR: MUSICO, MARK INVOICE#:
                                                                                                                                     3117772502270111 DATE: 2/27/2019 Attending
                                                                                                                                     mediation ‐ Taxi for Mark Musico on 02/22/19
2662525   2/21/2019   201902 HOTEL     Hotels (Travel)                                 015079       $249.00 3315 Subramanian, Arun   VENDOR: SUBRAMANIAN, ARUN INVOICE#:
                                                                                                                                     3106569002270111 DATE: 2/27/2019 Attending
                                                                                                                                     mediation with Judge Phillips in Corona, CA on
                                                                                                                                     2/22/19. ‐ Hotel ‐ Lodging for Arun Subramanian on
                                                                                                                                     02/21/19
2662526   2/22/2019   201902 HOTEL     Hotels (Travel)                                 015079       $189.00 3315 Subramanian, Arun   VENDOR: SUBRAMANIAN, ARUN INVOICE#:
                                                                                                                                     3106569002270111 DATE: 2/27/2019 Attending
                                                                                                                                     mediation with Judge Phillips in Corona, CA on
                                                                                                                                     2/22/19. ‐ Hotel ‐ Lodging for Arun Subramanian on
                                                                                                                                     02/22/19
2662527   2/22/2019   201902 HOTEL     Hotels (Travel)                                 015079       $126.04 3315 Subramanian, Arun   VENDOR: SUBRAMANIAN, ARUN INVOICE#:
                                                                                                                                     3106569002270111 DATE: 2/27/2019 Attending
                                                                                                                                     mediation with Judge Phillips in Corona, CA on
                                                                                                                                     2/22/19. ‐ Hotel ‐ Room Tax for Arun Subramanian on
                                                                                                                                     02/22/19
2662528   2/12/2019   201902 AIR       Air Travel                                      015079     $2,266.00 3315 Subramanian, Arun   VENDOR: SUBRAMANIAN, ARUN INVOICE#:
                                                                                                                                     3106569002270111 DATE: 2/27/2019 Attending
                                                                                                                                     mediation with Judge Phillips in Corona, CA on
                                                                                                                                     2/22/19. ‐ Airfare for Arun Subramanian on 02/12/19

2662535   2/22/2019   201902 GROUND    Ground Transportation (Taxis, car service)      015079        $32.03 3315 Subramanian, Arun   VENDOR: SUBRAMANIAN, ARUN INVOICE#:
                                                                                                                                     3131989102270111 DATE: 2/27/2019 Attending
                                                                                                                                     mediation with Judge Phillips in Corona, CA on
                                                                                                                                     2/22/19. ‐ Taxi for Arun Subramanian on 02/22/19
2662536   2/23/2019   201902 GROUND    Ground Transportation (Taxis, car service)      015079        $59.35 3315 Subramanian, Arun   VENDOR: SUBRAMANIAN, ARUN INVOICE#:
                                                                                                                                     3131989102270111 DATE: 2/27/2019 Attending
                                                                                                                                     mediation with Judge Phillips in Corona, CA on
                                                                                                                                     2/22/19. ‐ Taxi for Arun Subramanian on 02/23/19
2662537   2/23/2019   201902 GROUND    Ground Transportation (Taxis, car service)      015079        $66.27 3315 Subramanian, Arun   VENDOR: SUBRAMANIAN, ARUN INVOICE#:
                                                                                                                                     3131989102270111 DATE: 2/27/2019 Attending
                                                                                                                                     mediation with Judge Phillips in Corona, CA on
                                                                                                                                     2/22/19. ‐ Taxi for Arun Subramanian on 02/23/19
2662538   2/21/2019   201902 GROUND    Ground Transportation (Taxis, car service)      015079        $59.89 3315 Subramanian, Arun   VENDOR: SUBRAMANIAN, ARUN INVOICE#:
                                                                                                                                     3131989102270111 DATE: 2/27/2019 Attending
                                                                                                                                     mediation with Judge Phillips in Corona, CA on
                                                                                                                                     2/22/19. ‐ Taxi for Arun Subramanian on 02/21/19
2662539   2/21/2019   201902 GROUND    Ground Transportation (Taxis, car service)      015079        $69.84 3315 Subramanian, Arun   VENDOR: SUBRAMANIAN, ARUN INVOICE#:
                                                                                                                                     3131989102270111 DATE: 2/27/2019 Attending
                                                                                                                                     mediation with Judge Phillips in Corona, CA on
                                                                                                                                     2/22/19. ‐ Taxi for Arun Subramanian on 02/21/19




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                                                                            Disbursement Detail
Disb ID Date     Orig_Per Disb Code Disb Desc                                          Matter Base Amt    Tkpr TKPR Name               Narrative                                                Fees
2662540 2/22/2019 201902 MEALS      Meals                                              015079       $8.47 3315 Subramanian, Arun       VENDOR: SUBRAMANIAN, ARUN INVOICE#:
                                                                                                                                       3131989102270111 DATE: 2/27/2019 Attending
                                                                                                                                       mediation with Judge Phillips in Corona, CA on
                                                                                                                                       2/22/19. ‐ Breakfast on 02/22/19
2662541   2/21/2019   201902 MEALS     Meals                                           015079        $90.56 3315 Subramanian, Arun     VENDOR: SUBRAMANIAN, ARUN INVOICE#:
                                                                                                                                       3131989102270111 DATE: 2/27/2019 Meeting with
                                                                                                                                       clients and preparing for mediation. ‐ Meal ‐ Other on
                                                                                                                                       02/21/19 with Wendy Bahnsen; Carolina Fuentes;
                                                                                                                                       Mark Musico
2662774    2/8/2019   201902 DATA      Data Storage ‐ Outside Service                  015079       $885.08                            VENDOR: EPIQ EDISCOVERY SOLUTIONS INC.;
                                                                                                                                       INVOICE#: 90302988; DATE: 2/8/2019 ‐ Document
                                                                                                                                       review hosting, 02/08/19.
2663813   2/28/2019   201903 RESRCH    Research charges                                015079        $99.21 3315 Subramanian, Arun     WESTLAW ‐ Research charges; 2/28/2019
2665149   2/24/2019   201903 HOTEL     Hotels (Travel)                                 015079     $1,200.00 2901 Carmody, Bill         VENDOR: CARMODY, WILLIAM INVOICE#:
                                                                                                                                       3154019003061508 DATE: 3/6/2019 Attending
                                                                                                                                       mediation in Newport Beach, CA on 2/22/19. ‐ Hotel ‐
                                                                                                                                       Lodging for Bill Carmody on 02/24/19
2665150   2/24/2019   201903 HOTEL     Hotels (Travel)                                 015079       $195.36 2901 Carmody, Bill         VENDOR: CARMODY, WILLIAM INVOICE#:
                                                                                                                                       3154019003061508 DATE: 3/6/2019 Attending
                                                                                                                                       mediation in Newport Beach, CA on 2/22/19. ‐ Hotel ‐
                                                                                                                                       Room Tax for Bill Carmody on 02/24/19
2665151   2/22/2019   201903 HOTEL     Hotels (Travel)                                 015079       $337.03 2901 Carmody, Bill         VENDOR: CARMODY, WILLIAM INVOICE#:
                                                                                                                                       3154019003061508 DATE: 3/6/2019 Attending
                                                                                                                                       mediation in Newport Beach, CA on 2/22/19. ‐ Hotel ‐
                                                                                                                                       Other for Bill Carmody on 02/22/19
2665152   2/24/2019   201903 HOTEL     Hotels (Travel)                                 015079       $742.58 2901 Carmody, Bill         VENDOR: CARMODY, WILLIAM INVOICE#:
                                                                                                                                       3154019003061508 DATE: 3/6/2019 Attending
                                                                                                                                       mediation in Newport Beach, CA on 2/22/19. ‐ Hotel ‐
                                                                                                                                       Other for Bill Carmody on 02/24/19
2667602   2/28/2019   201903 HCTELE    Telephone & Calling Card Expenses               015079         $8.03                            VENDOR: PREMIERE GLOBAL SERVICES; INVOICE#:
                                                                                                                                       27347209; DATE: 2/28/2019 ‐ Conference calls,
                                                                                                                                       02/01/2019 ‐ 02/28/2019.
2669361   3/20/2019   201903 PHOTO     B/W Photocopies                                 015079         $2.60 3315 Subramanian, Arun     Reproduction Copy Charges
2669386   3/20/2019   201903 PRINT     B/W Prints                                      015079        $78.40 3315 Subramanian, Arun     Reproduction Copy Charges
2669387   3/20/2019   201903 CPRINT    Color Prints                                    015079       $445.00 3315 Subramanian, Arun     Color Reproduction Print Charges
2669593   3/26/2019   201903 DEPEXP    Deposition Expenses                             015079       $780.45                            VENDOR: LARSEN, LISA A.; INVOICE#: 015079/03‐26‐
                                                                                                                                       19; DATE: 3/26/2019 ‐ Transcript of hearing 3/25/19

2671233   3/25/2019   201903 PHOTO     B/W Photocopies                                 015079        $19.30   3315 Subramanian, Arun   Reproduction Copy Charges
2671234   3/25/2019   201903 CCOPY     Color Photocopies                               015079        $16.00   3315 Subramanian, Arun   Color Reproduction Copy Charges
2671272   3/25/2019   201903 PRINT     B/W Prints                                      015079        $66.50   3315 Subramanian, Arun   Reproduction Copy Charges
2671273   3/25/2019   201903 CPRINT    Color Prints                                    015079       $728.00   3315 Subramanian, Arun   Color Reproduction Print Charges




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                                                               015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                            Disbursement Detail
Disb ID Date      Orig_Per Disb Code Disb Desc                                         Matter Base Amt     Tkpr TKPR Name           Narrative                                            Fees
2671363   3/8/2019 201903 DATA       Data Storage ‐ Outside Service                    015079    $1,011.08                          VENDOR: EPIQ EDISCOVERY SOLUTIONS INC.;
                                                                                                                                    INVOICE#: 90312724; DATE: 3/8/2019 ‐ User fees,
                                                                                                                                    document review hosting, 03/08/19.
2671571   3/31/2019   201903 HCMSGR     Messenger/Delivery Services                    015079        $81.95                         VENDOR: ADMIRAL COURIER SERVICES; INVOICE#:
                                                                                                                                    15079/03‐29‐2019; DATE: 3/31/2019 ‐ Delivery to B.
                                                                                                                                    Carmody resident (3 boxes), 03/29/19.
2671664   3/24/2019   201903 MEALS      Meals                                          015079        $19.80 2670 Gervais, Michael   VENDOR: GERVAIS, MICHAEL INVOICE#:
                                                                                                                                    3219103104012239 DATE: 3/31/2019 Working Meal
                                                                                                                                    Re 3‐25‐19 Motions in Limine Hearing ‐ Lunch on
                                                                                                                                    03/24/19
2671665   3/23/2019   201903 MEALS      Meals                                          015079         $4.63 2670 Gervais, Michael   VENDOR: GERVAIS, MICHAEL INVOICE#:
                                                                                                                                    3219103104012239 DATE: 3/31/2019 Coffee Re 3‐25‐
                                                                                                                                    19 Motions in Limine Hearing ‐ Meal ‐ Other on
                                                                                                                                    03/23/19
2671666   3/26/2019   201903 MEALS      Meals                                          015079         $6.42 2670 Gervais, Michael   VENDOR: GERVAIS, MICHAEL INVOICE#:
                                                                                                                                    3219103104012239 DATE: 3/31/2019 Coffee Re 3‐25‐
                                                                                                                                    19 Motions in Limine Hearing ‐ Meal ‐ Other on
                                                                                                                                    03/26/19
2671667   3/26/2019   201903 MEALS      Meals                                          015079         $9.64 2670 Gervais, Michael   VENDOR: GERVAIS, MICHAEL INVOICE#:
                                                                                                                                    3219103104012239 DATE: 3/31/2019 Working Meal
                                                                                                                                    Re 3‐25‐19 Motions in Limine Hearing ‐ Breakfast on
                                                                                                                                    03/26/19
2671668   3/22/2019   201903 MEALS      Meals                                          015079        $11.00 2670 Gervais, Michael   VENDOR: GERVAIS, MICHAEL INVOICE#:
                                                                                                                                    3219103104012239 DATE: 3/31/2019 Juice Re 3‐25‐19
                                                                                                                                    Motions in Limine Hearing ‐ Meal ‐ Other on 03/22/19

2671669   3/22/2019   201903 MEALS      Meals                                          015079        $11.03 2670 Gervais, Michael   VENDOR: GERVAIS, MICHAEL INVOICE#:
                                                                                                                                    3219103104012239 DATE: 3/31/2019 Working Meal
                                                                                                                                    Re 3‐25‐19 Motions in Limine Hearing ‐ Lunch on
                                                                                                                                    03/22/19
2671670   3/23/2019   201903 MEALS      Meals                                          015079        $12.41 2670 Gervais, Michael   VENDOR: GERVAIS, MICHAEL INVOICE#:
                                                                                                                                    3219103104012239 DATE: 3/31/2019 Working Meal
                                                                                                                                    Re 3‐25‐19 Motions in Limine Hearing ‐ Breakfast on
                                                                                                                                    03/23/19
2671671   3/24/2019   201903 MEALS      Meals                                          015079        $13.41 2670 Gervais, Michael   VENDOR: GERVAIS, MICHAEL INVOICE#:
                                                                                                                                    3219103104012239 DATE: 3/31/2019 Working Meal
                                                                                                                                    Re 3‐25‐19 Motions in Limine Hearing ‐ Breakfast on
                                                                                                                                    03/24/19
2671672   3/25/2019   201903 MEALS      Meals                                          015079        $16.33 2670 Gervais, Michael   VENDOR: GERVAIS, MICHAEL INVOICE#:
                                                                                                                                    3219103104012239 DATE: 3/31/2019 Working Meal
                                                                                                                                    Re 3‐25‐19 Motions in Limine Hearing ‐ Lunch on
                                                                                                                                    03/25/19




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                                                                 015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                              Disbursement Detail
Disb ID Date     Orig_Per Disb Code Disb Desc                                            Matter Base Amt     Tkpr TKPR Name           Narrative                                             Fees
2671673 3/22/2019 201903 GROUND Ground Transportation (Taxis, car service)               015079       $22.25 2670 Gervais, Michael    VENDOR: GERVAIS, MICHAEL INVOICE#:
                                                                                                                                      3219103104012239 DATE: 3/31/2019 Taxi Re 3‐25‐19
                                                                                                                                      Motions in Limine Hearing ‐ Taxi for Michael Gervais
                                                                                                                                      on 03/22/19
2671674   3/23/2019   201903 GROUND     Ground Transportation (Taxis, car service)       015079        $59.29 2670 Gervais, Michael   VENDOR: GERVAIS, MICHAEL INVOICE#:
                                                                                                                                      3219103104012239 DATE: 3/31/2019 Taxi Re 3‐25‐19
                                                                                                                                      Motions in Limine Hearing ‐ Taxi for Michael Gervais
                                                                                                                                      on 03/23/19
2671675   3/23/2019   201903 GROUND     Ground Transportation (Taxis, car service)       015079        $26.60 2670 Gervais, Michael   VENDOR: GERVAIS, MICHAEL INVOICE#:
                                                                                                                                      3219103104012239 DATE: 3/31/2019 Taxi Re 3‐25‐19
                                                                                                                                      Motions in Limine Hearing ‐ Taxi for Michael Gervais
                                                                                                                                      on 03/23/19
2671676   3/26/2019   201903 TRIALX     Trial and Trial Prep Expenses                    015079         $0.75 2670 Gervais, Michael   VENDOR: GERVAIS, MICHAEL INVOICE#:
                                                                                                                                      3219103104012239 DATE: 3/31/2019 Lodging Re 3‐25‐
                                                                                                                                      19 Motions in Limine Hearing in Bahnsen Matter and 3‐
                                                                                                                                      28‐19 (split with another matter) ‐ Hotel ‐ Business
                                                                                                                                      Center for Michael Gervais on 03/26/19

2671677   3/26/2019   201903 HOTEL      Hotels (Travel)                                  015079        $12.50 2670 Gervais, Michael   VENDOR: GERVAIS, MICHAEL INVOICE#:
                                                                                                                                      3219103104012239 DATE: 3/31/2019 Lodging Re 3‐25‐
                                                                                                                                      19 Motions in Limine Hearing in Bahnsen Matter and 3‐
                                                                                                                                      28‐19 (split with another matter) ‐ Hotel ‐ Other for
                                                                                                                                      Michael Gervais on 03/26/19
2671678   3/26/2019   201903 HOTEL      Hotels (Travel)                                  015079        $25.54 2670 Gervais, Michael   VENDOR: GERVAIS, MICHAEL INVOICE#:
                                                                                                                                      3219103104012239 DATE: 3/31/2019 Lodging Re 3‐25‐
                                                                                                                                      19 Motions in Limine Hearing in Bahnsen Matter and 3‐
                                                                                                                                      28‐19 (split with another matter) ‐ Hotel ‐ Room Tax
                                                                                                                                      for Michael Gervais on 03/26/19
2671679   3/26/2019   201903 HOTEL      Hotels (Travel)                                  015079       $153.86 2670 Gervais, Michael   VENDOR: GERVAIS, MICHAEL INVOICE#:
                                                                                                                                      3219103104012239 DATE: 3/31/2019 Lodging Re 3‐25‐
                                                                                                                                      19 Motions in Limine Hearing in Bahnsen Matter and 3‐
                                                                                                                                      28‐19 (split with another matter) ‐ Hotel ‐ Lodging for
                                                                                                                                      Michael Gervais on 03/26/19
2671680   3/27/2019   201903 HOTEL      Hotels (Travel)                                  015079        $14.69 2670 Gervais, Michael   VENDOR: GERVAIS, MICHAEL INVOICE#:
                                                                                                                                      3219103104012239 DATE: 3/31/2019 Lodging Re 3‐25‐
                                                                                                                                      19 Motions in Limine Hearing in Bahnsen Matter and 3‐
                                                                                                                                      28‐19 (split with another matter) ‐ Hotel ‐ Room Tax
                                                                                                                                      for Michael Gervais on 03/27/19
2671681   3/27/2019   201903 HOTEL      Hotels (Travel)                                  015079       $100.45 2670 Gervais, Michael   VENDOR: GERVAIS, MICHAEL INVOICE#:
                                                                                                                                      3219103104012239 DATE: 3/31/2019 Lodging Re 3‐25‐
                                                                                                                                      19 Motions in Limine Hearing in Bahnsen Matter and 3‐
                                                                                                                                      28‐19 (split with another matter) ‐ Hotel ‐ Lodging for
                                                                                                                                      Michael Gervais on 03/27/19




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                                                                 015079 Bahnsen, Wendy, et al v. Boston Scientific
                                                                              Disbursement Detail
Disb ID Date     Orig_Per Disb Code Disb Desc                                            Matter Base Amt    Tkpr TKPR Name            Narrative                                               Fees
2671682 3/28/2019 201903 MEALS      Meals                                                015079       $3.37 2670 Gervais, Michael     VENDOR: GERVAIS, MICHAEL INVOICE#:
                                                                                                                                      3219103104012239 DATE: 3/31/2019 Lodging Re 3‐25‐
                                                                                                                                      19 Motions in Limine Hearing in Bahnsen Matter and 3‐
                                                                                                                                      28‐19 (split with another matter) ‐ Hotel ‐ Meals Other
                                                                                                                                      on 03/28/19
2671683   3/28/2019   201903 HOTEL      Hotels (Travel)                                  015079        $12.50 2670 Gervais, Michael   VENDOR: GERVAIS, MICHAEL INVOICE#:
                                                                                                                                      3219103104012239 DATE: 3/31/2019 Lodging Re 3‐25‐
                                                                                                                                      19 Motions in Limine Hearing in Bahnsen Matter and 3‐
                                                                                                                                      28‐19 (split with another matter) ‐ Hotel ‐ Other for
                                                                                                                                      Michael Gervais on 03/28/19
2671684   3/28/2019   201903 TRIALX     Trial and Trial Prep Expenses                    015079         $0.75 2670 Gervais, Michael   VENDOR: GERVAIS, MICHAEL INVOICE#:
                                                                                                                                      3219103104012239 DATE: 3/31/2019 Lodging Re 3‐25‐
                                                                                                                                      19 Motions in Limine Hearing in Bahnsen Matter and 3‐
                                                                                                                                      28‐19 (split with another matter) ‐ Hotel ‐ Business
                                                                                                                                      Center for Michael Gervais on 03/28/19

2671685   3/28/2019   201903 HOTEL      Hotels (Travel)                                  015079        $20.63 2670 Gervais, Michael   VENDOR: GERVAIS, MICHAEL INVOICE#:
                                                                                                                                      3219103104012239 DATE: 3/31/2019 Lodging Re 3‐25‐
                                                                                                                                      19 Motions in Limine Hearing in Bahnsen Matter and 3‐
                                                                                                                                      28‐19 (split with another matter) ‐ Hotel ‐ Room Tax
                                                                                                                                      for Michael Gervais on 03/28/19
2671686   3/28/2019   201903 HOTEL      Hotels (Travel)                                  015079       $120.54 2670 Gervais, Michael   VENDOR: GERVAIS, MICHAEL INVOICE#:
                                                                                                                                      3219103104012239 DATE: 3/31/2019 Lodging Re 3‐25‐
                                                                                                                                      19 Motions in Limine Hearing in Bahnsen Matter and 3‐
                                                                                                                                      28‐19 (split with another matter) ‐ Hotel ‐ Lodging for
                                                                                                                                      Michael Gervais on 03/28/19
2671687   3/22/2019   201903 AIR        Air Travel                                       015079       $230.65 2670 Gervais, Michael   VENDOR: GERVAIS, MICHAEL INVOICE#:
                                                                                                                                      3219103104012239 DATE: 3/31/2019 LAX to JFK
                                                                                                                                      Airfare Re 3‐25‐19 Motions in Limine Hearing in
                                                                                                                                      Bahnsen Matter and 3‐28‐19 (split with another
                                                                                                                                      matter) ‐ Airfare for Michael Gervais on 03/22/19
2671688   3/29/2019   201903 AIR        Air Travel                                       015079       $355.65 2670 Gervais, Michael   VENDOR: GERVAIS, MICHAEL INVOICE#:
                                                                                                                                      3219103104012239 DATE: 3/31/2019 JFK to LAX
                                                                                                                                      Airfare Re 3‐25‐19 Motions in Limine Hearing in
                                                                                                                                      Bahnsen Matter and 3‐28‐19 (split with another
                                                                                                                                      matter) ‐ Airfare for Michael Gervais on 03/29/19
2671689   3/26/2019   201903 HOTEL      Hotels (Travel)                                  015079       $373.75 2670 Gervais, Michael   VENDOR: GERVAIS, MICHAEL INVOICE#:
                                                                                                                                      3219103104012239 DATE: 3/31/2019 Re 3‐25‐19
                                                                                                                                      Motions in Limine Hearing in Bahnsen Matter and 3‐28‐
                                                                                                                                      19 (split with another matter) ‐ Hotel ‐ Lodging for
                                                                                                                                      Michael Gervais on 03/26/19




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                                                                           Disbursement Detail
Disb ID Date     Orig_Per Disb Code Disb Desc                                         Matter Base Amt     Tkpr TKPR Name              Narrative                                             Fees
2671690 3/26/2019 201903 HOTEL      Hotels (Travel)                                   015079       $61.26 2670 Gervais, Michael       VENDOR: GERVAIS, MICHAEL INVOICE#:
                                                                                                                                      3219103104012239 DATE: 3/31/2019 Re 3‐25‐19
                                                                                                                                      Motions in Limine Hearing in Bahnsen Matter and 3‐28‐
                                                                                                                                      19 (split with another matter) ‐ Hotel ‐ Room Tax for
                                                                                                                                      Michael Gervais on 03/26/19
2672525    3/5/2019   201904 RESRCH   Research charges                                015079        $39.40   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 3/5/2019
2672526    3/8/2019   201904 RESRCH   Research charges                                015079         $6.81   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 3/8/2019
2672527   3/11/2019   201904 RESRCH   Research charges                                015079        $90.39   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 3/11/2019
2672528   3/13/2019   201904 RESRCH   Research charges                                015079        $48.72   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 3/13/2019
2672529   3/19/2019   201904 RESRCH   Research charges                                015079        $97.43   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 3/19/2019
2672530   3/22/2019   201904 RESRCH   Research charges                                015079         $4.77   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 3/22/2019
2672531   3/23/2019   201904 RESRCH   Research charges                                015079        $16.24   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 3/23/2019
2672532   3/25/2019   201904 RESRCH   Research charges                                015079      $188.16    3315 Subramanian, Arun   WESTLAW ‐ Research charges; 3/25/2019
2673036    4/1/2019   201904 EXPERT   Expert Fees                                     015079     $1,206.00                            VENDOR: BAER, RICHARD K.; INVOICE#: 017; DATE:
                                                                                                                                      4/1/2019 ‐ Professional services rendered for March,
                                                                                                                                      2019.
2673050   3/31/2019   201904 OSPHOT   Outside Photocopy Services                      015079       $916.51                            VENDOR: EMPIRE DISCOVERY; INVOICE#: INV022913;
                                                                                                                                      DATE: 3/31/2019 ‐ Blowbacks, redwelds, 03/31/19.

2673075   3/26/2019   201904 HCMSGR   Messenger/Delivery Services                     015079        $14.94                            Vendor: FEDEX, Invoice Number: 650689938, Shipper:
                                                                                                                                      Caroline DaCosta, Recipient: Lisa A. Larsen Court
                                                                                                                                      Reporter, Tracking #: 774804998790, Ship Date:
                                                                                                                                      3/26/2019
2673452   3/29/2018   201904 GROUND   Ground Transportation (Taxis, car service)      015079       $204.18                            VENDOR: ELITE LIMOUSINE PLUS INC.; INVOICE#:
                                                                                                                                      1766963; DATE: 3/29/2019 ‐ A. Subramanian, Ground
                                                                                                                                      transportation to airport, 03/25/19.
2673889    4/5/2019   201904 MEDFEE   Mediation Fees and Expenses                     015079    $23,587.50                            VENDOR: PHILLIPS ADR ENTERPRISES PC; INVOICE#:     Fees
                                                                                                                                      15490; DATE: 4/5/2019 ‐ Mediation Services

2675693   3/31/2019   201904 HCTELE   Telephone & Calling Card Expenses               015079         $5.20                            VENDOR: PREMIERE GLOBAL SERVICES; INVOICE#:
                                                                                                                                      27495394; DATE: 3/31/2019 ‐ Conference calls,
                                                                                                                                      03/01/2019 ‐ 03/31/2019.
2676344   4/10/2019   201904 CCOPY    Color Photocopies                               015079         $1.00 3315 Subramanian, Arun     Color Reproduction Copy Charges                      Fees
2676380    4/5/2019   201904 PRINT    B/W Prints                                      015079         $0.10 3315 Subramanian, Arun     Reproduction Copy Charges                            Fees
2676381    4/5/2019   201904 CPRINT   Color Prints                                    015079        $19.00 3315 Subramanian, Arun     Color Reproduction Print Charges                     Fees
2678898    4/8/2019   201904 DATA     Data Storage ‐ Outside Service                  015079       $885.08                            VENDOR: EPIQ EDISCOVERY SOLUTIONS INC.;
                                                                                                                                      INVOICE#: 90322017; DATE: 4/8/2019 ‐ User fees,
                                                                                                                                      document review hosting, 04/08/19.
2680370   4/13/2019   201905 RESRCH   Research charges                                015079     $1,051.13   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 4/13/2019                Fees
2680371   4/14/2019   201905 RESRCH   Research charges                                015079      $175.51    3315 Subramanian, Arun   WESTLAW ‐ Research charges; 4/14/2019                Fees
2680372   4/15/2019   201905 RESRCH   Research charges                                015079      $952.42    3315 Subramanian, Arun   WESTLAW ‐ Research charges; 4/15/2019                Fees
2680373   4/16/2019   201905 RESRCH   Research charges                                015079      $370.17    3315 Subramanian, Arun   WESTLAW ‐ Research charges; 4/16/2019                Fees
2680374   4/17/2019   201905 RESRCH   Research charges                                015079        $80.57   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 4/17/2019                Fees
2680375   4/18/2019   201905 RESRCH   Research charges                                015079         $4.73   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 4/18/2019                Fees



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                                                                           Disbursement Detail
Disb ID Date     Orig_Per Disb Code   Disb Desc                                       Matter Base Amt     Tkpr TKPR Name               Narrative                                        Fees
2680376 4/19/2019 201905 RESRCH       Research charges                                015079     $955.06 3315 Subramanian, Arun        WESTLAW ‐ Research charges; 4/19/2019            Fees
2680377 4/20/2019 201905 RESRCH       Research charges                                015079       $16.11 3315 Subramanian, Arun       WESTLAW ‐ Research charges; 4/20/2019            Fees
2680378 4/22/2019 201905 RESRCH       Research charges                                015079     $140.29 3315 Subramanian, Arun        WESTLAW ‐ Research charges; 4/22/2019            Fees
2680379 4/26/2019 201905 RESRCH       Research charges                                015079       $16.11 3315 Subramanian, Arun       WESTLAW ‐ Research charges; 4/26/2019            Fees
2680380 4/28/2019 201905 RESRCH       Research charges                                015079     $603.09 3315 Subramanian, Arun        WESTLAW ‐ Research charges; 4/28/2019            Fees
2681123 4/29/2019 201905 PRINT        B/W Prints                                      015079       $11.70 3315 Subramanian, Arun       Reproduction Copy Charges                        Fees
2683566 4/29/2019 201905 MEALS        Meals                                           015079     $458.36 9243 Hickman, Karisha         VENDOR: HICKMAN, KARISHA INVOICE#:               Fees
                                                                                                                                       3304983905081323 DATE: 5/8/2019 Mediation lunch.
                                                                                                                                       re BSNC. ‐ Lunch on 04/29/19 with Layn Phillips;
                                                                                                                                       Frederick Robinson; Lesley Reynolds; Stephen D.
                                                                                                                                       Susman; Arun Subramanian; Bill Carmody

2684110   4/30/2019   201905 HCTELE   Telephone & Calling Card Expenses               015079         $4.74                             VENDOR: PREMIERE GLOBAL SERVICES; INVOICE#:              Fees
                                                                                                                                       27746840; DATE: 4/30/2019 ‐ Conference calls,
                                                                                                                                       04/01/2019 ‐ 04/30/2019.
2684612    5/8/2019   201905 DATA     Data Storage ‐ Outside Service                  015079       $256.70                             VENDOR: EPIQ EDISCOVERY SOLUTIONS INC.;
                                                                                                                                       INVOICE#: 90331190; DATE: 5/8/2019 ‐ User fees,
                                                                                                                                       document review hosting, 05/08/19.
                                                                                                                                       VENDOR: SUBRAMANIAN, ARUN INVOICE#:                      Fees
                                                                                                                                       3375926006051528 DATE: 6/5/2019 Meeting with J.
                                                                                                                                       Walder re expert analysis of fee motion. ‐ Taxi for Arun
2689702    6/3/2019   201906 GROUND   Ground Transportation (Taxis, car service)        15079      $100.53    3315 Subramanian, Arun   Subramanian on 06/03/19
2690668   5/14/2019   201906 RESRCH   Research charges                                  15079      $115.74    3315 Subramanian, Arun   WESTLAW ‐ Research charges; 5/14/2019                    Fees
2690669   5/17/2019   201906 RESRCH   Research charges                                  15079      $134.59    3315 Subramanian, Arun   WESTLAW ‐ Research charges; 5/17/2019                    Fees
2690670   5/18/2019   201906 RESRCH   Research charges                                  15079        $66.14   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 5/18/2019                    Fees
2690671   5/19/2019   201906 RESRCH   Research charges                                  15079      $309.41    3315 Subramanian, Arun   WESTLAW ‐ Research charges; 5/19/2019                    Fees
2690672   5/20/2019   201906 RESRCH   Research charges                                  15079        $16.53   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 5/20/2019                    Fees
2690673   5/25/2019   201906 RESRCH   Research charges                                  15079        $16.53   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 5/25/2019                    Fees
2690674   5/26/2019   201906 RESRCH   Research charges                                  15079      $264.55    3315 Subramanian, Arun   WESTLAW ‐ Research charges; 5/26/2019                    Fees
2690675   5/14/2019   201906 RESRCH   Research charges                                  15079        $16.53   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 5/14/2019                    Fees
2690676   5/28/2019   201906 RESRCH   Research charges                                  15079      $160.60    3315 Subramanian, Arun   WESTLAW ‐ Research charges; 5/28/2019                    Fees
2690834    5/8/2019   201906 RESRCH   Research charges                                  15079        $49.60   3315 Subramanian, Arun   WESTLAW ‐ Research charges; 5/8/2019                     Fees
                                                                                                $908,583.33




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